                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


                                      No. 2:16-cv-06509-WHW-CLW
                                      Hon. William H. Walls
IN RE COGNIZANT TECHNOLOGY
SOLUTIONS CORPORATION SECURITIES   CLASS ACTION
LITIGATION
                                   SECOND AMENDED CLASS
                                   ACTION COMPLAINT FOR
                                   VIOLATIONS OF THE FEDERAL
                                   SECURITIES LAWS

                                   Jury Trial Demanded
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        Lead Plaintiffs Union Asset Management Holding AG (“Union”), Amalgamated Bank, as

Trustee for the LongView Collective Investment Funds (“Amalgamated”), and the Fire and Police

Pension Association of Colorado (“Colorado Fire and Police,” and with Union and Amalgamated,

“Lead Plaintiffs”), individually and on behalf of a class of similarly situated persons and entities,

by their undersigned attorneys, allege the following against Cognizant Technology Solutions

Corporation (“Cognizant” or the “Company”) and the Individual Defendants (defined below),

upon personal knowledge as to themselves and their own acts, and upon information and belief as

to all other matters.

        Lead Plaintiffs’ information and belief as to allegations concerning matters other than

themselves and their own acts is based upon the investigation conducted by and through their

counsel, which included, among other things, the review and analysis of: (i) transcripts, press

releases, news articles, and other public statements issued by or concerning Cognizant and the

Individual Defendants; (ii) research reports issued by financial analysts concerning the Company;

(iii) reports filed publicly by Cognizant with the U.S. Securities and Exchange Commission

(“SEC”); (iv) Cognizant’s corporate website; (v) interviews with former Cognizant employees;

(vi) the Indictment and other documents issued in the action captioned United States v. Gordon J.

Coburn and Steven Schwartz, Criminal No. 19-120 KM (D.N.J.); (vii) the Complaint and other

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and Steven E. Schwartz, No. 19-cv-05820 (D.N.J.); (viii) the SEC administrative proceeding

captioned In re Cognizant Tech. Solutions Corp., Administrative Proceeding No. 3-19000; and

(ix) other publicly available information. Lead Plaintiffs believe that substantial additional

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.
       Lead Plaintiffs bring this federal securities class action on behalf of themselves and on

behalf of a class consisting of all persons and entities who purchased, or otherwise acquired, the

common stock of the Company from February 27, 2015, through and including September 29,

2016 (the “Class Period”), subject to certain exclusions addressed in paragraph 329 below (the

“Class”).1 The defendants in this action are Cognizant; Gordon Coburn (“Coburn”), Cognizant’s

President until his resignation on September 27, 2016; and Steven Schwartz, Cognizant’s Chief

Legal Officer until his departure in November 2016 (collectively, the “Defendants”). Lead

Plaintiffs’ and the Class’s claims arise under Sections 10(b) and 20(a) of the Securities Exchange

Act of 1934 (“Exchange Act”) and Rule l0b-5 promulgated thereunder.

I.     INTRODUCTION

       1.      This securities fraud action arises from a series of material misstatements and

omissions made by Cognizant’s senior executives that concealed a bribery scheme at the core of

the Company’s business. As the Company has now acknowledged, and as criminal and civil

actions by the Department of Justice (the “DOJ”) and the Securities and Exchange Commission

(the “SEC”) have corroborated, the bribery scheme was perpetrated by Cognizant’s “senior

management.” The members of Cognizant’s senior management who perpetrated the scheme

include its former President, Defendant Coburn—whom analysts described as “a leading face of


1
  References to “paragraph _” or “¶ _” are to paragraphs in this Second Amended Class Action
Complaint for Violations of the Federal Securities Laws. In accordance with the Court’s prior
Order (ECF No. 66), Plaintiffs do not assert claims against dismissed Defendants Francisco
D’Souza (“D’Souza”), Cognizant’s Chief Executive Officer (“CEO”), Karen McLoughlin
(“McLoughlin”), Cognizant’s Chief Financial Officer (“CFO”), or for the dismissed allegedly false
and misleading statements. In order to preserve their right to appeal, Plaintiffs hereby stand on
their prior allegations regarding all previously dismissed claims, Defendants, and statements. See
U.S. ex rel. Atkinson v. PA Shipbuilding Co., 473 F.3d 506, 517 (3d Cir. 2007). Plaintiffs have
tailored the “Parties” Section and Counts I and II herein to reflect the Court’s Order and their
amended allegations, but, for ease of comprehension and readability, have not otherwise excised
the allegations relating to the dismissed parties and statements.


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[Cognizant] to the investment community”—and the Company’s former Chief Legal Officer,

Defendant Schwartz, who was responsible for overseeing Cognizant’s compliance with anti-

corruption laws and signed many of the Company’s false and misleading SEC filings during the

Class Period.

       2.       Cognizant provides information technology and business process (“IT”)

outsourcing. Although headquartered in the United States, the Company’s principal operations are

based in India and spread throughout several large campuses. This was key to the Company’s

profitability: Cognizant leveraged the lower labor, tax, and other business costs of its Indian

operations in order to provide IT services to its global clients at highly competitive prices.

       3.       One of the principal ways Cognizant cut its own costs, and in turn delivered lower

cost services to clients, was by locating its Indian campuses in “Special Economic Zones” or

“SEZs.” Companies operating from within SEZs are guaranteed a number of highly lucrative

benefits, including numerous tax exemptions and holidays, easing of various customs and labor

regulations and procedures, and heightened access to credit, infrastructure, and other resources. In

order to develop or operate a facility within an SEZ, however, businesses are required to secure

licenses from India’s government. Given the extraordinary value that flows to license-holders, SEZ

licenses are highly sought-after.

       4.       The pressure Cognizant faced to obtain these valuable licenses increased

significantly at the start of the Class Period, when the Indian central government indicated it would

soon begin to eliminate the availability of tax benefits for new operations. Thus, during the Class

Period, Cognizant aggressively expanded its SEZ operations, constructing or expanding four of its

ten massive “global delivery centers,” each housing thousands of employees, in SEZs. In at least

one case, Cognizant was able to secure SEZ licensing for its facilities, despite the fact that the




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same governmental authority had refused to license the Company’s direct competitors to operate

in the very same zones.

       5.      Cognizant profited enormously from the SEZ status of its Indian operations – a fact

that the Company touted throughout the Class Period. For instance, when Cognizant reported its

“strong performance in 2015” to investors, it stated that the tax benefits it derived from its SEZ

licenses increased the Company’s net income by $201.4 million (more than 14%) and increased

diluted EPS by $0.33 per share (more than 12%). Cognizant also assured investors it would

continue to grow its investment in SEZ facilities as a central part of its business strategy, stating,

by way of example, that “[w]e have constructed and expect to continue to locate most of our newer

development facilities in SEZs.”

       6.      At the same time that Defendants reported strong financial results driven in

substantial part by the valuable benefits the Company received from its SEZ licenses, they also

reassured investors that Cognizant was not paying bribes to foreign officials in order to obtain the

licenses, and was taking concrete steps to ensure compliance with applicable anticorruption laws.

Cognizant’s compliance with anticorruption laws, and its maintenance of appropriate controls to

ensure continued compliance, was particularly important to investors because the risk of corruption

was especially high in India.

       7.      Recognizing the significance of anticorruption compliance to investors, Cognizant

issued annual “Sustainability Reports” during the Class Period, in which it assured investors it

had conducted thorough audits of anticorruption compliance and had discovered “no incidents”

of corruption. Likewise, the Company disseminated to investors “Cognizant’s Core Values and

Standards of Business Conduct” (the “Code of Conduct”) and “Cognizant Technology Solutions

FCPA, UK Bribery Act and Anticorruption Policy” (the “Anticorruption Policy”). In both of




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these public documents, Cognizant assured investors that it did not make improper payments to

foreign officials, and that it had implemented a rigorous control system in order to ensure

compliance with anticorruption laws, including the Foreign Corrupt Practices Act (“FCPA”).

For instance, in the Code of Conduct, Cognizant stated, “We do not corruptly give or offer, directly

or indirectly, anything of value to a government official to obtain or maintain business

or any other advantage for the Company.”2 Likewise, in filings with the SEC throughout the

Class Period, Cognizant assured investors that the internal controls the Company had

implemented to detect such improper payments were “effective.”

       8.      Buoyed by Defendants’ statements touting the financial success of Cognizant’s

SEZ operations and assurances that its licenses were legitimately obtained, Cognizant’s stock price

rose during the Class Period. Cognizant’s stock price increased from $46.50 per share at the start

of the Class Period to a Class Period high of more than $68 per share – an increase of more than

46%.

       9.      Unfortunately for investors, Defendants’ statements were materially false and

misleading. Contrary to its public pronouncements, Cognizant has now admitted that, between

2010 and 2015, it made at least $6 million in “improper payments” to Indian officials in order to

obtain the permits for its Indian facilities. Worse yet, Cognizant has further acknowledged that the

Company’s “senior management,” including Defendant Coburn, perpetrated the bribery scheme,

including by overriding the Company’s internal financial controls to facilitate the corrupt

payments. Moreover, the Company has conceded that, in order to disguise the nature and purpose

of these improper payments, Cognizant improperly booked them as legitimate capital expenditures



2
 Cognizant’s Core Values and Standards of Business Conduct 9 (2015) [hereinafter 2015 Code
of Conduct].


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(i.e., investments in physical assets) in the Company’s publicly reported financial statements –

accounting chicanery that overstated the Company’s investments in its SEZ facilities and its net

income.

       10.     Notably, Lead Plaintiffs’ investigation has revealed that the Company’s internal

auditors reported evidence of these improper payments to Cognizant’s senior managers during the

Class Period. A former Cognizant audit executive reported that in the fall of 2014, Cognizant

conducted its first FCPA compliance audit in at least two years. As detailed herein, that audit

uncovered evidence that payments related to procuring SEZ licensing were being made to

government personnel and that these payments were being improperly classified in Cognizant’s

internal systems. These troubling findings were reported during the Class Period to senior

Cognizant audit and compliance executives.

       11.     Cognizant’s scheme to secure SEZ licenses through corrupt payments to Indian

officials, and the intimate involvement of senior Company management in that scheme, was

concealed from investors until September 30, 2016. On that day, Cognizant shocked investors by

announcing that its Board of Directors (“Board”) was “conducting an internal investigation into

whether certain payments relating to facilities in India were made improperly and in possible

violation of the U.S. Foreign Corrupt Practices Act and other applicable laws.” Cognizant also

announced that Coburn – the Company’s President, who had held numerous senior executive

positions during his seventeen-year career at Cognizant – had suddenly resigned amidst the

corruption investigation.

       12.     Analysts and investors were stunned by Cognizant’s September 30, 2016

disclosures. For example, Argus analysts downgraded Cognizant, characterizing the “announced

resignation of the company’s president amid a corruption investigation in India” as “blockbuster




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news.” These analysts observed that “given that a top executive has resigned . . . we see risks that

the illegal practices could be extensive and long-lived.” Id. In response to these disclosures,

Cognizant’s stock price swiftly declined. The Company’s stock price fell more than 13%, or $7.29

per share, from $55.00 to $47.71 on the year’s highest trading volume by far (over 53 million

shares). This one-day decline, by itself, eradicated $4.4 billion in shareholder value.

       13.     Since September 30, 2016, Cognizant has admitted that multiple members of its

senior management were deeply involved in the bribery scheme, and, thus, a number of its

statements to investors during the Class Period were false and misleading. On November 7, 2016,

Cognizant admitted that “certain members of senior management may have participated in or

failed to take action to prevent the making of potentially improper payments by either overriding

or failing to enforce the controls established by the Company relating to real estate and

procurement principally in connection with permits for certain facilities in India.” Further

confirming that Defendant Coburn was involved in the scheme, Cognizant also admitted that the

senior executives involved in the improper payments were “no longer with the company or in the

senior management position.” In light of this misconduct, Cognizant also admitted that, contrary

to its representations: (i) the Company’s internal controls were materially deficient during the

Class Period; and (ii) it improperly accounted for the corrupt payments in its public financial

reports by recording them as investments in physical assets. Likewise, Cognizant has

acknowledged that its representation in its publicly filed credit agreement that the Company was

compliant with anticorruption laws – a statement that parallels those made in the Sustainability

Reports, Anticorruption Policy, and Code of Conduct – was “materially incorrect.”

       14.     The misconduct at issue in this case continues to have a significant negative impact

on Cognizant. By the end of 2016, the Company had “incurred $27 million in costs related to” the




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investigation of the wrongdoing alleged herein “and related lawsuits.” Moreover, the Company’s

investigation is ongoing. This misconduct also has triggered significant government scrutiny, as

both the SEC and the U.S. Department of Justice (“DOJ”) have investigated the improper

payments to Indian officials at the core of this case.

       15.     The DOJ and SEC investigations confirm that Cognizant’s most senior executives

directly participated in a criminal bribery scheme to obtain essential permits for critical SEZ

facilities, and that these executives falsified Cognizant’s SEC filings and Sustainability Reports in

order to facilitate that scheme.

       16.     On February 14, 2019, the Department of Justice issued an indictment – returned

by a federal grand jury sitting in Newark, New Jersey – of Defendant Coburn, Cognizant’s former

President, and Defendant Schwartz, Cognizant’s former Chief Legal Officer, on 12 criminal counts

arising from the bribery scheme and false statements at the heart of this case. See Indictment,

United States v. Gordon J. Coburn and Steven Schwartz, Crim. No. 19-120 KM (D.N.J.) (the

“Indictment”). The Indictment also identifies other high-ranking Cognizant employees as co-

conspirators in the fraudulent scheme, including Cognizant’s former Chief Operating Officer, who

on information and belief was Sridhar Thiruvengadam (“Thiruvengadam”), as well as Cognizant’s

former Vice President of Administration.

       17.     The same day that the Indictment was made public, February 15, 2019, the SEC

filed a civil action against Coburn and Schwartz alleging violations of the FCPA and securities

laws arising from the same bribery scheme detailed in the Indictment and alleged herein. See SEC

v. Gordon J. Coburn and Steven E. Schwartz, No. 2:19-cv-05820 (D.N.J.) (the “SEC Action”).

       18.     Separately, the SEC also announced that day that Cognizant had settled claims that

it violated the securities laws in connection with several different bribes paid as part of the




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Company’s ongoing scheme to obtain licensing for its all-important SEZ facilities. Cognizant

agreed to pay $25 million and undertake a rigorous remediation program that requires the

Company to provide the SEC with written compliance reports for the next two years and submit

to periodic reviews by the agency. See In re Cognizant Tech. Solutions Corp., Exchange Act

Release No. 85149 (the “SEC Order”).

       19.     The Indictment, SEC Action, and SEC Order are the result of a two-year

investigation by the DOJ and SEC, and are based on Cognizant’s own internal documents and the

accounts of multiple unindicted co-conspirators, including multiple former senior Cognizant

executives who participated in the scheme. Indeed, in a February 13, 2019 letter to Cognizant, the

DOJ noted that Cognizant provided it with “all known relevant facts about the misconduct.” Based

on this evidence, the Indictment, the SEC Action, and the SEC Order describe a significant bribery

scheme to secure critical permits for the Company’s SEZ campuses in Chennai, Pune, and

Siruseri—including permits that were necessary for the construction and operation of the

Company’s largest SEZ facility, located at 1 SEZ Avenue in Chennai: the Knowledge Industry

Township Campus (the “KITS Campus”).

       20.     As detailed further herein, the Indictment, the SEC Action, and the SEC Order

provide new facts evincing that Defendants Coburn and Schwartz orchestrated and approved

Cognizant’s illicit bribery scheme. Among other things, Coburn and Schwartz: (1) instructed

Cognizant employees to funnel over $2 million in bribes to an Indian government official through

a third-party contractor in order to obtain essential SEZ permitting; (2) instructed Cognizant

employees to withhold monies owed to the contractor in order to force it to participate in

Cognizant’s illegal bribery scheme; (3) to further induce the contractor to deliver the bribe,

authorized the payment of an additional $500,000 to the contractor; (4) devised a scheme to use




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phony invoices to disguise the bribes as payment to the contractor for supposedly legitimate cost

overruns; and (5) hatched this scheme during multiple international video conference calls, and

pointedly instructed their co-conspirators to avoid using email in order to avoid detection.

       21.     Defendants Coburn and Schwartz also made, and directly participated in making,

false statements concealing this scheme from investors. Specifically, Coburn and Schwartz

intentionally falsified Cognizant’s books and records by ordering the creation of fraudulent

invoices to hide the bribe payments, which they knew would cause the Company to falsely report

the bribes as bona fide capital expenditures in its public financial statements. Moreover, Coburn

and Schwartz were responsible for approving the false financial filings disseminated to investors,

and took a number of steps to ensure that this false financial information was indeed publicly

reported. Among other things, Coburn and Schwartz signed required sub-certifications to these

financial statements and provided the Company’s auditors with “management representation

letters,” in which they falsely stated that they had no knowledge of any fraud involving senior

management. Cognizant could not have filed its false and misleading financial reports with the

SEC had Coburn and Schwartz not executed and delivered their false letters and certifications.

Significantly, as Cognizant’s Chief Legal Officer, Schwartz also personally signed the Company’s

Forms 8-K that were filed with the SEC—which attached Cognizant’s false earnings releases—

and thus publicly disclosed the false and misleading financial information to investors.

       22.     Coburn and Schwartz also participated in approving and issuing Cognizant’s

Sustainability Reports issued during the Class Period, which falsely stated that there had been “no

incidents” of corruption at the Company. Among other things, Defendants Coburn and Schwartz

intentionally furnished false information that was incorporated into these statements—including




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certifying their personal compliance with the Company’s anticorruption policy and maintenance

of accurate books and records—none of which were true.

II.    JURISDICTION AND VENUE

       23.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5, 17 C.F.R. § 240.10b-5. This

Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331 and

Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       24.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b), as Cognizant’s principal executive office is located within this District at

Glenpointe Centre West, 500 Frank W. Burr Blvd., Teaneck, New Jersey 07666, and many of the

acts and practices complained of herein occurred in substantial part in this District.

       25.     In connection with the acts alleged herein, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including, but not limited to, the mails,

interstate telephone communications, and the facilities of the national securities markets.

III.   PARTIES

       A.      Lead Plaintiffs

       26.     On February 3, 2017, this Court appointed Union, Amalgamated, and Colorado Fire

and Police to serve as Lead Plaintiffs in this action pursuant to the Private Securities Litigation

Reform Act of 1995 (“PSLRA”). See ECF No. 20.

       27.     Lead Plaintiff Union Asset Management Holding AG is the parent holding

company of the Union Investment Group. The Union Investment Group, based in Frankfurt-am-

Main, Germany, was founded in 1956, and is one of Germany’s leading asset managers for retail

and institutional clients, with more than €292 billion in assets under management as of December

30, 2016. As set forth in the certification filed with this Court (ECF No. 11-6), Union’s funds


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purchased Cognizant common stock during the Class Period and were damaged by Defendants’

conduct as alleged herein.

       28.     Lead Plaintiff Amalgamated is a New York State chartered, FDIC insured,

commercial bank that was established in 1923 by the Amalgamated Clothing Workers of America

and remains the only union-owned bank in the United States. Amalgamated, through its Trustee

Committee, serves as trustee to the LongView Collective Investments Funds (“LongView”). As

set forth in the certification filed with this Court (ECF No. 11-6), Amalgamated purchased

Cognizant common stock for the benefit of LongView during the Class Period and was damaged

by Defendants’ conduct as alleged herein.

       29.     Lead Plaintiff Colorado Fire and Police is a public pension fund established in 1980

for the purpose of providing retirement benefits for police officers and firefighters throughout the

State of Colorado. As of December 31, 2015, Colorado Fire and Police held over $4 billion in net

assets. As set forth in the certification filed with this Court (ECF No. 11-6), Colorado Fire and

Police purchased Cognizant common stock during the Class Period and was damaged by

Defendants’ conduct as alleged herein.

       B.      Defendants and Dismissed Defendants3

       30.     Defendant Cognizant is a U.S. multinational corporation headquartered in Teaneck,

New Jersey. The Company’s common stock is listed and trades actively on the NASDAQ stock

market under the ticker symbol “CTSH.” With approximately 200,000 employees, Cognizant is

an IT outsourcing company that provides digital, technology, consulting, and operations services



3
 As noted above, Plaintiffs are standing on their allegations with respect to dismissed Defendants
D’Souza and McLoughlin and fully preserve all appeal rights as to the claims previously asserted
against them. The same is true with respect to the Section 10(b) claim previously asserted against
Defendant Coburn. See Atkinson, 473 F.3d at 517.


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around the world. Cognizant is organized around and reports the operations of its business

according to four industry-orientated business segments. For the year ended December 31, 2016,

the distribution of the Company’s revenues across these segments was as follows: Financial

Services (39.8%), Healthcare (28.7%), Manufacturing/Retail/Logistics (19.7%), and Other

(11.8%).

       31.     D’Souza became Cognizant’s CEO in 2007 and served as CEO throughout the

Class Period. D’Souza joined Cognizant as a co-founder in 1994, the year it was started as a

division of The Dun & Bradstreet Corporation. D’Souza also served as Cognizant’s President from

2007 to 2012 and Chief Operating Officer from 2003 to 2006. D’Souza has publicly described his

three best features as follows: “I am hands-on; I like to hear directly from clients and employees;

I’m determined.”4 D’Souza was dismissed as a Defendant in the Court’s Order, and Plaintiffs

stand on their allegations as to him.

       32.     McLoughlin became Cognizant’s CFO in 2012 and served as CFO throughout the

Class Period. McLoughlin oversees the Company’s worldwide Financial Planning & Analysis,

Accounting & Controllership, Tax, Investor Relations, Treasury, Internal Audit and Enterprise

Risk Management functions. McLoughlin also served as Senior Vice-President, Enterprise

Transformation and Financial Planning & Analysis from 2010 to 2012, and was responsible for

the Company’s worldwide financial planning and analysis, enterprise risk management and

enterprise transformation functions. McLoughlin was dismissed as a Defendant in the Court’s

Order, and Plaintiffs stand on their allegations as to her.




4
 Uttara Choudhury, Cognizant’s Francisco D’Souza Better Than Tim Cook and Larry Page?,
Tech2 (Mar. 20, 2013, 9:47 AM), http://tech.firstpost.com/news-analysis/cognizants-francisco-
dsouza-better-than-tim-cook-and-larry-page-213283.html.


                                                  13
       33.    Defendant Coburn served as Cognizant’s President from February 6, 2012, until his

abrupt resignation on September 27, 2016, which was publicly disclosed by the Company on

September 30, 2016. During the Class Period, Coburn was Cognizant’s second-highest paid

executive, earning $7 million in 2015 alone. As noted in Cognizant’s February 8, 2012 press

release announcing Coburn’s promotion to President, Coburn was responsible for managing

“Cognizant’s overall P&L”—i.e., its overall profit and loss statements. Coburn also served as the

Chief Financial and Operating Officer of Cognizant from January 1, 2007 to February 6, 2012. As

Chief Financial Officer, Coburn personally signed numerous correspondence on behalf of

Cognizant responding to SEC staff comments on Cognizant’s filings, at the end of each of which

he explicitly directed SEC staff to contact him or Defendant Schwartz with any further questions.

Coburn also served as the Company’s Executive Vice President from December 2003 through

December 2006. From November 1999 to December 2003, he served as the Company’s Senior

Vice President.

       34.    Defendant Schwartz served as the Company’s Executive Vice President, Chief

Legal and Corporate Affairs Officer from December 2013 through November 2016. In that role,

Schwartz was responsible for managing Cognizant’s global legal teams, global government affairs

efforts, and global security team. Schwartz also was responsible for overseeing and managing

Cognizant’s compliance functions, which reported to Schwartz. Schwartz also served as

Cognizant’s Senior Vice President, General Counsel and Secretary, from July 2007 to December

2013, in which capacity he had global responsibility for managing Cognizant’s legal function and

served as the Company’s Chief Legal Officer. During that time, in correspondence responding to

SEC staff comments on Cognizant’s financial filings, Defendant Coburn explicitly instructed SEC

staff to contact either himself or Schwartz with any questions. Schwartz also served as the




                                               14
Company’s Vice President and General Counsel from March 2003 to July 2007; Vice President

and Chief Corporate Counsel from April 2002 to March 2003; and prior to that time as Chief

Corporate Counsel since joining the Company in October 2001.

       35.       Defendants Coburn and Schwartz are collectively referred to herein as the

“Individual Defendants.” Defendant Cognizant and the Individual Defendants are collectively

referred to herein as the “Defendants.”

       C.        Unindicted Co-Conspirator Non-Parties

       36.       Sridhar Thiruvengadam (“Thiruvengadam”) resides in India. From May 2013 to

August 2016, he served as the Company’s Chief Operating Officer, reporting directly to Defendant

Coburn and maintaining direct oversight over “CC#1” (discussed below at ¶37). Thiruvengadam

had been with Cognizant since the Company’s inception in 1994, becoming a Senior Vice

President and Chief People Officer from October 2006 to November 2010; Senior Vice President

and Global Head of Managed Services from March 2010 to December 2011; and then Executive

Vice President from January 2012 to August 2018. Thiruvengadam is named as an unindicted co-

conspirator in the Indictment (where he is described as “CC#2”) and as a “Relevant” person in the

SEC Action and the SEC Order (where he is described as the “Operations Officer” or “Operations

Officer-1,” respectively).

       37.       “CC#1” refers to Cognizant’s Vice President of Administration, responsible for

managing infrastructure and real estate development in India. CC#1 reported directly to

Thiruvengadam and, in many instances, directly to Defendant Coburn. CC#1 is named as an

unindicted co-conspirator in the Indictment, and as a “Relevant” person in the SEC Action and the

SEC Order (where he is referred to as the “Real Estate Officer” or “Real Estate Officer-1,”

respectively).




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       38.     Larsen & Toubro Ltd (“L&T”) is one of the largest Indian multi-national firms and

a leading construction company in India. Though headquartered in Mumbai, Maharashtra, India,

L&T has offices worldwide, including in Chennai, India. In the past decade, L&T has spoken

frequently of its involvement and experience with SEZs (even offering consultancy services in

SEZ planning), while also publicly stating in nearly all of its Annual Reports issued between 2010

and 2016 that it performed construction work for Cognizant for its SEZ facilities:

               1.     In its 2009-2010 Annual Report, L&T described the “SEZ at Siruseri for
                      Cognizant” as a “major order[] bagged during the year.”

               2.     In its 2011-2012 Annual Report, L&T attributed “significant growth” in
                      part to having “received orders from IT Giants like . . . Cognizant . . . at
                      Kochi and Chennai locations.”

               3.     In its 2013-2014 Annual Report, L&T described Cognizant as a “key
                      client[]” and listed “a major IT office facility for Cognizant in Pune” as a
                      “key project commissioned.”

               4.     In its 2015-2016 Annual Report, L&T included a picture identified in a
                      caption as Cognizant’s Chennai facility on the same page as discussion that
                      L&T “has secured prestigious projects” and “[l]eadership has been
                      maintained in the construction of IT parks and office spaces in the country.”

       39.     Conspicuously, since 2016—when Cognizant finally publicly disclosed the bribery

scheme—L&T has not mentioned Cognizant in its annual reports. On February 18, 2019, Indian

financial daily newspaper LiveMint and the news site PSU Watch identified L&T as the

“Construction Company” in the Indictment (referred to as the “Contracting Firm” in the SEC

Action, and “Contracting Firm-1” in the SEC Order). 5 The Times of India also reported on

February 19, 2019 that, despite L&T’s denial, “Details of construction approvals at precisely the


5
 Varun Sood, Cognizant used L&T to bribe govt ofﬁcials in India, LiveMint (Feb. 18, 2019),
https://www.livemint.com/companies/news/cognizant-used-l-t-to-bribe-govt-officials-in-india-
1550426741937.html; PSU Bureau, L&T Worked Hand-In-Glove With Cognizant To Bribe
Government Officials, PSU Watch (Feb. 18, 2019), https://psuwatch.com/lt-worked-hand-in-
glove-with-cognizant-to-bribe-government-officials/.



                                               16
same time show L&T was awarded the contract to complete the campus construction,”6 and The

Economic Times reported on March 29, 2019 that L&T’s “audit committee would get an external

expert to probe the bribery allegations that came to light after US-based Cognizant Technology

Solutions Corp agreed to pay $25 million to the US Security and Exchange Commission (SEC) to

settle such charges in India, where L&T is alleged to have helped the software company.”7

       40.     “CC#3” was, during relevant times, the Department Head for Commercial

Buildings at L&T, and resided in India. CC#3 is named as an unindicted co-conspirator in the

Indictment.

IV.    SUMMARY OF THE FRAUD

       A.      Cognizant’s Success as an Outsourcing Business Was Driven by Its
               Use of Indian “Special Economic Zones” to Lower the Company’s
               Taxes and Costs

       41.     As noted above, Cognizant is a leading provider of IT outsourcing services, with

its principal operations in India. Cognizant began as an Indian company headquartered in Chennai.

While the Company later moved its headquarters to the United States, the bulk of Cognizant’s

operations remained in India. During the Class Period, more than 150,000 of Cognizant’s

approximately 200,000 employees, nearly 75% of the Company’s workforce, were located in

India. The Company housed its Indian employees on ten campuses in cities across India, including

in Chennai, Coimbatore, Kolkata, and Hyderabad.




6
  Cognizant case: DMK seeks CBI probe, The Times of India (Feb. 19, 2019),
https://timesofindia.indiatimes.com/business/india-business/cognizant-case-dmk-seeks-cbi-
probe/articleshow/68058297.cms.
7
 Rachita Prasad, Cognizant bribery: The case that’ll either tarnish L&Ts name or burnish its fame,
The Economic Times (Feb. 18, 2019), https://economictimes.indiatimes.com/tech/ites/cognizant-
bribery-a-tough-test-for-lt-brand-image/articleshow/68401708.cms.


                                               17
         42.     As with many other India-centric IT outsourcing companies, Cognizant’s success

was driven in significant part by its “global delivery model,” which leveraged the lower labor, tax,

and other business costs of its Indian operations to provide IT development and maintenance for

international clients at highly competitive prices. Throughout the Class Period, Cognizant and its

senior executives repeatedly told investors that the Company’s business strategy revolved around

a “dual mandate”: helping clients achieve operational efficiency by reducing their IT costs and

redeploying those savings into new digital technologies. As McLoughlin told investors at an

August 12, 2015 investor conference, “[W]e’re seeing clients continue to look for partners who

can execute on this dual mandate. So help me drive down my costs of my current operations . . .

and take those dollars and really deploy them into meaningful digital transformation. . . . [We]

think that will continue to be a driver of growth as we move forward.”8

         43.     Defendants repeatedly cited Cognizant’s success in delivering cost savings to

clients as key to its execution of this dual mandate. For example, at a September 6, 2016 investor

conference, D’Souza stated, “we’ve been very successful at, while maintaining our margins, being

able to achieve the cost of ownership that the clients want.”9 Accordingly, providing clients with

global IT cost arbitrage opportunities was a foundational element of Cognizant’s business model.

And, on its website, Cognizant told investors that its presence in India, in particular, was “a crucial

piece of [that] global business strategy”106 because of the cost savings that centralizing operations

in India produced.




8
    Tr. of Oppenheimer Tech., Internet & Commc’ns Conf. at 1 (Aug. 12, 2015).
9
    Tr. of Citi Global Tech. Conf. at 9 (Bloomberg Sept. 6, 2016).
10
  About Cognizant - India, Cognizant, https://www.cognizant.com/india (last visited Mar. 22,
2017).


                                                  18
       44.     To cut its costs and, in turn, provide IT services at lower costs to clients, Cognizant

constructed and operated its Indian facilities in designated SEZs. Licenses to develop and/or

operate within SEZs are awarded by Indian central and regional governments. Companies who

receive these licenses are guaranteed a plethora of lucrative benefits, including numerous tax

exemptions and holidays, easing of various customs and labor regulations and procedures, and

heightened access to credit, infrastructure, and other resources. According to a publication issued

by India’s Department of Commerce, incentives for businesses operating within an SEZ include:

       •       Duty free import/domestic procurement of goods for development,
               operation and maintenance of SEZ units.

       •       100% Income Tax exemption on export income . . . for first 5 years, 50%
               for next 5 years thereafter and 50% of the ploughed back export profit for
               next 5 years.

       •       Exemption from minimum alternate tax . . . .

       •       External commercial borrowing by SEZ units up to US $500 million in a
               year without any maturity restriction through recognized banking channels.

       •       Exemption from Central Sales Tax.

       •       Exemption from Service Tax.

       •       Single window clearance for Central and State level approvals [i.e., a
               centralized approval process for obtaining regulatory approval, greatly
               reducing transaction costs].

       •       Exemption from State sales tax and other levies as extended by the
               respective State Governments.11

Moreover, businesses operating within SEZs are entitled to “self-certify” compliance with

applicable regulatory regimes, including labor and customs laws and regulations, and have access

to expedited dispute resolution mechanisms. Again, these benefits work to reduce greatly the



11
   Department of Commerce, Government of India, Special Economic Zones in India,
http://www.sezindia.nic.in/about-fi.asp.


                                                 19
transaction costs for firms operating in SEZs. Additional tax benefits are extended to companies

that develop SEZs, including exemption from custom/excise duties and dividend distribution tax.

       45.     Cognizant built and operated in India at least ten “global delivery centers” (large

IT campuses that housed thousands of employees) and aggressively pursued SEZ licensing for

those facilities. Notably, Cognizant constructed or expanded at least four of its ten SEZ-licensed

Indian global delivery centers during the Class Period: those located in Kolkata, Coimbatore,

Hyderabad, and the Company’s Indian headquarters in Chennai.

       46.     Building and expanding SEZ-licensed facilities was key to the Company’s

performance in multiple ways. First, building and expanding SEZ facilities increased Cognizant’s

ability to drive revenue: the more employees the Company could put to work at its SEZ facilities,

the more revenue it would book. Accordingly, analysts repeatedly focused on the Company’s

headcount and “utilization rates,” i.e., the extent to which employees’ time was being billed to

client projects. For instance, in a July 25, 2016 report, Deutsche Bank analysts stated, “the

company continues to focus on retention efforts and we believe headcount remains an important

leading indicator and expect headcount growth to accelerate ahead of revenue acceleration.”12

       47.     Second, as noted above, the SEZ status of Cognizant’s Indian operations allowed

the Company to reduce massively its tax and operating costs, which also was critical to its financial

performance. Indeed, as noted previously and detailed further below, in reports filed with the SEC

throughout the Class Period, Cognizant reported that the tax benefits, alone, that it derived from

its SEZ licenses increased the Company’s net income by hundreds of millions of dollars. Cognizant

acknowledged that these benefits materially impacted the Company’s financial condition, and that


12
  Bryan Keane, Research Analyst et al., Guidance Revision Coming? 6 (Deutsche Bank AG July
25, 2016).



                                                 20
“[c]hanges in Indian tax laws” that “would reduce or deny SEZ tax benefits could have a material

adverse effect on our business, results of operations and financial condition.”13

          48.    Third, the enormous tax and operating cost savings Cognizant generated through

the SEZ status of its Indian operations also gave Cognizant a significant competitive advantage

among its outsourcing peers, and were therefore instrumental in helping the Company garner new

business through the delivery of lower cost IT services to its US and European clients. As discussed

above, Defendants emphasized that clients’ interest in cutting IT costs was a primary driver of

demand for Cognizant’s services. During the Company’s August 5, 2016 earnings call, Coburn

told investors that cost-cutting “remains absolutely essential to almost every client” 14 of the

Company, and Cognizant’s SEC filings listed “competitive pricing of services” as among the

“principal competitive factors affecting the markets for our services.”15

          B.     Planned Changes to Indian Tax Law Put Increased Pressure on
                 Cognizant to Obtain SEZ Licensing for Its Facilities As Quickly As
                 Possible During the Class Period

          49.    During the Class Period, looming changes to Indian tax law that would phase out

tax benefits for SEZs established after April 2017 put increased pressure on Cognizant to obtain

valuable SEZ licensing for its Indian operations as quickly as possible. In February 2015, India’s

Finance Minister, Arun Jaitley, sent signals that the government could move to limit tax benefits

for newly constructed SEZs. In a speech on February 28, 2015, Minister Jaitley made sweeping

criticisms of India’s “regime of [corporate tax] exemptions,” which he said “led to pressure groups,




13
     See, e.g., Cognizant Tech. Sols. Corp., Annual Report (Form 10-K), at 27 (Feb. 25, 2016).
14
     Tr. of Q2 2016 Earnings Call at 4 (Bloomberg Aug. 5, 2016).
15
  See, e.g., Cognizant Tech. Sols. Corp., Annual Report (Form 10-K), at 12 (Feb. 27, 2015)
[hereinafter 2014 Form 10-K].



                                                 21
litigation, and loss of revenue.”16 Minister Jaitley expressed a keen interest in lowering India’s

general corporate tax rate, which he characterized as higher than the rate “prevalent in other major

Asian economies,” and eliminating “various kinds of tax exemptions and incentives for corporate

tax payers” to pay for the tax cut.17

           50.   In November 2015, India’s Central Board for Direct Taxes (“Central Board”) put

even greater pressure on Cognizant to move as expeditiously as possible to obtain valuable SEZ

permitting for new operations when it, consistent with Minister Jaitley’s February 2015 speech,

issued a draft proposal phasing out SEZ tax benefits for the development of new facilities

commencing activities after April 1, 2017. A few months later, in February 2016, Minister Jaitley,

on behalf of the Ministry of Finance, presented a final budget plan implementing a policy for

phasing out SEZ tax exemptions after April 1, 2020, consistent with the Central Board’s proposal

and the Minister’s speech the prior year.18

           51.   Given the enormous pressure it faced to obtain SEZ licensing prior to the phasing

out of tax benefits for new operations, Cognizant embarked on an SEZ development spree during

the Class Period. As discussed above, Cognizant built or expanded at least four of its ten SEZ-

licensed Indian global delivery centers during the Class Period. In early September 2015,

Cognizant signed agreements with the Tamil Nadu state government to expand its major global

delivery center in Coimbatore and its Indian headquarters in Chennai. As reported by India Today


16
  Puja Mehra, Changes in Corporate Tax Regime to Reduce disputes: Jaitley, Hindu (Mar. 2,
2015, 00:28 IST), http://www.thehindu.com/news/national/changes-in-corporate-tax-regime-to-
reduce-disputes-jaitley/article6948860.ece?utm_source=RSS_Feed&utm_medium=RSS&utm_
campaign=RSS_Syndication.
17
     Id.
18
  Shrimi Choudhary, Corp Tax Cut Takes Last Budget Forward, Daily News & Analysis (Mar. 1,
2016).



                                                22
on September 10, 2015, Cognizant’s vice chairman and former CEO, Lakshmi Narayan,

highlighted the ambitious scope of the planned campus expansions, stating, “[w]hen complete, the

centres will have a capacity to accommodate approximately 17,000 to 20,000 professionals.”19

           52.   Shortly thereafter, in March 2016, Cognizant received approval from the Telangana

state government to construct a massive SEZ facility in the state’s capital, Hyderabad, that would

house 8,500 employees. Just a few months later, in August 2016, Cognizant received approval to

construct an SEZ facility in Kolkata, West Bengal, occupying a sprawling fifteen-acre plot. The

Telegraph (of India) reported on August 3, 2016, that the development was expected to house

10,000 Cognizant employees.20 As part of the deal, government officials waived its development

fee. 21      Moreover, sources reported that the state government’s Housing Infrastructure

Development Corporation, which sold the land to Cognizant, had ensured that the price of the land

“would be ‘kept reasonable’ to sweeten the deal.”22

           53.   Notably, while Cognizant received SEZ licensing for its Kolkata facilities, the state

government had refused to grant licenses to the Company’s competitors, including Wipro Limited

and Infosys Limited. Both Wipro and Infosys had purchased fifty acres of land apiece in the region

based on the previous state administration’s assurances that their projects would receive SEZ status

– a promise the new state government had declined to honor. In an August 5, 2016 article, the



19
   Cognizant to Invest Rs 1,000 cr in TN in Next 5 Yrs, India Today (Sept. 10, 2015, 21:25 IST),
http://indiatoday.intoday.in/story/cognizant-to-invest-rs-1000-cr-in-tn-in-next-5-
yrs/1/470681.html.
20
  Mamata Government Allots New Town Plot for Company’s Third Campus in Calcutta,
Telegraph (India) (Aug. 3, 2016), https://www.telegraphindia.com/1160803/jsp/calcutta/story_
100288.jsp.
21
     Id.
22
     Id.



                                                  23
Times of India reported that, in the wake of the government’s grant of SEZ licensing to Cognizant,

several other IT outsourcing companies called on the state’s IT Minister, Bratya Basu, “to evince

interest in contributing more to the state’s technological ecosystem.”2319 While Minister Basu met

with several business leaders, his meeting with Cognizant’s Senior Vice President of Infrastructure

Service, Nachiket Deshpande, reportedly took “significantly more time than the other chat

sessions.”24

           C.    Defendants Underscored the Benefits of Cognizant’s SEZ Licenses As
                 a Key Driver of Its Financial Performance, While Assuring Investors
                 that Cognizant Did Not Make Improper Payments to Foreign
                 Officials

           54.   As detailed below, throughout the Class Period, Defendants repeatedly emphasized

that the Company’s SEZ facilities were a critical driver of its strong financial performance. At the

same time, Defendants also assured the investing public that they had legitimately obtained the

SEZ licenses, stating that Cognizant did not make any payments to government officials to obtain

anything of value, and that the Company maintained a system of rigorous internal controls

precisely to prevent such payments. As investors would ultimately learn, these statements were

materially false and misleading.

                 1.     Defendants Highlighted that Cognizant’s SEZ Operations
                        Were a Crucial Driver of Its “Strong” Financial Performance

           55.   During the Class Period, Defendants and dismissed Defendants consistently

reported what they described as “strong” financial results, even when the IT outsourcing industry

was facing headwinds. When reporting these results, Defendants and dismissed Defendants



23
  Tech Bosses Meet Kolkata’s IT Minister Bratya Basu, Times of India (Aug. 5, 2016, 8:39 AM
IST); http://timesofindia.indiatimes.com/city/kolkata/Tech-bosses-meet-Kolkatas-IT-minister-
Bratya-Basu/articleshow/53551377.cms.
24
     Id.


                                                24
repeatedly highlighted the benefits the Company received from the SEZ status of its Indian

operations during the Class Period. For instance, in its 2014 Annual Report, Cognizant reported

that 2014 saw “strong growth on the top line,” and explained that its financial results were driven

in significant part by its SEZ facilities, stating that “the effect of the income tax holidays granted

by the Indian government was to reduce the overall income tax provision and increase net income

by approximately [$183 million] . . . and increase diluted EPS by $0.30.” 2521 In reporting on its

“strong performance” in its 2015 Annual Report, Cognizant again emphasized that its results were

driven significantly by its Indian SEZ operations, reporting that these facilities had “increase[d]

net income by approximately $201.4 million . . . and increase[d] diluted EPS by $0.33,” a material

increase over the prior year.26

          56.     Defendants also highlighted to investors that expanding Cognizant’s SEZ facilities

was a key part of its business strategy. For instance, in the Company’s SEC filings, Defendants

repeatedly stated that “[w]e pursue an international strategy that includes expanded infrastructure

investments in India,” “[w]e have constructed and expect to continue to operate most of our newer

development facilities in SEZs,” and Cognizant would continue to “[l]ocate most of our new

development center facilities in tax incentivized areas” in response to the most significant trends

and risks it was seeing in its business.27 Defendants also assured investors that Cognizant was

continuing to pursue this strategy by making significant capital expenditures to grow and expand

its SEZ operations. For instance, in its second quarter 2016 Form 10-Q, Cognizant stated that, “[a]s

of June 30, 2016, we had outstanding fixed capital commitments of approximately $184.0 million


25
     Cognizant, 2014 Annual Report, at 3, 126.
26
     Cognizant, 2015 Annual Report, at 4, 92.
27
     Id. at 92, 58, 47.



                                                  25
related to our India development center expansion program to build new state-of-the-art IT

development and delivery centers.”28

           57.   In addition to emphasizing the positive financial impact of the Company’s SEZ

operations, Defendants and dismissed Defendants also made statements attributing Cognizant’s

financial success to a number of other ostensibly legitimate business factors and conditions. For

example, in its SEC filings, Cognizant repeatedly set forth the “key drivers of our revenue growth,”

which included numerous legitimate factors such as “[s]olid performance across all of our business

segments”; “[s]ustained strength in the North American market”; “[c]ontinued penetration of the

European and Rest of World (primarily the Asia Pacific) markets”; “[i]ncreased customer spending

on discretionary projects”; “[e]xpansion of our service offerings, including Consulting, IT IS, and

BPS services”; “[i]ncreased penetration at existing customers”; and “[c]ontinued expansion of the

market for global delivery of IT services and BPS.” Defendants and dismissed Defendants also

made specific statements on earnings calls and at investor conferences in which they further

attributed Cognizant’s success to a variety of legitimate factors, such as:

           ▪     On a May 4, 2015 earnings call, D’Souza stated that the Company’s
                 performance “was driven by strong organic growth in our core business
                 coupled with solid in-line performance in the TriZetto business.”29

           ▪     On Cognizant’s May 6, 2016 earnings call, Coburn stated that Cognizant’s
                 strong global results were “driven primarily by strength in key markets such
                 as India, Australia and the Middle East where we’re seeing good traction
                 with clients’ adoption of digital technologies.”30

           ▪     At a May 24, 2016 investor conference, Coburn touted Cognizant’s ability
                 to deliver low cost services to clients as a key driver of growth and
                 profitability. For example, Coburn stated that Cognizant was satisfying

28
     Cognizant Tech. Sols. Corp., Quarterly Report (Form 10-Q), at 19 (Aug. 5, 2016).
29
     Tr. of Q1 2015 Earnings Call at 2 (Bloomberg May 4, 2015).
30
     Id.



                                                 26
                 customer demand for cost savings by “bring[ing] best practices to our
                 clients for our traditional services, constantly lower[ing] their cost of
                 ownership while maintaining our margin. . . . We’re very good at that.”31

         58.     At the same time that Defendants were reporting strong financial results driven by

Cognizant’s SEZ strategy, they were reassuring investors that Cognizant was not bribing foreign

officials, and that the Company was taking concrete steps to ensure compliance with anticorruption

laws. As discussed below, these statements were material to investors.

                 2.        Defendants Assured Investors That Cognizant Did Not Make
                           Improper Payments to Foreign Officials, and Maintained a
                           System of Internal Controls to Prevent Such Payments

         59.     The FCPA prohibits both direct and indirect payments to “any officer or employee

of a foreign government,” including employees of state-owned enterprises, in order to influence

their official “act[s] or decision[s]” or to “secur[e] any improper advantage.” 32 Companies can,

and often do, face FCPA liability based on improper payments made by their agents or other

business partners.

         60.     The penalties, including criminal penalties, that may be imposed for violations of

the FCPA’s anti-bribery provisions are severe.33 Corporate violators, in particular, may face multi-

million dollar fines and disgorgement of up to twice the benefit obtained through the corrupt

payment. The Attorney General or the SEC may bring civil actions seeking fines against both

corporate and individual violators.




31
     Tr. of J.P. Morgan Glob. Tech., Media & Telecom Conf. at 3 (May 24, 2016).
32
     15 U.S.C. § 78dd-1.
33
  See, e.g., Clayco Petrol. Corp. v. Occidental Petrol. Corp., 712 F.2d 404, 408 (9th Cir. 1983)
(“The Act provides for severe criminal penalties including fines and imprisonment.” (citing 15
U.S.C. §§ 78dd-2(b), 78ff)).



                                                 27
       61.     In recent years, both the DOJ and the SEC have significantly increased enforcement

of the FCPA.34 In 2010, the SEC’s Enforcement Division created a specialized unit to further

enhance its enforcement of the FCPA.35 That same year, the DOJ brought forty-eight enforcement

actions and the SEC brought twenty-six.36 Furthermore, the DOJ and the SEC “have worked to

create a network of international cooperation in the global war against bribery and corruption.”37

As commentators remarked: “With the recent burst of enforcement activity and the sharp increase

in fines and penalties collected, everyone doing business abroad must now pay particular attention

to the FCPA.”38 Gibson Dunn’s “2016 Year-End FCPA Update” noted that:

       2016 was a precedent-setting year for the Foreign Corrupt Practices Act (“FCPA”).
       After several years of consistent enforcement numbers, the Department of Justice
       (“DOJ”) and Securities and Exchange Commission (“SEC”) produced what
       arguably is the most significant year of enforcement in the statute’s 39-year history.
       With 53 combined enforcement actions, more than $2 billion in corporate fines
       levied by U.S. enforcers and billions more by foreign regulators in coordinated
       prosecutions, early returns on the DOJ’s FCPA Pilot Program, and an increasingly




34
   Cortney Thomas, The Foreign Corrupt Practices Act: A Decade of Rapid Expansion Explained,
Defended, and Justified, 29 Rev. Litig. 439, 439-40 (Winter 2010) (noting “exponential increase”
in FCPA enforcement by DOJ and SEC beginning in early 21st century).
35
 Press Release, U.S. SEC, SEC Names New Specialized Unit Chiefs and Head of New Office of
Market Intelligence (Jan. 13, 2010), https://www.sec.gov/news/press/2010/2010-5.htm.
36
   Covington & Burling LLP, Significant Developments and Trends in Anti-Corruption
Enforcement 1 (Jan. 2011), http://www.cov.com/files/Publication/5ff26ab9-61cf-46f4-ba8a-
aa463a65f9fe/Presentation/PublicationAttachment/437b6d49-f6c1-4b3a-b2ad-
be89b9337322/Significant%20Developments%20and%20Trends%20in%20AntiCorruption%20
Enforcement.pdf.
37
  Tom Fox, Global Anti-corruption Enforcement Numbers Going Up, Compliance Week (Feb. 14,
2017),        https://www.complianceweek.com/blogs/tom-fox-tom-fox/global-anti-corruption-
enforcement-numbers-going-up#.WMf5Xm_yvcs.
38
  Robert C. Blume & Ryan V. Caughey, Commentary, The FCPA: Overview, Enforcement Trends
and Best Practices, 13 Andrews Sec. Litig. & Reg. Reporter 1, 1 (Nov. 3, 2009).



                                                28
       clear intersection between the FCPA and Dodd-Frank’s whistleblower provisions,
       there is much to discuss.39

       62.      Because Cognizant’s operations are principally located outside of the United States,

the Company’s compliance with anticorruption laws, and its maintenance of appropriate controls

to ensure continued compliance, was critical to investors. This was particularly true of Cognizant’s

Indian business, not only because it comprised the vast majority of the Company’s operations and

was crucial to Cognizant’s success, but because, as Forbes reported on February 11, 2016,

corruption watchdogs ranked India as one of the world’s most corrupt countries during the Class

Period.40

       63.      Indeed, U.S. companies’ Indian operations have become an increasingly prominent

target of federal regulators’ FCPA enforcement programs. As commentators have explained, over

the past decade “both the DOJ and the SEC have targeted misconduct in India across a wide range

of industries from manufacturing and construction to oil and information technology.” 41 For

example:

       •     Anheuser-Busch InBev paid $6 million in September 2016 “to settle charges
             that it violated the [FCPA] and impeded a whistleblower who reported the
             misconduct. The company’s India minority-owned joint venture used third-




39
   Gibson, Dunn & Crutcher LLP, 2016 Year-End FCPA Update 1 (Jan. 3, 2017),
http://www.gibsondunn.com/publications/documents/2016-Year-End-FCPA-Update.pdf.
40
  Ronak D. Desai, India Remains One of the Most Corrupt countries in the World, Forbes (Feb.
11, 2016 4:11 PM), https//www.forbes.com/sites/ronakdesai/2016/02/11/india-remains-one-of-
the-most-corrupt-countries-in-the-world/#590d3498155f.
41
  Jeremy B. Zucker, Darshak S. Dholakia & Hrishikesh N. Hari, Anti-bribery Compliance in
India: Both Sword and Shield 3 (Dechert LLP Nov. 2016), https://www.dechert.com/files/
Uploads/Documents/Lit%20-%20General/White%20Paper%20-%20Anti-Bribery%20Compli
ance%20in%20India%20FINAL%20-%2011-16.pdf.



                                                 29
                party sales promoters to make improper payments to government officials in
                India to increase sales and production.”42

          •     In 2016, government officials proposed that Wal-Mart Stores Inc. “pay at least
                $600 million to resolve probes by the [DOJ] and the [SEC] into whether it
                bribed government officials” in foreign markets, including India.43

          •     In 2012, Tyco International paid $26 million to settle FCPA violations when a
                “German subsidiary paid third parties to secure contracts” and payments were
                “recorded as commissions.”44

          •     In 2011, “London-based liquor manufacturer Diageo plc paid more than $16
                million to settle FCPA-related offenses it committed in several countries,
                including India. According to the SEC, Diageo paid $1.7 million in bribes to
                Indian government officials ‘responsible for purchasing or authorizing the sale
                of its beverages in India.’”45

          •     In 2010, Pride International paid $56.1 million as a result of a payment made
                for a “favorable administrative judicial decision regarding customs issues.”46

          64.      In particular, FCPA lawyers have stated that some of the “key high risk areas” for

conducting business in India include “[o]btaining licenses and permits”; “[l]and acquisition”;




42
   Richard L. Cassin, Anheuser-Busch InBev Pays SEC $6 Million for India FCPA Offenses and
Impeding      Whistleblower,    FCPA      Blog    (Sept.    28,     2016,    12:08     PM),
http://www.fcpablog.com/blog/2016/9/28/anheuser-busch-inbev-pays-sec-6-million-for-india-
fcpa-offen.html.
43
  Tom Schoenberg & Matt Robinson, Wal-Mart Balks at Paying $600-Million-Plus in Bribery
Case, Bloomberg (Oct. 6, 2016, 2:24 PM), https://www.bloomberg.com/news/articles/2016-10-
06/wal-mart-said-to-balk-at-paying-600-million-plus-in-bribe-case.
44
  Foley & Lardner LLP, Anti-Bribery and Foreign Corrupt Practices Act Compliance Guide for
U.S. Companies Doing Business in India 4 (2016).
45
  Ronak D. Desai, Complying with U.S. Anti-Corruption Laws While Conducting Business in
India, Forbes (Oct. 30, 2015, 1:14 PM), https://www.forbes.com/sites/ronakdesai/2015/10/30/
ensuring-foreign-corrupt-practices-act-compliance-while-conducting-business-in-india/#5de6a74
0183a.
46
     Foley & Lardner LLP, supra note 44, at 4.



                                                    30
“[s]etting up plants and operations”; and “[c]ustoms and taxes” – precisely the subject areas at

issue here.47

          65.    Given these facts, throughout the Class Period, Cognizant repeatedly

acknowledged that noncompliance with anticorruption laws, and failure to implement adequate

control systems to monitor and enforce compliance, could have serious negative consequences for

the Company. In reports filed with the SEC during the Class Period Cognizant stated:

          Among other anti-corruption laws and regulations, we are subject to the United
          States Foreign Corrupt Practices Act, or FCPA, which prohibits improper payments
          or offers of improper payments to foreign officials to obtain business or any other
          benefit, and the U.K. Bribery Act. Violations of these laws or regulations could
          subject us to criminal or civil enforcement actions, including fines and suspension
          or disqualification from government contracting or contracting with private entities
          in certain highly regulated industries, any of which could have a material adverse
          effect on our business, results of operations and financial condition.48

          66.    Accordingly, Cognizant assured investors that it did not make improper payments

to foreign officials, and that it implemented a rigorous control system in order to ensure compliance

with anticorruption laws, including the FCPA. Cognizant published, and disseminated to investors

on its website, its Code of Conduct. In it, Cognizant again acknowledged the importance of

compliance with anticorruption laws and the maintenance of adequate controls to monitor that

compliance, stating that “anti-corruption law violations come with severe legal penalties to the

company, its executives and the individuals involved in such actions.”49 Thus, in a section entitled,

“Preventing Corrupt Activities,” Cognizant stated that the Company did not make improper

payments to government officials to obtain any business or other advantage: “We do not corruptly




47
     Anthony Campanelli, Managing Corruption Risks in India 4 (Deloitte LLP 2014).
48
     See, e.g., 2014 Form 10-K, supra note 15, at 28.
49
     2015 Code of Conduct, supra note 2, at 10.



                                                  31
give or offer, directly or indirectly, anything of value to a government official to obtain or maintain

business or any other advantage for the Company.”50

           67.       Cognizant’s Code of Conduct also represented that the Company would take

several specific actions to vet payments to foreign officials and ensure their legitimacy, stating that

any such payments would receive “pre-approval from our Legal Department,” and that all such

payments would be appropriately “reported and documented as part of the FCPA’s and other laws’

books and records requirements.”51

           68.       In addition, the Code of Conduct directed investors to the Anticorruption Policy,

which Cognizant published and disseminated to investors through its website. 52 The

Anticorruption Policy set out certain proscriptions on conduct to which the Company purported to

adhere, and set forth affirmative preventative actions that the Company purported to take. Pursuant

to the Anticorruption Policy, Cognizant assured investors that the Company would:

           •      “never pay, promise, offer or authorize a bribe or anything of value to a
                  government official or any other individual in order to obtain business for the
                  Company or to secure an improper advantage for the Company”;

           •      “conduct risk assessments, in consultation with our Legal Department, for
                  certain activities involving officials in high-risk countries for corrupt
                  practices”;

           •      “ensure that entries into the Company’s books and records are accurate, and
                  that all Company internal controls and procedures are maintained and followed
                  when making payments from the Company”; and




50
     Id. at 9.
51
     Id. at 10.
52
  Cognizant published the same Anticorruption Policy annually, including each year from 2011
through 2017.



                                                      32
           •     “comply with, and enforce, all the Company’s requirements for documentation
                 of expenses and payment requests . . . consistent with our Core Values and
                 Standards of Business Conduct on transparency.”53

           69.         Cognizant also publicly assured investors that it was taking a number of additional

concrete steps to ensure Company compliance with anticorruption laws. In the Anticorruption

Policy, Cognizant told investors, among other things, that its Legal Department would review “red

flag” transactions, including those transaction involving a government-related counterparty, and

that “[p]eriodic audits of compliance shall be performed by each business unit in coordination with

our Legal Department” in order to “[m]onitor [a]nd [a]udit [c]ompliance [w]ith [the]

Anticorruption Policy.”54

           70.         Cognizant touted both its Anticorruption Policy and its Code of Conduct in SEC

filings throughout the Class Period. For example, Cognizant’s 2014 Form 10-K stated, “we make

available our code of business conduct and ethics entitled ‘Cognizant’s Core Values and Standards

of Business Conduct’ free of charge through our website. We intend to disclose any amendments

to, or waivers from, our code of business conduct and ethics that are required to be publicly

disclosed pursuant to rules of the SEC and the NASDAQ Global Select Market by posting it on

our website.”55

           71.         In SEC filings throughout the Class Period, Cognizant also assured investors that it

maintained an adequate system of internal accounting controls, as mandated by the FCPA and the

Sarbanes-Oxley Act (“SOX”). The FCPA imposes accounting requirements that operate as a

complement to, and a means of enforcing, its anti-bribery provisions. Specifically, the FCPA


53
   Cognizant, Cognizant Technology Solutions FCPA, UK Bribery Act and Anticorruption Policy
2 (2011).
54
     Id. at 3, 5, 7.
55
     2014 Form 10-K, supra note 15, at 17.


                                                        33
requires issuers to keep books and records that accurately and fairly describe their transactions,

and to develop and maintain an adequate system of internal accounting controls, in order to track

payments and prevent bribery. SOX mandates, in part, that internal controls must be designed so

as to “ensure that material information relating to the company . . . is made known to” officers

responsible for certifying the accuracy of the company’s public reports.

       72.     A critical element of the internal accounting controls prescribed by the FCPA is

called “tone at the top.” “Tone at the top” refers to senior management’s commitment to legal and

ethical compliance and accurate reporting, expressed as a function of management initiatives,

policies, and, most importantly, management’s conduct. SOX also recognizes the primacy of “tone

at the top” as a control mechanism in, among other things, its rules making a company’s senior

management ultimately responsible for the quality of an issuer’s disclosure controls and financial

reporting. Regulators and auditors likewise recognize “tone at the top” as a key internal control

mechanism. For example, the Resource Guide to the U.S. Foreign Corrupt Practices Act, jointly

issued by the DOJ and the SEC, emphasizes that an issuer’s implementation of “an appropriate

tone at the top” is a key factor in assessing the seriousness of an FCPA violation.56

       73.     Similarly, then-SEC Commissioner Cynthia Glassman stated in an April 2003

speech on the SEC’s implementation of SOX:

       [T]he ultimate effectiveness of the new corporate governance rules will be
       determined by the “tone at the top.” Adopting a code of ethics means little if the
       company’s chief executive officer or its directors make clear, by conduct or
       otherwise, that the code’s provisions do not apply to them. . . . Corporate officers
       and directors hold the ultimate power and responsibility for restoring public trust



56
  Criminal Div., U.S. DOJ & Enf’t Div., U.S. SEC, A Resource Guide to the U.S. Foreign Corrupt
Practices Act 55 (Nov. 14, 2012), https://www.sec.gov/spotlight/fcpa/fcpa-resource-guide.pdf
[hereinafter “Resource Guide”].



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       by conducting themselves in a manner that is worthy of the trust that is placed in
       them.57

       74.     Accordingly, Cognizant’s maintenance of adequate internal control systems,

including its “tone at the top,” was critically important to investors because it ensured that the

Company adhered to the Code of Conduct and Anticorruption Policy it purported to practice, and

that the Company’s public disclosures were accurate.

       75.     In connection with Cognizant’s SEC filings throughout the Class Period, and

pursuant to SOX, D’Souza and McLoughlin signed certifications representing to investors that

Cognizant’s internal reporting controls were “effective” and were designed to “provide reasonable

assurance regarding the reliability” of Cognizant’s financial reports; that Cognizant’s SEC filings

were free from material misstatements and omissions, and “fairly present[ed], in all material

respects, the financial condition and results of operations of the Company”; and that there were no

“significant deficiencies and material weaknesses in the design or operation” of Cognizant’s

internal controls that had not been disclosed.

       76.     On Cognizant’s website, the Company also touted the rigorousness of its internal

controls, stating “Cognizant employs rigorous internal controls to ensure our commitment to

ethical behavior, proper risk management and exemplary corporate conduct. Our internal controls

are maintained by an effective and far-reaching corporate governance system implemented by our

senior leadership team and overseen by an independent Board of Directors.” 58 Based on these




57
   Cynthia A. Glassman, Commissioner, SEC, SEC Implementation of Sarbanes-Oxley: The New
Corporate Governance (Apr. 7, 2003),
https://www.sec.gov/news/speech/spch040703cag.htm.
58
   Internal Controls, Cognizant, https://web.archive.org/web/20150104185219/http:/www.cog
nizant.com/company-overview/internal-controls (last visited Mar. 24, 2017).


                                                 35
statements, the Company assured investors that they could take comfort in the conduct of its

management and the accuracy and completeness of its public disclosures.

       77.     The cumulative effect of the statements summarized above was to drive

Cognizant’s stock price significantly higher throughout the Class Period. Specifically, Defendants’

statements caused Cognizant’s stock price to rise from $46.50 per share at the start of the Class

Period to a Class Period high of more than $68 per share – an increase of more than 46%.

       78.     Unfortunately for investors, as detailed below, Defendants’ statements to investors

concealed a bribery scheme that went to the core of Cognizant’s SEZ operations and involved the

highest levels of Cognizant management. This undisclosed bribery scheme rendered a host of

Defendants’ statements to investors materially false and misleading, including their statements:

touting the significant benefits Cognizant received from its SEZ operations; representing that the

Company did not bribe foreign officials and took concrete steps to ensure FCPA compliance;

assuring investors that the Company maintained reliable internal controls; and attributing the

Company’s performance to additional legitimate factors.

       D.      In Truth, Cognizant Bribed Indian Government Officials to Procure
               Valuable SEZ Licensing

       79.     Unbeknownst to investors, to secure the valuable SEZ licenses Cognizant

repeatedly touted, the Company engaged in a long-standing bribery scheme through which it made

several million dollars worth of improper payments to Indian government officials. As discussed

below, Cognizant has admitted that, between 2010 and 2015, it made at least $6 million (over 400

million Indian rupees) in payments “relating to Company-owned facilities in India” that “may”

have been “improper[] and in possible violation of the [FCPA].”

       80.     Cognizant further admitted that, in its publicly reported financial statements, it

improperly booked these payments as capital expenditures rather than operating expenses, which



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are deducted dollar-for-dollar against the Company’s bottom line as they are spent. This had the

effect of disguising the illicit payments as legitimate capital investments and inflating the

Company’s reported investments in its SEZ facilities, as well as its net income.

       81.     Notably, Cognizant also has admitted that the bribery scheme was carried out by

“senior management,” and that its officers actually overrode the Company’s internal controls to

facilitate the bribery scheme. Specifically, the Company ultimately admitted in its November 7,

2016 third quarter Form 10-Q that “certain members of senior management may have participated

in or failed to take action to prevent the making of potentially improper payments by either

overriding or failing to enforce the controls established by the Company relating to real estate and

procurement principally in connection with permits for certain facilities in India.” As detailed

below, chief among the senior management who carried out the scheme is Defendant Coburn.

       82.     Former Cognizant employees have corroborated the Company’s admissions.

Former Employee 1 served as a Cognizant Manager, Internal Audit & SOX Compliance from

November 2014 through December 2015. Former Employee 1 was tasked with overseeing an

FCPA compliance audit of Cognizant’s Indian operations, which began in September 2014 and

was completed in May 2015. Notably, notwithstanding the Company’s representations that it

conducted “periodic audits of [FCPA] compliance,” Former Employee 1 reported that it was

apparent based on the absence of prior-period audit documentation that an FCPA compliance audit

had not been performed in at least two years prior to 2015. Former Employee 2, Cognizant’s

Assistant Vice President, Internal Audit from 2007 through 2012 and the Company’s Chief Audit

Executive, stated that no FCPA-specific audits were performed during his/her tenure at Cognizant.

       83.     Former Employee 1 further reported that the 2015 audit found evidence that

payments related to procuring SEZ licensing were being made to Indian government personnel




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and that these payments were being improperly classified in Cognizant’s internal systems.

Specifically, Former Employee 1 explained that Cognizant coordinated its land and facility

procurement through a contractor. Former Employee 1 reported that the 2015 audit turned up

several invoices from this contractor that explicitly sought reimbursement for payments for

licenses to operate in SEZs in Bangalore and elsewhere. While the local government had the power

to grant SEZ licenses in the area, the payments were made to what appeared to be a private, non-

governmental entity. Upon investigating, Former Employee 1 discovered that key positions in the

ostensibly private entity were held by government-affiliated individuals.

       84.     While, as set forth above, the invoices made the purpose of the payments explicit

(i.e., for SEZ licenses), Former Employee 1 stated that Cognizant internally recorded the payments

as “lease payments.” When Former Employee 1 interviewed Cognizant personnel, including a

Director of Procurement and Director of Accounts Payable (individuals who were senior

managers) about these transactions, he/she was unable to get a “straight cooperative answer,” and,

instead, was met with “inconsistent responses and no backup to support what they were saying.”

According to Former Employee 1, the personnel interviewed were all saying something different,

particularly about the purpose of the payments, and the inconsistency “raised a big red flag.”

Former Employee 1 stated that the team would “speak to three people” about the purpose of the

payments and “get three different answers.” Although Former Employee 1 could not recall the

amount of the payments in question, he/she stated that the payments would have had to have been

significant enough to be selected for auditing. Notably, Former Employee 1 reported that the audit

team discovered these payments “fairly easily,” by running a few searches through the Company’s

electronic database.




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       85.     Former Employee 1 also reported that the 2015 audit turned up several “high risk”

problems in Cognizant’s internal controls. First, as described above, the audit revealed that

numerous payments to Indian government-affiliated personnel had been improperly classified as

lease payments or otherwise characterized in a way that was inconsistent with the nature of the

actual transaction. Second, as stated in the Company’s published Anticorruption Policy, all

transactions involving government personnel were to be authorized by Cognizant’s legal

department. Former Employee 1, however, discovered that proper authorization was not being

obtained for payments to government officials. Third, and relatedly, Former Employee 1

discovered that there were deficiencies in the Company’s disclosure controls, as payments to

government officials were not being properly flagged as such for further vetting, as per the

Company’s anticorruption and internal control policies.

       86.     Fourth, contrary to Defendants’ statements in the Anticorruption Policy, Former

Employee 1 stated that Cognizant employees did not receive adequate FCPA compliance training.

Specifically, Former Employee 1 noted that training materials were in English, rather than the

language native to the employees being trained. Moreover, the training materials were generic,

and were not specific to either the country in which employees operated or the specific positions

they held. Unsurprisingly in light of these deficiencies, Former Employee 1 noted that the

completion rate for compliance training was low. Corroborating Former Employee 1’s reports,

Former Employee 2, a highly placed audit executive, stated that his/her staff had no FCPA-specific

training and that no FCPA training manuals even existed.

       87.     Former Employee 1 reported the findings of the 2015 audit described above to

Cognizant’s Associate Vice President of Audit, Abraham Verghese (“Verghese”), for inclusion in

a formal final audit report. Former Employee 1 further reported that he/she was included on emails




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in which Verghese raised these findings with Cognizant’s Assistant Vice President of Global

Compliance & Ethics, Misty Pederson (“Pederson”) – one of Cognizant’s most senior compliance

executives.59 Former Employee 1 stated that the final audit report would have been disseminated

to senior Cognizant executives including Pederson, Bhavna Sharma (Senior Manager, Internal

Audit), and Steve Casari (Vice President Enterprise Risk Management & Internal Audit). Former

Employee 1 also stated that summary audit findings, at a minimum, would have been distributed

to the Audit Committee of Cognizant’s Board, which had approved the plan to conduct the FCPA

audit, as well as D’Souza and McLoughlin.

       88.     As discussed above, Cognizant has admitted that its “senior management”

“participated” in the Company’s bribery scheme by, among other things, overriding internal

controls related to real estate permitting or refusing to enforce these controls. There is ample

evidence that Coburn, the Company’s President and former CFO, “participated” in Cognizant’s

scheme. Former Employee 3, Cognizant’s Infrastructure Team Lead from July 2015 through

January 2016, stated that Coburn was the “responsible authority” for overseeing Cognizant’s leases

in India. Former Employee 4, Cognizant’s Associate Director - Strategic Sourcing from September

2011 through March 2015, stated that Coburn was “involved directly” in real estate transactions;

“[h]e used to take a special interest.” Moreover, Coburn, who had served as a senior Cognizant

executive for seventeen years, suddenly resigned when the Board’s corruption investigation was

announced.




59
   Pederson’s biography on the business networking website LinkedIn stated that she is
“[r]esponsible for developing, sustaining, measuring, and communicating programs that ensure
Cognizant associates are committed to compliance with all local laws and [the Company’s] Code
of Conduct.”


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       E.      The New Facts in the Indictment, SEC Action, and SEC Order
               Further Establish Cognizant’s Bribery Scheme and False Statements
               to Investors

       89.     As discussed above, the Indictment, SEC Action, and SEC Order are the result of a

two-year investigation by the DOJ and SEC, and are based on Cognizant’s own internal documents

and the accounts of multiple current and former employees. Indeed, in a February 13, 2019 letter

to Cognizant, the DOJ noted that Cognizant provided it with “all known relevant facts about the

misconduct”—facts which Cognizant obtained through its own multi-year investigation conducted

by its own counsel, at a cost of tens of millions of dollars. While the DOJ’s investigation is still

ongoing, the Indictment, the SEC Action, and the SEC Order strongly corroborate that Cognizant

engaged in an illicit bribery scheme to secure lucrative SEZ permitting; that the scheme was

conceived and orchestrated by some of the Company’s most senior management, including

Defendants Coburn and Schwartz; and that Cognizant, Coburn and Schwartz made and caused to

be made numerous false statements to investors concealing the scheme. As explained below, the

Indictment, SEC Action, and SEC Order set forth detailed facts demonstrating how, between 2014

and 2016, Cognizant—through Coburn, Schwartz and other senior executives—authorized the

payment of at least $3.6 million in bribes to Indian government officials to obtain permits required

to build and operate lucrative SEZ facilities across India, including in Pune, Siruseri, and Chennai.

               1.      Defendants Coburn and Schwartz Arranged $2.5 Million in
                       Illicit Payments to Obtain Permitting Necessary to Create and
                       Operate Cognizant’s Largest SEZ Facility

       90.     Between in or about January 2014 and in or about January 2016, Coburn and

Schwartz, as well as other senior Cognizant executives, engaged in a scheme to bribe one or more

government officials in India to secure and obtain a planning permit (the “KITS Permit”) necessary

to construct and operate Cognizant’s largest SEZ, the KITS Campus in Chennai. The Indictment

makes clear that Cognizant could not have built and operated this crucial SEZ facility, nor enjoyed


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the lucrative SEZ benefits attendant to it, without the KITS Permit. Specifically, the Indictment

explains that the KITS Permit was “a statutory approval that was required prior to the

commencement of the KITS Campus,” and states that the Permit was “discretionary and non-

routine.”

       91.     As discussed in ¶¶43-48 and 55-57 above, the KITS Campus was critical to

Defendants’ SEZ strategy. Located at 1 SEZ Avenue in Chennai, the capital of the state of Tamil

Nadu, the KITS Campus would become the Company’s largest facility in India, encompassing 2.7

million square feet and supporting between 17,000 and 20,000 Cognizant employees. The KITS

Campus’ SEZ status would provide Cognizant with a significant business advantage by, among

other things, allowing the Company to massively reduced the taxes and operating costs associated

the work done by thousands of employees, as discussed in ¶¶45-48 above.

       92.     Cognizant retained a construction firm (which, on information and belief, as set

forth above, is believed to be L&T) in or about November 2011 to develop the KITS Campus.

CC#1, Cognizant’s Vice President of Administration who resided in India, was Cognizant’s

primary liaison with L&T and directly oversaw development of the KITS Campus.

       93.     Given its importance, Coburn was personally involved in the KITS Campus project

from its inception, and received regular updates from CC#1. Indeed, Cognizant’s February 7, 2011

press release that announced the construction project quoted Coburn touting the project as “part of

our ongoing strategy of investing in our people, processes, systems, and infrastructure to support

our long-term growth.”60




60
   Press Release, Cognizant to Invest Over $500 Million in India Infrastructure Expansion (Feb.
7, 2011).


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       94.     Coburn was responsible for personally approving any payments in excess of

$500,000 that L&T requested from Cognizant for reimbursement of unanticipated costs associated

with the agreed-upon scope of work (known as “variation claims” or “change order requests”).

       95.     Cognizant’s contract with L&T provided that L&T would obtain all statutory

approvals and permits. Though, as noted above, the KITS Permit was statutorily required prior to

the commencement of construction, L&T did not submit an application and fee for the Permit until

on or about February 7, 2013, approximately fourteen months after beginning work on the KITS

Campus. By that time, Cognizant had already invested significant resources in building the KITS

Campus, which would be jeopardized without the required Permit.

       96.     The Indian government had still not issued the KITS Permit by April 2014—more

than a year since L&T had first submitted the KITS Permit application and fee, and over two years

since L&T had begun work on the KITS Campus (without having obtained the required

permitting). On April 21 and 22, 2014, with the timely completion of the KITS Campus in

jeopardy, Defendants Coburn and Schwartz participated in video conference calls with CC#1 and

Thiruvengadam to discuss paying a $2 million bribe (more than 120 million INR) to an official

with the Chennai Metro Development Authority in order to secure the KITS Permit and complete

this critical SEZ facility. On the calls, CC#1 told Coburn and Schwartz that the government

official had demanded the bribe in exchange for approving the Permit and asked for their guidance.

As set forth in the Indictment, during the calls, Coburn and Schwartz agreed with CC#1 and

Thiruvengadam that L&T would pay the bribe, and that Cognizant would reimburse L&T for the

bribe payment through a change order request at the end of the project.

       97.     Specifically, to disguise Cognizant’s repayment of the illegal bribe to L&T,

Schwartz and Coburn agreed that L&T would submit a number of fraudulent change order requests




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at the end of the project totaling $2 million. The fact that Coburn had sole authority to approve

large change orders was key to the execution of Defendants’ scheme. Coburn was to use that

authority to approve payment of the phony change order requests to effectuate disbursement of the

bribe monies, thus causing the repayment to be falsely recorded in Cognizant’s books and records

as bona fide construction costs. To ensure that their fraudulent scheme went undetected, Schwartz

emphasized during the April 22, 2014 video conference that the reimbursement payment should

not stand out in the change order request.

       98.     In order to secure L&T’s cooperation in their scheme, Coburn directed CC#1 to tell

L&T that Cognizant would withhold future payments related to the KITS Campus construction

until it delivered the bribe to the Indian government official, and to notify L&T that its future

business with Cognizant was in jeopardy unless it complied. CC#1 did as directed. Several weeks

later, L&T advised CC#1 that it would take necessary steps to secure and obtain the KITS Permit

and that it had hired a special third-party consultant to make the bribe payment.

       99.     To further entice L&T to participate in the illegal bribery scheme, Coburn

authorized an additional $500,000 payment to L&T. As with the $2 million bribe, Coburn

orchestrated the submission of fake change order requests to Cognizant, used his authority to

approve those requests to disburse the illicit payment to L&T, and, thus, caused the additional

payment to be falsely recorded in Cognizant’s books and records as bona fide construction costs.

       100.    As noted above, following the April 22, 2014 calls, L&T advised CC#1 that it had

hired a special third-party consultant to make the bribe payment. On or about May 17, 2014, CC#3

emailed CC#1, writing: “As committed, we are going ahead with approval part (not to inform your

site team & others, except your top management if required so).” CC#3 also noted that Cognizant




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had approximately $17 million in outstanding bills owed to L&T and asked for CC#1’s assistance

in getting Cognizant to pay those bills.

       101.    CC#1 forwarded the above email to, among others, Coburn and Thiruvengadam, in

which CC#1 stated that Cognizant had “some positive traction” on the KITS Campus “approval

process” and that L&T was “moving full swing on the process.” CC#1 also wrote that L&T had

“appointed a new liaison consultant to process the approval” and that L&T “was confident

[Cognizant] will receive approval by this month end/early June.” Discussing L&T’s request

regarding its outstanding bills, CC#1 stated that the total “on hold” payments were approximately

$17 million, “the freeze on payment is hurting them very badly,” and CC#1 believed that it was a

“good idea to release payment.”

       102.    Nonetheless, still lacking the critical KITS Permit, Coburn agreed to release only

partial payment of money owed to L&T for legitimate construction work. On May 20, 2014,

Coburn wrote in an email to CC#1 and others, “Suggest you pay 7mm and hold the balance 10m

until they deliver?”

       103.    Coburn thereafter directed the co-conspirators not to discuss the bribery scheme

over email. On or about June 16, 2014, Thiruvengadam sent CC#1 an email that read, “[Coburn]

wanted an update on the [KITS Campus] approval (no [e]mails he said).”

       104.    On or about June 30, 2014, L&T received a government order needed to obtain the

KITS Permit, which the bribe recipient had promised to secure. That day, CC#3 emailed a scanned

copy of the order to CC#1 and others, writing: “As discussed, nobody should know that [L&T] has

got this [order.] Request to maintain this confidentiality.” Later that day, CC#1 sent the scanned

government order, without CC#3’s note, to several Cognizant executives, including




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Thiruvengadam and Defendants Coburn and Schwartz, writing “We will now start firm planning

for occupation. Thanks to [L&T] for support.”

       105.    In order to sustain the pressure on L&T to secure the completed KITS Permit,

Coburn continued to withhold payment owed to L&T for legitimate construction work. Coburn

responded to a June 30, 2014 email from CC#1 asking for permission to unfreeze the remaining

$10 million owed to L&T by instructing CC#1 to “pay $5mm of the $10mm” and to “hold the

other $5mm until all approvals are finalized and received.”

       106.    A little more than four months later, on or about November 5, 2014, the KITS

Permit was issued to Cognizant. On or about November 10, 2014, CC#1 emailed Defendant

Coburn, copying Thiruvengadam and others, to announce that the KITS Permit had been issued

and recommending that Cognizant release L&T’s remaining funds that Cognizant had frozen. Two

days later, Coburn responded via email, “OK.”

       107.    Around this time, as the KITS Campus project neared completion, L&T began

submitting change order requests to Cognizant for reimbursement of unanticipated construction

costs, in accordance with the plan devised by Coburn and Schwartz. Specifically, L&T submitted

approximately forty-five claims totaling approximately $25 million. These claims included an

approximately $2.5 million request for “statutory approvals - planning permit” listed as part of a

larger $3.7 million claim for “approvals/campus regularization.” This $2.5 million request

corresponded to the approximately $2 million bribe payment and the $500,000 additional payment

to L&T for delivering the bribe.

       108.    Circulated within Cognizant as an attachment to an email on or about October 29,

2014 was a document entitled “Variations List Discussion Document,” which included the $3.7

million claim along with the description “Approvals/Campus Regularisation.” A subsequent




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version of the document, circulated as an attachment to an email on or about November 12, 2014,

contained an item in the same amount, but with the description shortened to just “Statutory

Approvals.” On or about January 13, 2015, CC#1 sent an email to Coburn and others that included

a chart summarizing L&T’s pending change order requests, and which contained this item for

“Statutory Approvals.”

       109.   Knowing that a multi-million dollar line item for “statutory approvals” would likely

raise a red flag and invite further inquiry from Cognizant’s auditors, and in keeping with

Schwartz’s April 2014 warning that the reimbursement payment should not stand out in the change

order request, CC#1 instructed a co-conspirator who was a member of Cognizant’s real estate

group to create a fake version of the “Variations List Discussion Document” that replaced the

entire $3.7 million claim for “approvals/campus regularization” (which included the $2.5 million

“statutory approvals” request) with eleven previously-rejected claims worth roughly the same

amount. CC#1 then retroactively “accepted” the previously-rejected claims. This substitution

would ensure that L&T was reimbursed for the bribe payment and the additional $500,000, while

disguising the true purpose of the payment.

       110.   In or about January 2015, CC#1 told Coburn that certain line items in the fake

Variations List Discussion Document had been used to conceal Cognizant’s bribe payments,

including the additional payment to L&T. By email on or about January 15, 2015, the fraudulent

change orders and supporting Excel spreadsheets were forwarded to Coburn for approval. Coburn

preliminarily approved these payments in a February 3, 2015 email to CC#1, in which he stated,

“Approved.”




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       111.    To facilitate the formal approval of the bribe payments by Cognizant’s finance unit,

on or about March 11, 2015, Defendant Coburn falsified a spreadsheet and related approvals

containing and incorporating the false change order requests in connection with the KITS Campus.

       112.    On or about March 13, 2015, Defendant Coburn formally approved the illicit

payments, sending an email to a member of Cognizant’s finance unit authorizing a payment to

L&T that included reimbursement for the $2 million bribe and the $500,000 additional payment

for making the bribe. Based on their communications with CC#1 and Thiruvengadam as set forth

above, Coburn and Schwartz knew that the reimbursement for the bribe would be and was included

in the amount Cognizant agreed to pay L&T, and that the change order documents would be and

were falsified to conceal the true nature of those payments.

       113.    Based on Coburn’s approvals, Cognizant issued several separate payments to L&T

to cover the cost of L&T’s change order requests between March 2015 and January 2016 that

included approximately $2 million for the bribe and $500,000 for the additional payment for

paying the bribe.

               2.     To Conceal the Illicit Bribery Scheme, Defendants Coburn and
                      Schwartz Made and Caused to Be Made False and Misleading
                      Statements and Omissions in Cognizant’s SEC Filings and
                      Sustainability Reports

       114.    As described further below, Defendants Coburn and Schwartz took numerous steps

to conceal the bribery scheme from the investing public, including: a) falsifying Cognizant’s

books, records, and accounts, thus falsifying Cognizant’s publicly-filed earnings releases and

financial statements; b) preventing discovery of the scheme by Cognizant’s auditors, which

ensured that Cognizant would publicly issue the financial statements and earnings releases

containing the false information that Coburn and Schwartz created; and c) making and causing to




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be made false and misleading statements in Cognizant’s public Sustainability Reports, including

by falsely certifying their compliance with Cognizant’s Code of Conduct.

                       a.      Coburn and Schwartz falsified Cognizant’s books, records,
                               and accounts, thus knowingly falsifying its public financial
                               statements and SEC filings.

       115.    As discussed above, upon learning of the $2 million bribe demand during the April

2014 video teleconferences and approving it, Defendant Coburn, with Schwartz’s approval,

authorized the use of fraudulent change orders to disguise Cognizant’s reimbursement of $2

million to L&T for the bribe payment. In addition, Coburn later authorized an additional $500,000

payment to L&T for delivering the bribe, also to be paid through fraudulent change orders.

       116.    Coburn—having served as Cognizant’s CFO and President—and Schwartz—

having served as the Company’s General Counsel—knew that these actions would cause

Cognizant to improperly record the illicit payments in Cognizant’s books and records as bona fide

construction expenses. Coburn further knew that the bribery scheme would cause Cognizant to

falsely and improperly record the payments in Cognizant’s books and records as bona fide

expenses related to construction of the KITS Campus because Coburn personally approved the

fraudulent change orders.

       117.    Coburn and Schwartz approved and executed a plan to conceal the bribery scheme

that necessarily entailed deliberately falsifying Cognizant’s books, records, and accounts, which

were used to generate Cognizant’s Class Period financial statements and earnings releases. Thus,

as these Defendants knew, the bribery scheme would also cause Cognizant’s publicly reported

financial statements to be falsified. By disguising the bribes as bona fide construction costs, these

Defendants understood that these expenditures would be capitalized, rather than expensed, thus

overstating capital expenditures, understating operating expenses, and overstating earnings in

Cognizant’s publicly-reported financial statements.


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         118.   In addition, Defendant Schwartz, as Cognizant’s Chief Legal Officer, personally

signed and authorized the filing of each of Cognizant’s Forms 8-K that publicly disseminated

Cognizant’s false earnings releases for each reporting period during the Class Period. Specifically,

as discussed further below, Schwartz signed Forms 8-K filed with the SEC on May 4, 2015, August

5, 2015, November 4, 2015, February 1, 2016, May 6, 2016 and August 5, 2016, attaching earnings

releases that, as Schwartz knew, misstated Cognizant’s capital expenditures, operating expenses,

and net income.

         119.   Coburn and Schwartz also took a number of steps to ensure that the truth about

Cognizant’s reported financial information would not be uncovered, and that the false financial

information would be reported to investors. As described further below, Defendants Coburn and

Schwartz concealed the bribery scheme from Cognizant’s auditor in connection with its audits of

the Company’s financial statements from 2014 through 2016. Had Cognizant’s auditor learned

about the bribery scheme, the auditor would not have provided unqualified audit opinions to

accompany Cognizant’s annual reports during that time, thereby precluding the false information

from being publicly reported (as SEC regulations require that annual reports be audited). Thus,

this deception by Coburn and Schwartz enabled Cognizant to publicly release the false and

misleading financial information that Coburn and Schwartz created and authorized, as described

above.

         120.   First, in order to conceal the improper payments to L&T, Defendants Coburn and

Schwartz made false and misleading statements and omissions to Cognizant’s auditor concealing

the bribery scheme, the disguised payments to L&T, the resulting false books and records of

Cognizant, and their intentional circumvention of Cognizant’s Code of Ethics and internal

accounting controls. Indeed, the SEC Action states that “Coburn and Schwartz lied to Cognizant’s




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auditor” by making “false and misleading statements or omissions to Cognizant’s auditor in

connection with its audits of the company’s financial statements from 2014 through 2016.” These

lies by Coburn and Schwartz concealed the bribery scheme, “the resulting false books and records

of Cognizant, and their intentional circumvention of Cognizant’s Code of Ethics and internal

accounting controls.”

        121.   Second, between August 2014 and June 2016, Defendant Coburn signed false

management representation letters that were provided to Cognizant’s auditor during its audit,

review, and examination of Cognizant’s financial information, including Cognizant’s financial

statements. As stated in the SEC Action, this false financial information “was incorporated by

reference or attached to periodic and annual reports filed with the [SEC]”—in other words, it was

contained in the false SEC filings at issue in this case. These false management representation

letters were essential to causing Cognizant to report false financial information to investors. As

discussed above, any refusal by Coburn to affirm that he was unaware of any fraud inside the

Company, would have surely raised red flags with Cognizant’s auditors. GAAS AU 333 and

722.24 specifically require that members of management provide such representation letters for

both annual and quarterly reports. Each of Coburn’s management representation letters falsely

stated that:

        We acknowledge our responsibility for the design and implementation of programs
        and controls to provide reasonable assurance that fraud is prevented and detected.

        We have no knowledge of any fraud or suspected fraud affecting the Company
        involving: a) Senior management; b) Management or other employees who have
        significant roles in internal control over financial reporting; or c) Others where the
        fraud could have a material effect on the condensed consolidated interim financial
        statements.

        There have been no violations or possible violations of laws or regulations whose
        effects should be considered for disclosure in the consolidated financial statements
        or as a basis for recording a loss contingency.



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       122.    In fact, as described above, Defendant Coburn knew at the times that he signed

these false management representation letters that he, with Defendant Schwartz’s approval, had

authorized Cognizant to execute a scheme to bribe an Indian government official so as to acquire

an essential permit necessary for the completion of the Company’s largest SEZ facility, the KITS

Campus. Coburn also knew when he signed the false management representation letters that, at his

direction, Cognizant had concealed these illicit payments through fraudulent change orders and

circumvented the Company’s internal controls, which resulted in a series of improper payments to

L&T between 2015 and 2016, and that the books, records and accounts of Cognizant – and its

public financial statements – were thereby falsified.

       123.    Third, as set forth in the SEC Action, Coburn and Schwartz signed numerous false

SOX “sub-certifications” in connection with the Company’s financial reports filed with the SEC

between July 2014 and January 2016. As discussed below, SOX requires that an issuer’s CEO

and CFO certify the completeness and accuracy of financial reports filed with the SEC, the

effectiveness of the issuer’s internal controls, and the absence of disclosure deficiencies. In order

to verify the accuracy of these attestations, Cognizant’s CEO and CFO relied on sub-certifications

from other members of senior management, including Coburn and Schwartz, attesting to the

accuracy of the Company’s financial reports and integrity of its controls. Without these sub-

certifications, D’Souza and McLoughlin would have been unable to sign their own certifications

required by SOX, and the Company would have been unable to file the financial reports with the

SEC. Moreover, any refusal by a member of senior management to sign a sub-certification would

surely have raised red flags to the auditor about the accuracy of the Company’s SEC filings and

would have also precluded filing the financial reports. Accordingly, Coburn and Schwartz’s false




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sub-certifications were a crucial step in the dissemination to investors of Cognizant’s false

financial reports.

       124.    In their sub-certifications, Coburn and Schwartz falsely stated, among other things,

that: (1) Cognizant’s internal controls had been in force and effective; (2) they had disclosed to

Cognizant’s CEO and CFO all known deficiencies in the operation of the internal controls; (3)

they had disclosed to Cognizant’s CEO and CFO “any known fraud, whether or not material, that

involves management or other employees, within my area of responsibility, who have a significant

role in the Company’s internal controls”; and (4) that the financial information for each relevant

period “does not contain any untrue statement of fact or omit to include a material statement of

fact necessary to make such financial information, in light of the circumstances under which such

financial information was compiled, not misleading.”

       125.    In fact, at the time that Defendants Coburn and Schwartz executed each of these

certifications, Coburn and Schwartz knew that they had authorized Cognizant to execute a scheme

to bribe an Indian government official so as to acquire an essential permit necessary for the

completion of the Company’s largest SEZ facility, the KITS Campus. Coburn and Schwartz further

knew that they had approved a plan to conceal the bribery scheme and circumvented the

Company’s internal controls, which necessarily entailed deliberately falsifying Cognizant’s books,

records, and accounts – and, in turn, its public financial statements.

       126.    In addition to the facts set forth in the SEC Action, the Indictment also provides

further specific examples of false statements that Coburn and Schwartz made in connection with

Cognizant’s SEC filings at issue in this action, which enabled them to be published to investors.

Specifically, the Indictment states that “Coburn, Schwartz and others, in connection with the

preparation of Cognizant’s filing of its annual report with the SEC, made and caused to be made




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false, fraudulent, and misleading representations and omissions in [Cognizant’s] Annual Report

on Form 10-K and Proxy Statement Disclosure Questionnaires for the year ended December 31,

2014 and the year ended December 31, 2015”—the two Forms 10-K at issue in this case—

“including, but not limited to, providing false answers to questions relating to: bribes or kickbacks;

disguised or intentionally mis-recorded entries in Cognizant’s books and records; and transactions

that may have violated Cognizant’s Code of Conduct.”

       127.    Similarly, the Indictment states that “Coburn, Schwartz, and others, in connection

with the preparation of Cognizant’s SEC filings, made and caused to be made false, fraudulent,

and misleading representations and omissions in Sarbanes-Oxley Quarterly Global 302

Certifications for the quarter ending June 30, 2014 and the quarter ending March 31, 2015,

including, but not limited to, falsely certifying that Cognizant’s internal controls had been in force

and effective, and that they had disclosed to Cognizant’s Chief Executive Officer and Chief

Financial Officer all known deficiencies in the operation of the internal controls and any known

fraud involving management or other employees who had a significant role in Cognizant’s internal

controls.”

                       b.      Defendants Coburn and Schwartz Participated In Making
                               Cognizant’s False Sustainability Reports.

       128.    In 2014 and 2015, Cognizant published Sustainability Reports that, among other

things, stated to investors that there were “no incidents” of corruption and (in the 2015

Sustainability Report) that “Cognizant treats reports of misconduct seriously.” These statements

were false and misleading: as discussed above, Cognizant—through its most senior management,

including Defendants Coburn and Schwartz—was engaged in a bribery scheme.

       129.    Defendants Coburn and Schwartz made and caused to be made these false and

misleading statements in Cognizant’s Sustainability Reports. Specifically, the Sustainability



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Reports incorporated information from certifications provided by Coburn and Schwartz

throughout the Class Period. As set forth in the SEC Action, from 2014 through 2016, Coburn

and Schwartz submitted false certifications stating that they adhered to Cognizant’s “Core Values

and Standards of Business Conduct”—which, as described above (¶¶65-70), required compliance

with the Company’s anti-corruption policy, the maintenance of accurate books and records, and

compliance with all laws, rules and regulations applicable to the Company in India and wherever

Cognizant conducted business. Yet, at the time that Coburn and Schwartz executed these

certifications, they knew that they had authorized Cognizant to execute a scheme to bribe an Indian

government official to acquire an essential permit necessary for the completion of the Company’s

largest SEZ facility, the KITS Campus. They also knew that they had approved a plan to conceal

the bribery scheme which necessarily entailed deliberately falsifying Cognizant’s books, records,

and accounts—and consequently, its public financial statements.

       130.    In addition, Cognizant’s Sustainability Reports state that “Cognizant’s President,”

i.e., Coburn, was responsible for monitoring the Company’s sustainability performance, including

its compliance with anti-corruption laws, “and reporting the results of this review to our Board of

Directors,” including the CEO, who signed and approved the report. Coburn’s responsibility for

this function further demonstrates his authorization of, and control over, the false information in

the Sustainability Reports.

       131.    Likewise, Schwartz furnished information for inclusion in, and participated in

approving, Cognizant’s Sustainability Reports. As Cognizant’s Chief Legal Officer, Cognizant’s

compliance function reported to Schwartz. Schwartz was ultimately responsible for monitoring

and ensuring Cognizant’s compliance with anti-corruption laws. Thus, Schwartz was ultimately




                                                55
responsible for monitoring and reporting the false compliance data included in the Sustainability

Reports.

               3.       Cognizant—acting through its senior executives—executed
                        very similar bribery schemes at other SEZ facilities.

       132.    As revealed in the SEC Order, around the same time Defendants Coburn and

Schwartz authorized and concealed the bribery scheme described above, Cognizant—acting

through its senior executives—engaged in very similar bribery schemes involving at least two

other SEZ facilities.

                        a.      Pune, Maharashtra

       133.    The bribery scheme in Pune also involved the construction of a commercial office

facility with L&T as Cognizant’s builder.

       134.    The Pune facility was also part of Cognizant’s SEZ strategy. Cognizant had

announced the construction of the Pune facility in the same February 7, 2011 press release

announcing construction of the KITS Campus, which also noted that the Pune facility was in a

SEZ. As noted above, that press release also indicates Defendant Coburn’s involvement, quoting

him as describing the construction projects as “part of our ongoing strategy of investing in our

people, processes, systems, and infrastructure to support our long-term growth.”

       135.    L&T began construction of the Pune facility in 2012. L&T began construction prior

to the issuance of necessary permits, including specifically an environmental clearance. Thereafter,

Cognizant—acting through its senior executives—authorized L&T to pay, on Cognizant’s behalf,

a $770,000 bribe to a government official in exchange for issuing the permit necessary to construct

and operate the SEZ facility.

       136.    Just as with the scheme that Coburn and Schwartz implemented to obtain the KITS

Permit, Cognizant reimbursed L&T for the bribe through false change order requests: in this



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instance, after the bribe had been paid in early 2013, L&T sought reimbursement through a change

order request submitted in April 2013 containing a line item for “Liasoning [sic] and consultations

charge towards Environmental clearance.” Cognizant rejected the change order, but later approved

the payment after L&T falsely changed the rationale to “Change in the make of Workstation from

Featherlite to Art matrix.” As noted above, with respect to the KITS Campus, Coburn’s

authorization was required for change order requests of $500,000 or more—a threshold that this

change order easily exceeded.

       137.    Cognizant ultimately reimbursed L&T for the bribe payment in January 2014

pursuant to the phony change order. As a result, Cognizant falsely reported this illegal bribe as

bona fide capital expenses—and thereby overstated the Company’s earnings—in Cognizant’s

Class Period financial statements and earnings releases.

                       b.       Siruseri, Tamil Nadu

       138.    The bribe scheme in Siruseri again involved the construction of a commercial office

facility with L&T as Cognizant’s builder and again related to the Company’s SEZ strategy:

Cognizant’s operations in Siruseri are in SIPCOT IT Park, a designated SEZ. In its 2009-2010

Annual Report, L&T stated that the “SEZ at Siruseri for Cognizant” was a “major order[] bagged.”

       139.    In Siruseri, Cognizant—acting through its senior executives—authorized L&T to

pay $840,000 in bribes to government officials for the issuance of several permits required to

construct and operate the SEZ facility, including a planning permit, a power permit from the local

electricity board, and an environmental clearance. After L&T made the payments in or around

2012, and Cognizant thereafter received the permits, L&T submitted false change order requests

for several inflated or unjustified work items. Again, after Cognizant rejected the initial requests,

the sham descriptions were revised and Cognizant approved the false change orders. As with Pune,




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the size of the change order request significantly exceeded the $500,000 threshold needed for

Defendant Coburn’s approval.

       140.    Cognizant ultimately reimbursed L&T for the Siruseri bribe payments in

installments between 2015 and 2016. Again, Cognizant falsely reported this illegal bribe as bona

fide capital expenses—and thereby overstated the Company’s earnings—in Cognizant’s Class

Period financial statements and earnings releases.

       F.      The Truth Is Finally Revealed

       141.    On September 30, 2016, Cognizant shocked investors by announcing, in a Form 8-

K filed with the SEC, that its Board was “conducting an internal investigation into whether certain

payments relating to facilities in India were made improperly and in possible violation of the U.S.

Foreign Corrupt Practices Act and other applicable laws.”61

       142.    In that same filing, Cognizant also announced that Coburn, whom analysts had

described as “a leading face of CTSH to the investment community,” a “key executive,” and “a

major contributor to the development of the company’s strategy since its inception,” had resigned

amidst the Board’s corruption investigation and was being replaced as President by then-CEO of

IT Services Rajeev Mehta. Analysts noted the abruptness of Coburn’s departure, pointing out that

he had “been attending/participating at recent investor conferences.”62

       143.    Analysts and investors were shocked by Cognizant’s September 30, 2016

disclosures. For example, in a September 30, 2016 report, Argus analysts downgraded Cognizant,



61
   Cognizant Tech. Sols. Corp., Current Report (Form 8-K), at Item 8.01 (Sept. 30, 2016)
[hereinafter 2016 Form 8-K].
62
   Cognizant Gags Staff, Steps up Graft Probe, Times of India (Oct. 3, 2016, 4:00 AM IST),
http://timesofindia.indiatimes.com/business/india-business/Cognizant-gags-staff-steps-up-graft-
probe/articleshow/54646587.cms.



                                                58
characterizing the “announced resignation of the company’s president amid a corruption

investigation in India” as “blockbuster news.”63 These analysts observed that “[g]iven that a top

executive has resigned, . . . we see risks that the illegal practices could be extensive and long-lived.

Additional agencies such as DoJ and SEC could conduct investigations of their own, and this

matter could overhang the CTSH shares [for] a significant amount of time.”64 In a September 30,

2016 report, RW Baird analysts expressed deep concern that illegal payments made to procure

SEZ permitting could have profoundly adverse consequences for Cognizant, noting that, “[w]hile

we haven’t seen this in the past, we consider possible outcomes to include reputational damage –

could hurt revenue growth via client loss/limited client wins, fines and potential limits on

operations in certain areas.”65

           144.   In a September 30, 2016 report, Jefferies analysts similarly expressed shock at the

Company’s “two surprising announcements” concerning the Board’s investigation into FCPA

violations and Coburn’s resignation, specifically noting that Coburn’s “sudden departure was not

anticipated in our opinion.”66 The report further noted that “we don’t believe [Coburn] will

receive any severance.”67




63
  Jim Kelleher, CFA, Change in Rating: Downgrading to HOLD on Corruption Probe 1-2 (Argus
Research Co. Sept. 30, 2016).
64
     Id. at 1.
65
  Jochelle Mendonca, Cognizant Investigating Improper Payments Paid in India; Informs DOJ,
SEC, ETtech (Oct. 1, 2016, 09:51 IST), http://tech.economictimes.indiatimes.com/news/
corporate/cognizant-investigating-improper-payments-paid-in-india-informs-doj-sec/54607942.
66
  Jason Kupferberg, Equity Analyst, Surprise Management Departure and Possible FCPA
Violation 1 (Jefferies Group LLC Sept. 30, 2016).
67
     Id.



                                                  59
          145.   That same day, Evercore ISI published a report opining that Defendant Coburn’s

resignation may have been “as a direct result of this investigation”:

          This morning Cognizant announced that Gordon Coburn, President, resigned and
          [has] been replaced with Rajeev Mehta, CEO of [Cognizant] IT Services. In
          conjunction, [Cognizant] is conducting an internal investigation into whether
          certain payments relating to licenses and permits on a small number of its 12 owned
          facilities in India were made improperly and in possible violation of the [FCPA]
          and other applicable laws. While not specified, we believe Gordon Coburn may
          have resigned as a direct result of this investigation and potentially other issues
          [Cognizant] may be facing given a weak discretionary spending environment in the
          Company’s large Financial Services and Healthcare verticals.68

          146.   Morgan Stanley analysts likewise stated in a September 30, 2016 report that

“investors may assume a connection” between Coburn’s resignation and the announcement of the

FCPA investigation, “given the timing” of the two events.69

          147.   Finally, Morningstar issued a September 30, 2016 report emphasizing that

Cognizant’s “unexpected” announcement had “surprised the market” and was “clearly a black eye

for the company and could potentially provide dark clouds” over the “reputation of the firm’s

consulting franchise.”70 A few days later, on October 3, another Morningstar report noted: “Given

that Coburn had been with the company for over 20 years and president since 2012, the quick-

handed nature of his dismissal seems to indicate a link to the FCPA investigation.”71

          148.   On September 30, 2016, in response to the Company’s disclosures, Cognizant’s

stock price swiftly declined. The Company’s stock price fell more than 13%, or $7.29 per share,

declining from $55.00 to $47.71 on the year’s highest trading volume.


68
     David Togut, CFA et al., Nibble on Bad News 1 (Evercore ISI Sept. 30, 2016).
69
     Brian Essex, CFA et al., CTSH Quick Comment 2 (Morgan Stanley Sept. 30, 2016).
70
  Brian Colello, CPA, Cognizant’s Shares Remain Undervalued as the Firm Investigates Possible
Corruption Violations 1 (Morningstar Equity Research Sept. 30, 2016).
71
  Andrew Lange, Equity Analyst, Cognizant in Possible Violation of Foreign Corrupt Practices;
Scant Detail, Stock Still Undervalued 1 (Morningstar Equity Research Oct. 3, 2016).


                                                  60
           G.      Cognizant Has Admitted that the Company’s Class Period
                   Representations Were False and that Senior Management
                   Participated in Making Improper Payments to Indian
                   Officials, and Coburn and Schwartz Have Been Indicted and
                   Sued by the SEC for This Misconduct

       149.     Since the end of the Class Period, Cognizant has acknowledged that:

(1) Cognizant’s “senior management” “may have participated in” making $6 million dollars’

worth of corrupt payments to Indian government officials to procure permits relating to the

Company’s Indian facilities including by, among other things, “overriding” the very internal

controls designed to detect and prevent such misconduct; (2) the Company’s prior reported

financial results were misstated because millions of dollars in bribes were improperly reported as

“capital expenditures” (i.e., legitimate expenditures to build or maintain physical facilities); (3)

Defendants’ representations about Cognizant’s compliance with anticorruption laws and the

adequacy of its internal controls were both false; and (4) senior management knew that the

Company’s internal controls were inadequate to detect and prevent the bribery scheme.

       150.     On November 7, 2016, Cognizant filed its third quarter results on Form 10-Q with

the SEC. In that filing, the Company admitted that Cognizant’s “senior management may have

participated” in making – or had allowed to be made – corrupt payments to procure licenses for

the Company’s Indian facilities:

       During the closing process for the third quarter of 2016, based on the results of the
       internal investigation to date, we concluded that as of December 31, 2015 and in
       subsequent interim periods, we did not maintain an effective control environment.
       Specifically, we did not maintain an effective tone at the top as certain members
       of senior management may have participated in or failed to take action to prevent
       the making of potentially improper payments by either overriding or failing to
       enforce the controls established by the Company relating to real estate and
       procurement principally in connection with permits for certain facilities in India.
       ...




                                                61
           As a result of the foregoing, we have determined that a material weakness existed
           as of December 31, 2015, and continues to exist in subsequent interim periods,
           in our internal control over financial reporting.72

           151.      Accordingly, Cognizant admitted in that Form 10-Q that its senior management

was deeply involved in the bribery scheme and that its prior statements concerning the integrity of

its internal controls were false. Cognizant was forced to correct the certifications in its 2015 Form

10-K and first and second quarter 2016 Forms 10-Q – that “our disclosure controls and procedures

and internal controls over financial reporting were effective” – to state the opposite, instead – “that

[those controls] as of December 31, 2015 were ineffective.”73

           152.      The Company further admitted that it had misstated its prior financial results to

conceal Cognizant’s bribery scheme. Specifically, to hide the purpose and nature of these

payments, the Company had mis-booked many of the improper payments as capital expenditures

– investments in physical assets that may be depreciated – rather than operating expenses, which

are deducted dollar-for-dollar against the Company’s bottom line as they are spent. The Company

stated:

           To date, the investigation has identified a total of approximately $ 5.0 million in
           payments that may have been recorded improperly. During the three months ended
           September 30, 2016, we recorded an out-of-period correction related to $ 3.1
           million of such payments that were previously capitalized that should have been
           expensed. The remaining $1.9 million of such payments remains under
           investigation. The recorded correction resulted in an increase of selling, general and
           administrative expenses of $ 3.1 million, a reduction in depreciation and
           amortization expense of $ 0.4 million, and a reduction in property and equipment,
           net of $ 2.7 million.74




72
  Cognizant Tech. Sols. Corp., Quarterly Report (Form 10-Q), at 7 (Nov. 7, 2016) [hereinafter Q3
2016 Form 10-Q].
73
     Id.
74
     Id. at 26-27.



                                                    62
         153.    In its 2018 Form 10-K, the Company updated these findings, stating that it

“recorded out-of-period corrections related to $4 million of such payments that had been

previously capitalized that should have been expensed.”75

         154.    On November 7, 2016, Cognizant held its Q3 2016 earnings conference call with

analysts and investors. During this call, D’Souza reiterated that the Company’s senior management

was involved in the scheme. He further stated that the members of senior management who

participated in the scheme were no longer with the Company:

         [W]e discovered in the course of the investigation that certain members of senior
         management may have been aware of or participated in the matters under
         investigation. Any such conduct would be inconsistent with our core values. Based
         on the results of the investigation to-date, those who may have been involved are
         no longer with the company or in the senior management position.76

         155.    D’Souza’s statement leaves little doubt that Coburn, the Company’s former

President, was personally involved in the bribery scheme. As noted above, at the time D’Souza

made this statement, Coburn was “no longer with the Company” because he had suddenly and

surprisingly “resigned” just three days before the Company disclosed the investigation into the

improper payments.

         156.    Cognizant also has acknowledged that its representations in its credit agreement

with a commercial bank syndicate that the Company was compliant with anticorruption laws was

“materially incorrect.”77 Specifically, in its 2014 credit agreement, which the Company publicly

filed with the SEC on November 20, 2014, Cognizant represented that:




75
  Cognizant Tech. Sols. Corp., Annual Report (Form 10-K), at 21 (Feb. 29, 2019) [hereinafter
2018 Form 10-K]
76
     Tr. of Q3 2016 Earnings Call at 2 (Bloomberg Nov. 11, 2016).
77
     Q3 2016 Form 10-Q, supra note 72, at 12, 42, 53.



                                                63
          [Cognizant], its Subsidiaries and their respective directors, officers and employees,
          and to the best knowledge of [Cognizant,] its affiliates and agents, have not engaged
          in any activity or conduct which would violate any applicable Anti-Corruption
          Laws, and are in compliance with Anti-Corruption Laws and applicable Sanctions
          and are not engaged in any activity that would reasonably be expected to result in
          [Cognizant] being designated as a Sanctioned Person.78

In its third quarter 2016 Form 10-Q, Cognizant acknowledged that the existence of the bribery

scheme rendered this statement false and that the Company was therefore forced to secure a waiver

of default from the syndicate and amend its credit agreement. 79 Specifically, this statement was

amended to read, in pertinent part, “to the best knowledge of the Borrower, its affiliates and agents,

. . . except for the Disclosed Matters, [Cognizant has] not engaged in any activity or conduct that

would violate any applicable Anti-Corruption Laws,” with the Disclosed Matters defined as the

Company’s September 30, 2016 disclosure about the bribery scheme.80

          157.    On February 8, 2017, in connection with its fourth quarter 2016 earnings call,

Cognizant provided another update to its ongoing investigation of corrupt payments made to Indian

officials. The Company disclosed that it had discovered another $1 million in improper payments,

bringing the total amount of bribes paid to $6 million.81

          158.    On March 1, 2017, Cognizant filed a Form 10-K with the SEC, which disclosed

that the bribery scheme had been ongoing since at least 2010. Specifically, the 2016 Form 10-

Kstated: “To date, the investigation has identified a total of approximately $6 million in payments

made between 2010 and 2015 that may have been recorded improperly.”82



78
     Cognizant Tech. Sols. Corp., Current Report (Form 8-K), Ex. 10.1 at 52-53 (Nov. 20, 2014).
79
     See Q3 2016 Form 10-Q, supra note72, at 12.
80
     Id. at Ex. 10.1.
81
     Tr. of Q4 2016 Earnings Call at 7-8 (Bloomberg Feb. 8, 2017).
82
  Cognizant Tech. Sols. Corp., Annual Report (Form 10-K), at 37 (Mar. 1, 2017) [hereinafter 2016
Form 10-K].


                                                   64
          159.    The 2016 Form 10-K also demonstrated that the bribery scheme was widespread

and involved multiple members of senior management and other Company employees. Under

“Remediation Plans,” the 2016 Form 10-K reiterated that multiple members of senior management

were involved with the bribery scheme and acknowledged that additional Cognizant employees

may be disciplined:

          [T]he members of senior management who may have participated in or been aware
          of the making of the identified potentially improper payments and failed to take
          action to prevent the making of the identified potentially improper payments were
          no longer with the Company or in a senior management position as of December
          31, 2016. Additional personnel actions have been taken with respect to other
          employees and further actions may be required.83

          160.    The Company further acknowledged that the cost of the scandal was ongoing and

severe, stating: “In 2016, we incurred $27 million in costs related to the FCPA investigation and

related lawsuits. We expect to continue to incur expenses related to these matters in 2017 and

future periods.”84

          161.    During its October 30, 2018 earnings call, the Company told investors that its

discussions with the DOJ and SEC had “progressed to a point where we are now able to reasonably

estimate a probable loss and have recorded an accrual of $28 million in our financial statements in

Q3.” In its Form 10-Q filed the next day, the Company further disclosed that it had “substantially

completed” its internal investigation. In its 2018 Form 10-K, the Company stated that had incurred

a total of $79 million in costs related to the investigation, excluding the $28 million paid to the

SEC and DOJ.

          162.    On February 6, 2019, in connection with its earnings release, Cognizant announced

what the International Business Times called a “major management shake-up.” D’Souza—who


83
     Id. at 58.
84
     Id. at 37.


                                                 65
co-founded Cognizant in 1994 and had been CEO since 2007—would be stepping down from

Cognizant in April 2019, to be replaced by Vodafone executive Brian Humphries. Humphries will

be the first outsider to become CEO in the Company’s history. In addition, the Company also

announced that Rajeev Mehta—who had served as Cognizant’s President since the Company fired

Coburn in September 2016—would also be stepping down from Cognizant in April 2019.

       163.    On February 14, 2019—and made publicly available the following day—the United

States Attorney for the District of New Jersey filed the Indictment, in which a federal grand jury

sitting in Newark, New Jersey, charged Defendants Coburn and Schwartz with 12 criminal counts

related to the bribery scheme.

       164.    The same day that the Indictment became public—February 15, 2019—the SEC

filed the SEC Action, alleging civil claims against Defendants Coburn and Schwartz for violations

of the FCPA and securities laws in connection with the bribery scheme.

       165.    Also that day, the SEC separately announced the SEC Order, in which Cognizant

agreed to pay $25 million to settle claims that it had violated the securities laws in connection with

the bribery scheme; cease-and-desist future violations; and report to the SEC periodically for two

years on its remediation and implementation of enhanced compliance measures, including through

periodic reviews by SEC Staff and the submission of written reports to the SEC.

       166.    On February 19, 2019, The Economic Times reported that Cognizant may still be

liable for wrongdoing under Indian law.85 That same day, the President of the Indian political party

Dravida Munnetra Kazhagam, M.K. Stalin, demanded the registration of a case against Cognizant



85
  ET Bureau, DMK seeks probe against former AIADMK ministers, The Economic Times, )Feb.
16, 2019), https://economictimes.indiatimes.com/news/politics-and-nation/dmk-seeks-probe-
against-former-aiadmk-ministers/articleshow/68059327.cms.



                                                 66
for the bribery scheme. Stalin also urged the India Central Bureau of Investigation and Interpol to

obtain evidence, and further demanded that the government should assist the state’s Directorate of

Vigilance and Anti-Corruption in acquiring evidence against Cognizant from the United States.86

V.         DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
           AND OMISSIONS DURING THE CLASS PERIOD AND ANALYST AND
           MARKET REACTIONS THERETO87

           167.   During the Class Period, Defendants and dismissed Defendants made numerous

statements regarding Cognizant’s business and results of operations that were materially false and

misleading in light of the Company’s misconduct, namely, the undisclosed bribery scheme. First,

in the Company’s SEC filings, Defendants informed investors of the financial benefits Cognizant

received from its SEZ licenses without revealing that the Company was engaged in a bribery

scheme in order to obtain and perpetuate those benefits. The Company also reported the

investments it made in its SEZs – figures that were overstated because they included several

million dollars worth of illicit payments to Indian government officials. Second, Defendants

claimed that Cognizant had established robust policies and procedures to ensure legal and ethical

compliance, including extensive training and “risk analysis” functions to assess and prevent

“corruption.” Based on these representations, Defendants specifically stated that “no” “confirmed

incidents” of “corruption” had been “reported in 2014” or “in 2015.” Defendants also stated that

“no incidents” of “significant risks” of “corruption” had been reported “in 2015.” These

representations were materially false and misleading in light of the facts that (1) Cognizant was

involved in a bribery scheme in India; (2) the scheme was facilitated by senior management,



86
     Id.
87
  In this section, Defendants’ statements that are bolded and italicized are alleged to be false and
misleading. Other statements are included to provide context, including those that are bolded (but
not italicized) for emphasis.


                                                67
including the Company’s President and Chief Legal Officer, overriding or failing to enforce the

much-hyped internal controls; and (3) Cognizant has admitted that, in truth, its internal controls

were materially deficient. Third, Defendants represented that Cognizant’s financial performance

and ability to deliver low-cost services were due to legitimate business factors without revealing

that the Company was achieving its success, at least in part, through bribes to Indian government

officials. Fourth, Defendants overstated Cognizant’s earnings during the Class Period by

incorrectly booking its bribe payments as capital expenditures when, in fact, those payments

should have been booked as operating expenses and charged against the Company’s net income.

Finally, the Company reported in its SEC filings that its internal controls were “effective” when,

as the Company has now admitted, those controls and its “tone at the top” were materially defective

due to senior management’s overriding the controls or knowingly allowing them to be breached in

order to facilitate the bribery scheme.

       A.      Cognizant Highlighted the Benefits It Received from Its SEZ Licenses
               in India Without Disclosing that the Company Was Involved in a
               Bribery Scheme to Obtain and Perpetuate Those Benefits

       168.    During the Class Period, Defendants repeatedly highlighted the “significant” tax

benefits and “relaxed . . . regulatory restrictions” that Cognizant received from the Indian

government because many of its operations were located in India’s SEZs. Defendants emphasized

that these benefits materially “increase[d] net income.” These statements were materially false and

misleading when made because Cognizant obtained those benefits in material part through the

scheme to bribe Indian officials for SEZ permits.

               1.      February 27, 2015: 2014 Form 10-K

       169.    On February 27, 2015, Cognizant filed its 2014 Form 10-K with the SEC, which

was signed by D’Souza and McLoughlin (and others). The 2014 Form 10-K described the “income




                                                68
tax holiday benefits” that Cognizant’s “Indian subsidiaries” had received from the “Indian

government” as follows:

       Our Indian subsidiaries, collectively referred to as Cognizant India, are primarily
       export-oriented and are eligible for certain income tax holiday benefits granted
       by the Indian government for export activities conducted within Special
       Economic Zones, or SEZs, for periods of up to 15 years. Changes in Indian tax
       laws that would reduce or deny SEZ tax benefits could have a material adverse
       effect on our business, results of operations and financial condition.

       170.   The 2014 Form 10-K quantified the “effect of the income tax holidays granted by

the Indian government” as follows:

       For the years ended December 31, 2014, 2013, and 2012, the effect of the income
       tax holidays granted by the Indian government was to reduce the overall income
       tax provision and increase net income by approximately[in thousands] $182,973,
       $146,326, and $151,789, respectively, and increase diluted EPS by $0.30, $0.24,
       and $0.25, respectively.

       171.   Cognizant also reported that, “[a]s of December 31, 2014, we had outstanding

fixed capital commitments of approximately $20,452 [in thousands] related to our India real

estate development program to build new Company-owned state-of-the-art IT development and

delivery centers.” The 2014 Form 10-K further stated, “[w]e have constructed and expect to

continue to locate most of our newer development facilities in SEZs.”

       172.   The above statements made in the 2014 Form 10-K were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits” that the Company received from the “Indian government” when, in fact, the

Company was obtaining those benefits through the bribery scheme detailed herein. Similarly, it

was materially false and misleading for Cognizant to state that the SEZ facilities meaningfully

“increase net income . . . and increase diluted EPS” when the Company was obtaining such

benefits through the bribery scheme detailed herein. It also was materially false and misleading

for Cognizant to state that it had “outstanding fixed capital commitments of approximately



                                               69
$20,452 [in thousands] related to our India real estate development program to build new

Company-owned state-of-the-art IT development and delivery centers,” when that figure

included at least $4.1 million in bribes paid to government officials.

       173.    It also was misleading for Cognizant to state that it would “locate most of our newer

development facilities in SEZs,” when Cognizant was obtaining licenses for its new SEZ facilities

through the bribery scheme detailed herein.

               2.      May 4, 2015: Q1 2015 Form 10-Q

       174.    On May 4, 2015, Cognizant filed its Q1 2015 Form 10-Q with the SEC that was

signed by D’Souza and McLoughlin and stated, in part: “Our Indian subsidiaries, collectively

referred to as Cognizant India, are primarily export-oriented and are eligible for certain income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones, or SEZs, for periods of up to 15 years.” Cognizant also reported that,

in response to the factors and risks affecting its business and operating results, the Company

planned to “[l]ocate most of our new development center facilities in tax incentivized areas.”

       175.    The above statements made in the Q1 2015 Form 10-Q were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones” it had received, when, in fact, Cognizant was obtaining those benefits

through the bribery scheme detailed herein.

       176.    It also was misleading for Cognizant to state that it would “[l]ocate most of our new

development center facilities in tax incentivized areas,” when Cognizant was obtaining licenses

for its new SEZ facilities through the bribery scheme alleged herein.




                                                70
               3.     August 6, 2015: Q2 2015 Form 10-Q

       177.    On August 6, 2015, Cognizant filed a Form 10-Q with the SEC that was signed by

D’Souza and McLoughlin and that stated, in part: “Our Indian subsidiaries, collectively referred

to as Cognizant India, are primarily export-oriented and are eligible for certain income tax

holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones, or SEZs, for periods of up to 15 years.” Cognizant also reported that

in response to the environment of factors affecting its business and operating results, the Company

planned to “[l]ocate most of our new development center facilities in tax incentivized areas.”

       178.    The above statements made in the Q2 2015 Form 10-Q were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones” it had received, when, in fact, Cognizant was obtaining such benefits

through the bribery scheme detailed herein.

       179.    It also was misleading for Cognizant to state that it would “[l]ocate most of our new

development facilities in tax incentivized areas,” when Cognizant was obtaining licenses for its

new SEZ facilities through the bribery scheme alleged herein.

               4.     November 5, 2015: Q3 2015 Form 10-Q

       180.    On November 5, 2015, Cognizant filed a Form 10-Q with the SEC that was signed

by D’Souza and McLoughlin and that stated, in part: “Our Indian subsidiaries, collectively

referred to as Cognizant India, are primarily export-oriented and are eligible for certain income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones, or SEZs, for periods of up to 15 years.” Cognizant also reported that

in response to the environment of factors affecting its business and operating results, the Company

planned to “[l]ocate most of our new development center facilities in tax incentivized areas.”


                                                71
       181.    The above statements made in the Q3 2015 Form 10-Q were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones” it had received, when, in fact, Cognizant was obtaining those benefits

through the bribery scheme detailed herein.

       182.    It also was misleading for Cognizant to state that it would “[l]ocate most of our

newer development facilities in SEZs,” when Cognizant was obtaining licenses for its new SEZ

facilities through the bribery scheme alleged herein.

               5.     February 25, 2016: 2015 Form 10-K

       183.    On February 25, 2016, Cognizant filed a 2015 Form 10-K with the SEC that was

signed by D’Souza and McLoughlin, among others. The 2015 Form 10-K touted the “income tax

holiday benefits” that Cognizant’s “Indian subsidiaries” had received from the “Indian

government”:

       Our Indian subsidiaries, collectively referred to as Cognizant India, are primarily
       export-oriented and are eligible for certain income tax holiday benefits granted
       by the Indian government for export activities conducted within Special
       Economic Zones, or SEZs, for periods of up to 15 years. [If enacted, proposed
       changes in Indian tax laws] that would reduce or deny SEZ tax benefits could have
       a material adverse effect on our business, results of operations and financial
       condition.

       184.    The 2015 Form 10-K quantified the “effect of the income tax holidays granted by

the Indian government” as follows:

       For the years ended December 31, 2015, 2014 and 2013, the effect of the income
       tax holidays granted by the Indian government was to reduce the overall income
       tax provision and increase net income by approximately $201.4 million, $183.0
       million and $146.3 million, respectively, and increase diluted EPS by $0.33, $0.30
       and $0.24, respectively.

       185.    Cognizant also reported that, “[a]s of December 31, 2015, we had outstanding

fixed capital commitments of approximately $76.4 million related to our India real estate


                                                72
development program to build new Company-owned state-of-the-art IT development and

delivery centers.” The 2015 Form 10-K also stated, “We have constructed and expect to continue

to operate most of our newer development facilities in SEZs.”

        186.   The above statements made in the 2015 Form 10-K were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the

“significant tax incentives” from the “Indian government” and related “benefits realized by us

from Indian operations” it had received, when, in fact, Cognizant was obtaining those benefits

through the bribery scheme detailed herein. Similarly, it was materially false and misleading for

Cognizant to state that the SEZ facilities meaningfully “increase net income . . . and increase

diluted EPS” when the Company was obtaining such benefits through the bribery scheme detailed

herein. It also was materially false and misleading for Cognizant to state that it had “outstanding

fixed capital commitments of approximately $76.4 million related to our India real estate

development program to build new Company-owned state-of-the-art IT development and

delivery centers,” when that figure included at least $4.1 million in bribes paid to government

officials.

        187.   It also was misleading for Cognizant to state that it would “continue to operate most

of our newer development facilities in SEZs,” when Cognizant was obtaining licenses for its new

SEZ facilities through the bribery scheme alleged herein.

               6.     May 6, 2016: Q1 2016 Form 10-Q

        188.   On May 6, 2016, the Company filed a Form 10-Q with the SEC that was signed by

D’Souza and McLoughlin and that stated, in part: “Our Indian subsidiaries, collectively referred

to as Cognizant India, are primarily export-oriented and are eligible for certain income tax

holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones, or SEZs, for periods of up to 15 years.” Cognizant also reported that


                                                73
in response to the environment of factors affecting its business and operating results, the Company

planned to “[l]ocate most of our new development center facilities in tax incentivized areas.”

Cognizant also reported that, “[a]s of March 31, 2016, we had outstanding fixed capital

commitments of approximately $76.2 million related to our India development center expansion

program to build new state-of-the-art IT development and delivery centers.”

       189.    The above statements made in the Q1 2016 Form 10-Q were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones” it had received, when, in fact, Cognizant was obtaining those benefits

through the bribery scheme detailed herein. It also was materially false and misleading for

Cognizant to state that it had “outstanding fixed capital commitments of approximately $76.2

million related to our India development center expansion program to build new state-of-the-art

IT development and delivery centers” when that figure included at least $4.1 million in bribes paid

to government officials.

       190.    It also was misleading for Cognizant to state that it would “[l]ocate most of our new

development center facilities in tax incentivized areas,” when Cognizant was obtaining licenses

for its new SEZ facilities through the bribery scheme alleged herein.

               7.     August 5, 2016: Q2 2016 Form 10-Q

       191.    On August 5, 2016, the Company filed a Form 10-Q with the SEC that was signed

by D’Souza and McLoughlin and that stated, in part: “Our Indian subsidiaries, collectively

referred to as Cognizant India, are primarily export-oriented and are eligible for certain income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones, or SEZs, for periods of up to 15 years.” Cognizant also reported that

in response to the environment of factors affecting its business and operating results, the Company


                                                74
planned to “[l]ocate most of our new development center facilities in tax incentivized areas.”

Cognizant also report that, “[a]s of June 30, 2016, we had outstanding fixed capital

commitments of approximately $184.0 million related to our India development center

expansion program to build new state-of-the-art IT development and delivery centers.”

       192.    The above statements made in the Q2 2016 Form 10-Q were materially false and

misleading when made. It was materially false and misleading for Cognizant to tout the “income

tax holiday benefits granted by the government of India for export activities conducted within

Special Economic Zones” it had received, when, in fact, Cognizant was obtaining those benefits

through the bribery scheme detailed herein. It also was materially false and misleading for

Cognizant to state that it had “outstanding fixed capital commitments of approximately $184.0

million related to our India development center expansion program to build new state-of-the-art

IT development and delivery centers” when that figure included at least $4.1 million in bribes paid

to government officials.

       193.    It also was misleading for Cognizant to state that it would “[l]ocate most of our new

development center facilities in tax incentivized areas,” when Cognizant was obtaining licenses

for its new SEZ facilities through the bribery scheme alleged herein.

       B.      Cognizant Emphasized Its Legal Compliance and Internal “Anti-
               Corruption” Controls While Specifically Denying Any “Incident” of
               “Corruption” During 2014 or 2015

       194.    During the Class Period, Defendants stated that Cognizant did not offer payments

to government officials to obtain anything of value. Defendants further stated that Cognizant had

established robust policies and procedures to ensure legal and ethical compliance, including

extensive training and “risk analysis” functions to assess and prevent “corruption.” Based on these

representations, Defendants specifically stated that “no” “confirmed incidents” of “corruption”

had been “reported in 2014” or “in 2015.” Defendants also stated that “no incidents” of “significant


                                                75
risks” of “corruption” had been reported “in 2015.” As explained below, these statements were

materially false and misleading when made because Cognizant and its “senior management” were

engaged in the bribery scheme detailed above.

               1.     Defendants’ False Statements in the Anticorruption Policy

       195.    Throughout the Class Period, Cognizant published and disseminated its

Anticorruption Policy to investors through its website.

       196.    The Anticorruption Policy stated that the Company would:

       •   “never pay, promise, offer or authorize a bribe or anything of value to a
           government official or any other individual in order to obtain business for the
           Company or to secure an improper advantage for the Company”;

       •   “never permit, allow, authorize (or turn a ‘blind eye’ to) a Company third-
           party’s representative payment, promise, offer or authorization of a bribe or
           anything of value to a government official or any other individual in order to
           win business or obtain improper advantages for the Company”;

       •   “consult with our Legal Department before offering or giving anything of
           value, even of nominal value (e.g., for meal or dinner, or sports tickets), to a
           government official or to someone who is in a position to influence a
           government official or a third-party representative, as governed by our Core
           Values and Standards of Business Conduct regarding gifts and
           entertainment”;

       •   “ensure that entries into the Company’s books and records are accurate, and
           that all Company internal controls and procedures are maintained and
           followed when making payments from the Company”; and

       •   “comply with, and enforce, all the Company’s requirements for
           documentation of expenses and payment requests, particularly those
           payments related to the Company’s sales, marketing, and business
           development efforts, consistent with our Core Values and Standards of
           Business Conduct on transparency.”

       197.    The Anticorruption Policy further assured investors that Cognizant was taking a

number of additional concrete steps to ensure the Company’s compliance with anticorruption laws.

Among other things, Cognizant told investors that all employees involved in procurement and

contracting, as well as “[k]ey business partners and third-party representatives,” would “receive


                                                76
appropriate training from the Company” regarding compliance with anticorruption laws. The

Company also represented that its Legal Department would review “red flag” transactions,

including those transaction involving a government-related counterparty. Moreover, Cognizant

stated that “periodic audits of compliance shall be performed by each business unit in

coordination with our Legal Department” in order to “[m]onitor and [a]udit [c]ompliance [w]ith

[the] Anticorruption Policy.”

       198.   The above statements made by Cognizant in the Anticorruption Policy were

materially false and misleading when made. It was misleading for Defendants to state that the

Company would “never pay, promise, offer or authorize a bribe or anything of value to a

government official or any other individual” in order to “to secure an improper advantage for the

Company,” or permit a Company “representative” to do so, when as alleged above, the Company

and its representatives paid bribes to Indian officials in order to secure SEZ licensing for

Cognizant’s Indian operations, with the knowledge and participation of senior Company

management.

       199.   It was further misleading for Defendants to represent that the Company had

established and followed a robust and comprehensive system of FCPA compliance mechanisms

when in fact, Defendants knowingly eschewed compliance with the FCPA and the Company’s

Anticorruption Policy because they were engaged in a scheme to bribe Indian government

officials. Among other things, it was misleading for Defendants to represent that the Company

would “ensure that entries into the Company’s books and records are accurate, and that all

Company internal controls and procedures are maintained and followed,” and that Cognizant

would “comply with, and enforce, all the Company’s requirements for documentation of expenses

and payment requests” when, as alleged above: (1) the Company’s books and records were




                                               77
misstated, as the improper payments to Indian officials were inappropriately recorded and

inappropriately capitalized in the Company’s financial statements; (2) senior management actually

overrode the Company’s internal controls and thus Cognizant did not maintain an appropriate

“tone at the top”; and (3) Company policies concerning “documentation of expenses,” including

flagging payments to foreign officials and vetting them with Cognizant’s Legal Department, were

not followed.

       200.     It also was misleading for Defendants to state that Cognizant employees and “[k]ey

business partners and third-party representatives” with procurement-related responsibility would

“receive appropriate training from the Company” regarding compliance with anticorruption laws

when, as reported by numerous former Cognizant employees, adequate training was not provided.

       201.     Finally, it was misleading for Defendants to tout Cognizant’s “periodic audits” to

“[m]onitor and [a]udit [c]ompliance [w]ith [the] Anticorruption Policy” when: (1) the Company

failed to undertake any such audit for years prior to 2014; and (2) the Company’s first FCPA

compliance audit undertaken at the end of 2014 had uncovered evidence of bribes and several

“high risk” problems in Cognizant’s internal controls, yet these findings were not acted upon.

                2.     Defendants’ False Statements in the 2014 Sustainability Report

       202.     In June 2015, Cognizant published and disseminated to investors through its

website its 2014 Sustainability Report. In this report, Cognizant stated that it had performed

thorough audits of anticorruption compliance and had discovered “no incidents” of corruption.

Moreover, the Company claimed that it provided “role based anti-corruption training” to

Cognizant employees:

       SO 3 Training on Anti-Corruption.

       In 2014, we introduced role based anti-corruption training to supplement the
       anti-corruption provisions of the general ethics training our employees received.
       We delivered 331,114 hours of Code of Ethics training through eLearning in


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         2014. We also delivered live Code of Ethics trainings to targeted audiences of
         over 18,000 associates in India and the Philippines. Our formal learning was
         supplemented in 2014 by education campaigns featuring games, quizzes and
         prizes.

         Additionally, our Enterprise Risk Management group conducts annual risk
         analysis surveys covering all business units and corporate functions to assess the
         likelihood of various risks including corruption.

         SO4 Actions taken in response to incidents of corruption.

         No incidents reported in 2014.88

         203.    The above statements in Cognizant’s 2014 Sustainability Report were materially

false and misleading when made. It was misleading for Defendants to state that “no incidents” of

“corruption” had been reported in 2014, when, among other things: (1) the Company’s President,

Chief Legal Officer, and other members of senior management were involved in the bribery

scheme detailed herein, and thus, were aware of such corruption; (2) the 2015 audit findings

providing evidence of the Company’s bribery already had been reported to senior Cognizant

personnel at the time this report was published; and (3) Cognizant’s senior management

participated in making the corrupt payments by overriding and/or failing to enforce the Company’s

internal financial controls designed to detect, report, and prevent such bribes.

         204.    It was further misleading for Defendants to state that extensive “anti-corruption

training” had been provided to Cognizant employees, when, as reported by former Cognizant

personnel, no adequate anticorruption compliance training was provided to Company personnel.

                 3.     Defendants’ False Statements in the Code of Conduct

         205.    From the start of the Class Period until approximately May 30, 2015, Defendants

published and disseminated Cognizant’s Code of Conduct to investors through Cognizant’s

website. The Code of Conduct stated that the Company does not “[g]et involved with middlemen


88
     Cognizant, 2014 Sustainability Report – Building New Tomorrows, at 55.


                                                 79
and/or the bribing of government officials while procuring or leasing land and

infrastructure.”89 The Code of Conduct further stated:

          We must not:

          •       Accept or permit any member of our immediate family to accept any gifts,
                  gratuities or other favors from any customer, supplier or other person doing or
                  seeking to do business with the Company, other than items of nominal value or
                  items that do not exceed local social and/or business customs.

          •       Give gifts outside of standard business practices in hopes of influencing a
                  business decision.

          •       Give Company funds or assets for gifts, gratuities or other favors to government
                  officials.

          •       Bribes and Kickbacks

                  Bribes and kickbacks are criminal acts, strictly prohibited by law. As Cognizant
                  Associates we must never offer, give, solicit or receive any form of bribe or
                  kickback anywhere in the world.90

          206.       On or around July 5, 2015, Cognizant published a revised version of its Code of

Conduct. This document remains on the Company’s website and contains a message from

D’Souza:

          I have said many times that the easy way is not the Cognizant way. We do not cut
          corners, bend the rules, or look for shortcuts—and we have a zero-tolerance policy
          toward those who do.91

          207.       The revised Code of Conduct further states, in explicit terms, that the Company

complies with “all applicable anti-corruption laws”:

          This means, in part, that we comply with all applicable anti-corruption laws,
          rules, and regulations wherever we conduct business.



89
     Cognizant’s Core Values and Standards of Business Conduct, at 16 (2013).
90
     Id. at 29.
91
     Cognizant’s Core Values and Standards of Business Conduct (2015).



                                                      80
           We do not corruptly give or offer, directly or indirectly, anything of value to a
           government official to obtain or maintain business or any other advantage for
           the Company.92

           208.   The above representations in Cognizant’s Codes of Conduct were materially false

and misleading when made. It was misleading for Defendants to state that the Company was

“comply[ing] with all applicable anti-corruption laws,” did “not corruptly give or offer, directly or

indirectly, anything of value to a government official to obtain or maintain business or any other

advantage for the Company,” and did not “[g]et involved with middlemen and/or the bribing of

government officials while procuring or leasing land and infrastructure,” because, as alleged

above, Cognizant was engaged in a scheme to bribe Indian government officials in exchange for

SEZ licenses for the Company’s facilities in India. It was further misleading for Defendants to

state that the Company had “a zero-tolerance policy toward those who” fail to comply with

Cognizant’s anticorruption policies because, as the Company has admitted, its own senior

management officials overrode and/or failed to enforce Cognizant’s internal financial controls in

order to facilitate the bribery scheme.

                  4.     Defendants’ False Statements in the 2015 Sustainability Report

           209.   In August 2016, Cognizant published its 2015 Sustainability Report. This report

stated:

           G4-56 The organization’s values, principles, standards and norms of behavior
           such as codes of conduct and codes of ethics.

           As a global business, Cognizant is committed to complying with the laws of the
           countries in which we operate. . . .

           ....

           Cognizant treats reports of misconduct seriously. All reports are reviewed by the
           Chief Compliance Officer, who appoints a responsible person as appropriate to
           conduct an informal inquiry or a formal investigation. If a violation of our

92
     Id.


                                                  81
          Standards has occurred, appropriate disciplinary action will be taken against
          individuals involved as permitted by local laws. Additional steps will be taken if an
          alleged violation involves an Executive Officer or Board Member.

          Today’s dynamic global marketplace demands that we achieve the highest
          standards of behavior. It is therefore critical that all of us at Cognizant make
          business decisions that align with our ethical principles. This means, in part, that
          we comply with all applicable anti-corruption laws, rules, and regulations
          wherever we conduct business.93

          ....

          SUB-CATEGORY: SOCIETY

          Aspect: Anti-corruption

          G4-SO3 Total number and percentage of operations assessed for risks related
          to corruption and the significant risks identified

          There were no incidents reported in 2015.

          G4-SO4 Communication and training on anti-corruption policies and
          procedures

          We delivered 689,288 hours of Code of Ethics training through eLearning in 2015.
          We also delivered live Code of Ethics trainings to targeted audiences of over
          203,947 associates in India. Our formal learning was supplemented in 2015 by
          education campaigns featuring games, quizzes and prizes. The percentage of
          Associates completing the online Code of Ethics training was 94%. Anti-
          Corruption training was provided for 500 hours and delivered for selected
          associates in Administration, Procurement, Sales & Marketing, Finance and other
          support Functions.

          Additionally, our Enterprise Risk Management group conducts annual risk analysis
          surveys covering all business units and corporate functions to assess the likelihood
          of various risks including corruption.

          G4-SO5 Confirmed incidents of corruption and actions taken

          There were no incidents reported in 2015.94




93
     Cognizant, 2015 Sustainability Report – Helping People Navigate the Digital Shift, at 50.
94
     Id. at 60.


                                                   82
       210.     It was misleading for Defendants to state that Cognizant had performed a thorough

audit of the Company’s anticorruption compliance and that “[t]here were no incidents reported in

2015” of “corruption,” or even “significant risks” of “corruption,” and that “we comply with all

applicable anti-corruption laws, rules, and regulations wherever we conduct business,” when,

among other things: (1) the Company’s President, Chief Legal Officer and other members of senior

management were involved in the bribery scheme detailed herein, and thus, were aware of such

corruption; (2) the 2015 audit findings providing evidence of the Company’s bribery had already

been reported to senior Cognizant personnel at the time this report was published; and (3)

Cognizant’s senior management participated in making the corrupt payments by overriding and/or

failing to enforce the Company’s internal financial controls designed to detect, report and prevent

such bribes.

       211.     Additionally, it was misleading for Defendants to state that “Cognizant treats

reports of misconduct seriously” and that “Cognizant is committed to complying with the laws of

the countries in which we operate,” because the Company’s senior management overrode and/or

failed to enforce Cognizant’s internal financial controls in order to facilitate the bribery scheme.

       212.     It was further misleading for Defendants to tout the anticorruption training provided

to Company personnel, when, as described above, no adequate anticorruption compliance training

was provided.

       C.       Cognizant Touted Its Ability to Deliver Low-Cost Services to Clients
                Through Legitimate Means, and Attributed the Company’s Financial
                Results to Legitimate Business Factors and Conditions

       213.     Throughout the Class Period, Defendants attributed Cognizant’s financial results to

a variety of legitimate “key” business factors and conditions. Defendants also touted Cognizant’s

ability to achieve “organic growth” in its “core business” of IT and business process outsourcing

by lowering client costs through the Company’s supposedly legitimate operations in India.


                                                 83
Defendants also repeatedly attributed Cognizant’s revenue growth from its “Rest of World

customers” primarily to its supposedly legitimate Indian operations. As explained below, these

statements were materially false and misleading when made because, unbeknownst to investors,

Cognizant’s performance, including its ability to deliver cost savings to its clients, was driven, in

material part, by the Company’s scheme to bribe Indian officials in order to secure SEZ permits

for its Indian operations.

               1.      February 27, 2015: 2014 Form 10-K

       214.    In Cognizant’s 2014 Form 10-K, filed February 27, 2015, and signed by, among

others, D’Souza and McLoughlin, Defendants stated, “In 2014, our revenue increased to

$10,262.7 million compared to $8,843.2 million in 2013.” Cognizant’s 2014 Form 10-K further

stated that the “key drivers of our revenue growth in 2014” were: “[s]olid performance across

all of our business segments”; “[s]ustained strength in the North American market”;

“[c]ontinued penetration of the European and Rest of World (primarily the Asia Pacific)

markets”; “[i]ncreased customer spending on discretionary projects”; “[e]xpansion of our

service offerings, including Consulting, IT IS, and BPS services”; “[i]ncreased penetration at

existing customers”; and “[c]ontinued expansion of the market for global delivery of IT services

and BPS.”

       215.    The above statements in Cognizant’s 2014 Form 10-K were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s revenue growth

to legitimate business factors and conditions, including the “[e]xpansion of our service offerings”

and “[c]ontinued expansion of the market for global delivery of IT services and BPS,” when, in

fact, the Company’s financial performance was driven, in material part, by Cognizant’s scheme to

obtain SEZ licensing by bribing Indian government officials.




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               2.      May 4, 2015: Press Release and Form 8-K

       216.    On May 4, 2015, Cognizant issued a press release, also incorporated in the Form 8-

K filed with the SEC on the same date, setting forth its financial results for Q1 2015. The press

release quoted McLoughlin as attributing Cognizant’s “strong” financial performance to the

“organic growth of our core business”: “Our strong revenue performance this quarter versus our

guidance was driven primarily by organic growth of our core businesses and is a reflection that

our strategy and offerings are resonating with our clients.”

       217.    The above statements made by McLoughlin in the May 4, 2015 press release and

the Form 8-K were materially false and misleading when made. It was misleading for Defendants

to attribute Cognizant’s “strong” financial performance to legitimate business factors and

conditions, including the “organic growth” of the Company’s “core business,” when, in fact, the

Company’s financial performance was driven, in material part, by Cognizant’s scheme to obtain

SEZ licensing by bribing Indian government officials.

               3.      May 4, 2015: Q1 2015 Form 10-Q

       218.    On May 4, 2015, the Company filed its Q1 2015 Form 10-Q with the SEC. As noted

above, that filing was signed by D’Souza and McLoughlin. In the Form 10-Q, Cognizant stated,

“For the three months ended March 31, 2015, our revenue increased to $2,911.4 million

compared to $2,422.3 million for the three months ended March 31, 2014.” Cognizant’s 1Q 2015

Form 10-Q further stated that the “key drivers of our revenue growth during the three months

ended March 31, 2015” were: “[o]ur November 2014 acquisition of TZ US Parent, Inc., or

TriZetto”; “[s]olid performance across all of our business segments”; “[s]ustained strength in

the North American market”; “[c]ontinued penetration of the European and Rest of World

(primarily the Asia Pacific) markets”; “[i]ncreased customer spending on discretionary

projects”; “[e]xpansion of our service offerings, including consulting, infrastructure services,


                                                85
and business process services”; “[i]ncreased penetration at existing customers”; and

“[c]ontinued expansion of the market for global delivery of IT services and business process

services.”

       219.   Cognizant’s Q1 2015 Form 10-Q further reported that, “[t]he revenue growth from

our Rest of World customers in 2015 was primarily driven by the India, Japan, Australia, Hong

Kong, and Singapore markets and include[d] a negative currency impact of 5.8%.”

       220.   The above statements made in the Q1 2015 Form 10-Q were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and “penetration of the Rest of World . . . markets,” when, in fact, the

Company’s financial performance was driven, in material part, by Cognizant’s scheme to obtain

SEZ licensing by bribing Indian government officials. It also was materially false and misleading

for Defendants to attribute Cognizant’s financial performance to revenue growth “from our Rest

of World customers in 2015,” including India, when the Company’s financial performance was

driven, in material part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian

government officials.

              4.        May 4, 2015: Q1 2015 Earnings Conference Call

       221.   Also on May 4, 2015, Cognizant hosted its Q1 2015 earnings conference call,

during which Defendant Coburn stated: “Finally, we saw good traction in the rest of the world

which was up 7.6% sequentially after a 2.8% negative currency impact. Growth was driven

primarily by strength in key markets such as India and the Middle East.”




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       222.    Also during the call, D’Souza stated: “Our sequential growth was well ahead of

our previous guidance and was driven by strong organic growth in our core business coupled

with solid in-line performance in the TriZetto business.”

       223.    The above statements made by Defendant Coburn and D’Souza during the Q1 2015

earnings conference call were materially false and misleading when made. It was misleading for

Defendants to attribute Cognizant’s financial performance to legitimate business factors and

conditions, including “strong organic growth in our core business coupled with solid in-line

performance in the TriZetto business” and “strength in key markets such as India” when, in fact,

the Company’s financial performance was driven, in material part, by Cognizant’s scheme to

obtain SEZ licensing by bribing Indian government officials.

       224.    The market readily believed Defendants. Analysts repeated management’s

statements attributing Cognizant’s “strength” to India. For example, on May 4, 2015, UBS

published a report stating: “Cognizant provides a mix of application management and application

development solutions using an on-site/offshore business model centered on its India-based

development centers.”95

       225.    On May 4, 2015, William Blair and Company, L.L.C. published a report stating:

“Significant growth in the rest of the world geography was driven by India and the Middle East.”96

       226.    Consistent with the positive statements made by Coburn and D’Souza regarding

Cognizant’s strong organic growth driven by strength in key markets such as India, Cognizant’s




95
  Steven Milunovich, CFA et al., Global Research: Impressive Start, Yet Multiple Remains Above
the Comfort Zone 2 (UBS Securities LLC May 4, 2015).
96
  Anil Doradla et al., With TriZetto Synergies Ahead of Schedule, 2015 Guidance Could Prove
Conservative 2 (William Blair & Co., L.L.C. May 4, 2015).


                                               87
stock price increased from an opening price of $58.65 per share on May 1, 2015, to a closing price

of $62.78 per share on May 4, 2015, an increase of approximately 7%.

       227.    In June 2015, analysts continued to discuss Cognizant’s cost-cutting measures in

India. On June 10, 2015, Wells Fargo Securities published an analyst report stating: “An article in

the India press (Economic Times) indicates that [Cognizant] is ‘taking a series of steps to rein in

costs and meet its operating margin target’ according to their sources.”97

       228.    On June 30, 2015, Jefferies published an analyst report stating:

       [Cognizant] seemed confident in maintaining operating margins in the target range.
       Following an Indian news media article speculating that [Cognizant] is undertaking
       cost-cutting measures to maintain its operating margins, [Cognizant] management
       indicated that it remains confident in maintaining its adjusted operating margins in
       the 19-20% target range and is not undertaking any out of the ordinary cost
       rationalization measures.98

       229.    On July 27, 2015, Deutsche Bank Markets Research published an analyst report

stating: “[Rest of world] was up . . . with growth being driven primarily by strength in key

markets such as India and the Middle East.”99

               5.     August 5, 2015: Q2 2015 Earnings Conference Call

       230.    On August 5, 2015, Cognizant held its Q2 2015 earnings conference call with

analysts and investors. During the call, Defendant Coburn stated: “Finally, we saw continued

strong traction in the Rest of World, which was up 10.7% sequentially. Growth was driven

primarily by strength in markets such as India and Australia.”




97
  Ed Caso, CFA, CTSH: Article Says Moving to Control Expense Growth 1 (Wells Fargo
Securities LLC June 10, 2015).
98
  Jason Kupferberg, Equity Analyst, Flash Note: Jefferies NASDAQ 2015 Investor Conference
Takeaways 1 (Jefferies Group LLC June 30, 2015).
99
  Bryan Keane, Research Analyst et al., Cognizant: HNET Loss Creates Void; Trimming FY16
Estimates 11 (Deutsche Bank AG July 27, 2015).


                                                88
        231.   The above statement made by Defendant Coburn during the Q2 2015 earnings call

was materially false and misleading when made. It was misleading for Coburn to attribute

Cognizant’s financial performance to legitimate business factors and conditions, including

strength in markets such as India, when, in fact, the Company’s financial performance was driven,

in material part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian government

officials.

        232.   Analysts again reacted positively to Defendants’ statements. On August 5, 2015,

Société Générale published a report noting that “Cognizant is picking up momentum in newer

geographies like India and Australia where it had little presence even two years ago.”100

        233.   Also on August 5, 2015, SIG Susquehanna Financial Group, LLLP published an

analyst report stating: “Rest of the world also rose 10.7% sequentially, driven by strong demand

in India and Australia.”101

        234.   Consistent with Defendants’ statements regarding Cognizant’s strong growth

“driven primarily” by strength in key markets such as India, and analysts’ positive reactions to

those statements, Cognizant’s stock price increased from an opening price of $63.06 per share on

August 4, 2016, to a closing price of $67.34 per share on August 5, 2016, an increase of nearly

7%.

               6.      August 6, 2015: Q2 2015 Form 10-Q

        235.   On August 6, 2015, Cognizant filed its Q2 2015 Form 10-Q with the SEC. As noted

above, that filing was signed by D’Souza and McLoughlin. Cognizant’s Q2 2015 Form 10-Q



100
  Mukul Garg, Equity Analyst et al., Cognizant: On Track to Deliver Another Good Year, Retain
Buy 1 (Société Générale Group Aug. 5, 2015).
101
  James E. Friedman, Cognizant: Good Results Despite HNT Merger 1 (Susquehanna Financial
Group, LLLP Aug. 5, 2015).


                                                89
stated, “For the three and six months ended June 30, 2015, our revenue increased to $3,085.1

million and $5,996.5 million compared to $2,517.1 million and $4,939.4 million for the three

and six months ended June 30, 2014, respectively.” Cognizant’s Q2 2015 Form 10-Q further

stated that the “key drivers of our revenue growth during the three months ended June 30, 2015”

were: “[o]ur November 2014 acquisition of TZ US Parent, Inc., or TriZetto”; “[s]olid

performance across all of our business segments”; “[s]ustained strength in the North American

market”; “[c]ontinued penetration of the European and Rest of World (primarily the Asia

Pacific) markets”; “[i]ncreased customer spending on discretionary projects”; “[e]xpansion of

our service offerings, including consulting, infrastructure services, and business process

services”; “[i]ncreased penetration at existing customers”; and “[c]ontinued expansion of the

market for global delivery of IT and business process services.”

       236.   The Company in its Q2 2015 Form 10-Q further reported: “Revenue grew 30.0%

from our Rest of World customers in the second quarter of 2015 . . . and was primarily driven

by the India and Australia markets.” Cognizant further noted: “The revenue growth from our

Rest of World customers in the first half of 2015 grew 27.0% . . . and was primarily driven by

the India, Australia and Japan markets.”

       237.   The above statements made in the Q2 2015 Form 10-Q were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and revenue growth from “Rest of World customers,” such as India, when, in

fact, the Company’s financial performance was driven, in material part, by Cognizant’s scheme to

obtain SEZ licensing by bribing Indian government officials.




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       238.    On October 15, 2015, Cantor Fitzgerald published an analyst report stating:

“[Cognizant] continued to expand in other key regional markets, including India, Singapore,

Australia, Japan and Hong Kong, with revenues increasing 23.6% over the prior year.”102

               7.     November 4, 2015: Q3 2015 Earnings Conference Call

       239.    On November 4, 2015, Cognizant held its 2015 third quarter earnings call with

analysts and investors. During this call, Defendant Coburn and D’Souza responded to an analyst’s

question about pressure on revenue growth in its “traditional” IT and business operations outsource

business based in India. Defendants responded by stating that Cognizant continued to “take market

share on the maintenance side” by “lowering cost” to help customers “become more efficient”:

       [Analyst]: The question really is, what sort of pressure are you seeing on revenue
       growth on the traditional side? . . . And how does it change your notion of revenue
       visibility and impact on margins?

                [Coburn]: . . . I think you’re right that clients are trying to fund spending
       on innovation and on digital by optimizing the cost on run the business, which
       a lot of that is the traditional outsourcing. And you’ve seen that in our numbers
       now for many quarters, where our technology and consulting business is growing
       faster than the outsourcing business.

       But let’s be clear. We continue to do very well and take market share on the
       maintenance side. What customers are looking for is they’re interested in how
       can we become more efficient, lower their cost of ownership on maintenance, so
       they can free up those dollars to move elsewhere. And we – Cognizant just has
       this incredible track record of delivering very high quality services, while
       continuously delivering productivity and efficiency.

              So I think we’re probably better positioned than most others in the market
       in terms of lowering cost of ownership on maintenance . . . .

               ....

               . . . [D’Souza]: . . . I would say that the bulk of the productivity that we
       drive in the core business is through traditional means of driving productivity



102
   Joseph Foresi, Initiating with a BUY; Expecting Solid Performance to Continue 7 (Cantor
Fitzgerald Oct. 15, 2015).


                                                91
       and efficiency that includes process kinds of things like Lean and Six Sigma and
       so on, and also more traditional tools in automation.

       240.     Also, during this call, Coburn stated, “We’re going to continue with the strategy

that we’ve been executing successfully on, which is making long-term organic investments is

the key – the core of our business.”

       241.     The above statements made by Defendant Coburn and D’Souza during the Q3 2015

earnings conference call were materially false and misleading when made. Specifically, it was

materially false and misleading for D’Souza to attribute the Company’s success in its “core

business” to legitimate business factors and conditions, such as lowering cost through “traditional

means of driving productivity and efficiency,” when, in fact, Cognizant’s efforts to lower costs

were accomplished in part by bribes paid to Indian government officials in exchange for SEZ

licenses.

       242.     Similarly, it was materially false and misleading for Coburn to state that the

Company’s “core” “strategy that we’ve been executing successfully on” was “making long-term

organic investments,” when in fact, Cognizant’s strategy and financial performance were driven

in part by bribes paid to Indian government officials in exchange for SEZ licenses for the

Company’s facilities in India. It also was materially false and misleading for Coburn to state that

the Company’s ability to “take market share” was driven by legitimate factors, such as its ability

to lower “cost of ownership” and the Company’s “incredible track record of delivering very high

quality services, while continuously delivering productivity and efficiency,” when Cognizant’s

performance was driven, in part, by bribes paid to Indian government officials in exchange for

SEZ licenses.




                                                92
               8.     November 5, 2015: Q3 2015 Form 10-Q

       243.    On November 5, 2015, the Company filed a Form 10-Q with the SEC. As noted

above, that filing was signed by D’Souza and McLoughlin. Cognizant’s Q3 2015 Form 10-Q

stated, “For the three and nine months ended September 30, 2015, our revenue increased to

$3,187.0 million and $9,183.5 million compared to $2,581.0 million and $7,520.5 million for the

three and nine months ended September 30, 2014, respectively.” Cognizant’s Q3 2015 Form 10-

Q further stated that the “key drivers of our revenue growth during the three months ended

September 30, 2015” were: “[o]ur November 2014 acquisition of TZ US Parent, Inc., or

TriZetto”; “[s]olid performance across all of our business segments”; “[s]ustained strength in

the North American market”; “[c]ontinued penetration of the European and Rest of World

(primarily the Asia Pacific) markets”; “[i]ncreased customer spending on discretionary

projects”; “[e]xpansion of our service offerings, including consulting, infrastructure services,

and business process service”; “[i]ncreased penetration at existing customers”; and

“[c]ontinued expansion of the market for global delivery of IT and business process services.”

       244.    Cognizant’s Q3 2015 Form 10-Q further reported: “Revenue grew 31.0% from our

Rest of World customers in the third quarter of 2015 . . . and was primarily driven by the India,

Singapore and Australia markets.”

       245.    The above statements made in the Q3 2015 Form 10-Q were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and penetration of the Rest of World markets, such as India, when, in fact, the

Company’s financial performance was driven, in material part, by Cognizant’s scheme to obtain

SEZ licensing by bribing Indian government officials.


                                               93
               9.      February 8, 2016: Q4 2015 Earnings Conference Call

        246.   On February 8, 2016, Cognizant held its 2015 fourth quarter earnings call with

analysts and investors. During this call, Coburn stated:

        Finally, we saw continued strong traction in the rest of the world, which was up by
        6.8% sequentially and 34% year over year. Growth was driven primarily by
        strengths in key markets such as India, Singapore and the Middle East where
        we’re seeing good traction with clients’ adoption of digital technologies.

        247.   The above statement made by Defendant Coburn during the Q4 2015 earnings

conference call was materially false and misleading when made. It was misleading for Coburn to

attribute Cognizant’s financial performance to legitimate business factors and conditions,

including strength in “key markets such as India” where it had seen “good traction with clients’

adoption of digital technologies,” when, in fact, the Company’s financial performance was driven,

in material part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian government

officials.

        248.   Following the Q4 2015 earnings call, numerous analysts cited Coburn’s statement

emphasizing growth driven by the Indian market. For example, on February 8, 2016, Evercore ISI

published a report stating: “[Cognizant] generated revenue growth of 19% for North America,

while Rest of World revenue advanced 34% led by India, Singapore and the Middle East given

strong demand for digital technologies.”103




103
   David Togut, CFA et al., Cognizant: Attractive Entry Point Given Soft Outlook 1 (Evercore ISI
Feb. 8, 2016).



                                                94
          249.   Also on February 8, 2016, Barclays published a report stating: “Rest of World:

RoW grew 6.8% Q/Q and 34% Y/Y. Growth was primarily driven by strengthen in key markets

including India, Singapore, and the Middle East.”104

          250.   Nomura published a report on February 8, 2016, stating: “Growth in the ROW was

driven by strength in markets such as India, Singapore, and the Middle East.”105

          251.   That same day, Oppenheimer published an analyst report stating: “Rest of World

(~6% of revenue) led all geographic segments with strong 6.8% Q/Q growth to ~$179M, driven

by strength in India, Singapore, and the Middle East.”106

                 10.    February 25, 2016: 2015 Form 10-K

          252.   On February 25, 2016, the Company filed a Form 10-K with the SEC that was

signed by D’Souza and McLoughlin, among others. In that filing, Cognizant reported revenue of

$12,416 million, an increase over the previous year’s revenue of $10,262.7 million. Cognizant’s

2015 Form 10-K further stated that the “key drivers of our revenue growth” during the three

months ended March 31, 2015 were: “[o]ur November 2014 acquisition of TZ US Parent Inc.,

or TriZetto”; “[s]olid performance across all of our business segments”; “[s]ustained strength

in the North American market”; “[c]ontinued penetration of the European and Rest of World

(primarily the Asia Pacific) markets”; “[i]ncreased customer spending on discretionary

projects”; “[e]xpansion of our service offerings, including consulting, infrastructure services,




104
  Darrin D. Peller et al., Wide Range Underscores Macro Uncertainties; Continue to See Strong
Growth as Underappreciated 4 (Barclays Capital Inc. Feb. 8, 2016).
105
      Ashwin Mehta et al., Cognizant: Guidance Disappoints 4 (Nomura Int’l Feb. 8, 2016).
106
  Glenn Greene, CFA et al., Modest FY16 Guide Reflects Cautious FSI/Healthcare Outlook 3
(Oppenheimer & Co. Inc. Feb. 8, 2016).


                                                95
and business process services”; “[i]ncreased penetration at existing customers”; and

“[c]ontinued expansion of the market for global delivery of IT and business process services.”

       253.   Cognizant’s 2015 Form 10-K further reported, “In 2015, revenue from our Rest of

World customers grew 29.9%, after a negative currency impact of 9.2%. In 2014, revenue from

our Rest of World customers grew 23.6%. In 2015 and 2014, growth was primarily driven by the

India, Singapore, Australia, Japan and Hong Kong markets.”

       254.   The above statements made in the 2015 Form 10-K were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and “revenue from our Rest of World” customers and growth in the Indian

market, when, in fact, the Company’s financial performance was driven, in material part, by

Cognizant’s scheme to obtain SEZ licensing by bribing Indian government officials.

              11.     May 6, 2016: Q1 2016 Form 10-Q

       255.   On May 6, 2016, Cognizant filed a Form 10-Q with the SEC. As noted above, that

filing was signed by D’Souza and McLoughlin. The Form 10-Q reported revenue for the three

months ended March 31, 2016 of $3,202 million, an increase over first quarter 2015 revenue of

$2,911.4 million. Cognizant’s Q1 2016 Form 10-Q further stated that the “key drivers of our

revenue growth during the three months ended March 31, 2016” were: “[s]olid performance

across our Financial Services, Manufacturing/Retail/Logistics and Other business segments”;

“[s]ustained strength in the North American market”; “[c]ontinued penetration of the

European and Rest of World (primarily the Asia Pacific) markets”; “[i]ncreased customer

spending on discretionary projects”; “[e]xpansion of our service offerings, including consulting




                                              96
and digital services”; “[c]ontinued expansion of the market for global delivery of IT and

business process services”; and “[i]ncreased penetration at existing customers.”

       256.    Cognizant’s Q1 2016 Form 10-Q further reported that “[r]evenue from our Rest of

World customers increased 24.9% . . . as compared to the quarter ended March 31, 2015.”

Cognizant further reported: “Revenue from our Rest of World customers grew 24.9% . . . in the

first quarter of 2016, and was primarily driven by the India, Singapore and Australia markets.”

       257.    The above statements made in the Q1 2016 Form 10-Q were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and penetration of the Rest of World market, and India specifically, when, in

fact, the Company’s financial performance was driven, in material part, by Cognizant’s scheme to

obtain SEZ licensing by bribing Indian government officials.

               12.     May 6, 2016: Q1 2016 Earnings Conference Call

       258.    Also on May 6, 2016, Cognizant held its Q1 2016 earnings call with analysts and

investors. During this call, D’Souza described the Company’s “strategic initiative” to “achieve

new levels of efficiency” for “clients” in their “core transaction processing operations”:

       The second strategic initiative is to help clients achieve new levels of efficiency
       and effectiveness in their core transaction processing operations by building
       platform-based solutions and industry utilities. . . . By applying a series of levers
       including process optimization, digitization and large-scale efficiencies, we’re
       able to bring clients levels of effectiveness which they would have been unable to
       reach on their own.

       259.    During this call, Coburn also attributed the Company’s strong retail and

manufacturing results to “growing” client relationships and Cognizant’s ability to “leverage” its

technical expertise in “retail, manufacturing and logistics.” Coburn added: “[T]he rest of the world



                                                97
was up 30 basis points sequentially, and almost 25% year-over-year. Growth was driven primarily

by strength in key markets such as India, Australia and the Middle East where we’re seeing good

traction with client’s adoption of digital technologies.”

        260.    The above statements made by D’Souza and Coburn during the Q1 2016 earnings

call were materially false and misleading when made. It was misleading for D’Souza to attribute

Cognizant’s ability to deliver lower cost IT services to clients to wholly legitimate business factors

and conditions, such as “applying a series of levers including process optimization, digitization

and large-scale efficiencies,” when, in fact, Cognizant’s ability to deliver cost savings to its clients

was driven, in material part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian

government officials.

        261.    Likewise, it was misleading for Coburn to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including “growing” client

relationships and Cognizant’s ability to “leverage” its technical expertise in “retail, manufacturing

and logistics,” and growth in the Indian market, when, in fact, the Company’s financial

performance was driven, in material part, by Cognizant’s scheme to obtain SEZ licensing by

bribing Indian government officials.

        262.    The market accepted Defendants’ statements. On May 6, 2016, an S&P Capital

analyst report stated: “We think cost-cutting initiatives will be a source of strength for the India-

based outsourcing companies in the group.”107




107
   S&P Capital IQ, Cognizant Technology Solutions Corp. 3 (Standard & Poor’s Financial
Services LLC May 6, 2016).



                                                  98
       263.    Also on May 6, 2016, Oppenheimer published an analyst report stating: “Rest of

World revenue (~6% of total revenue) grew a lackluster 0.3% Q/Q to ~$179M, driven by India,

Australia, and the Middle East.”108

       264.    That same day, William Blair stated in its analyst report: “From a geographic point

of view, significant growth in the rest of the world was driven by India, Australia, and the Middle

East, with management citing especially good traction and opportunity within digital.”109

       265.    Similarly, Barclays published an analyst report on May 9, 2016 stating: “Rest of

World: RoW grew 0.3% Q/Q and almost 25% Y/Y. Growth was primarily driven by

strength in key markets including India, Australia, and the Middle East due to adoption of

digital technologies.”110

       266.    Consistent with Defendants’ statements regarding Cognizant’s strong growth

“driven primarily” by strength in key markets such as India, and analysts’ positive reactions to

those statements, Cognizant’s stock price increased from an opening price of $57.50 per share on

May 5, 2016, to a closing price of $60.55 per share on May 6, 2016, an increase of approximately

5%.

               13.     May 24, 2016: J.P. Morgan Technology, Media and Telecom
                       Conference

       267.    On May 24, 2016, Defendant Coburn attended the J.P. Morgan Technology, Media

and Telecom Conference, at which he spoke to analysts and investors. During the conference,




108
  Glenn Greene, CFA et al., 1Q Healthcare/FSI Weakness Puts CTSH in Early FY16 Hole 4
(Oppenheimer & Co. Inc. May 6, 2016).
  Anil Doradla et al., Events Uneventful – Macro Weakness Affects Banking Segment; Pipeline
109

Commentary Positive 2 (William Blair & Co., L.L.C. May 6, 2016).
110
   Darrin D. Peller et al., In-Line 1Q; Set-Up for 2H Accelaration 4 (Barclays Capital Inc. May 9,
2016).


                                                99
Coburn noted that Cognizant had seen “intense pressure” from its customers “to squeeze costs”

and “to reduce cost of ownership.” In this context, Coburn touted Cognizant’s ability to respond

to the customer demand by “bring[ing] best practices to our clients for our traditional services,

constantly lower[ing] their cost of ownership while maintaining our margin. So that’s one piece

of work. We’re very good at that.”

       268.   The above statements made by Defendant Coburn during the J.P. Morgan

Technology, Media and Telecom Conference were materially false and misleading when made. It

was misleading for Coburn to tout Cognizant’s ability to “constantly lower [clients’] cost of

ownership while maintaining [the Company’s] margin,” when Cognizant’s ability to deliver cost

savings to its clients while maintaining its margin was driven, in material part, by Cognizant’s

scheme to obtain SEZ licensing by bribing Indian government officials.

              14.     August 5, 2016: Q2 2016 Form 10-Q

       269.   On August 5, 2016, Cognizant filed a Form 10-Q with the SEC. As noted above,

this public filing was signed by D’Souza and McLoughlin. The Form 10-Q reported revenue for

the three months ended June 30, 2016, of $3,369.9 million, an increase over second quarter 2015

revenue of $3,085.1 million. Cognizant’s Q2 2016 Form 10-Q further stated that the “key drivers

of our revenue growth during the three months ended June 30, 2016” were: “[s]olid

performance in our Manufacturing/Retail/Logistics and Other business segments”;

“[s]ustained strength in the North American market”; “[c]ontinued penetration of the

European and Rest of World (primarily the Asia Pacific) markets”; “[i]ncreased customer

spending on discretionary projects”; “[e]xpansion of our service offerings, including consulting

and digital services”; “[c]ontinued expansion of the market for global delivery of IT and

business process services”; and “[i]ncreased penetration at existing customers.”




                                              100
       270.   Cognizant’s Q2 2016 Form 10-Q further reported: “Revenue from our Rest of

World customers grew 25.0% . . . in the second quarter of 2016, and was primarily driven by the

India, Singapore and Australia markets.”

       271.   The above statements made in the Q2 2016 Form 10-Q were materially false and

misleading when made. It was misleading for Defendants to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including the “[e]xpansion of our

service offerings,” “[c]ontinued expansion of the market for global delivery of IT and business

process services,” and penetration of the Rest of World market, and India specifically, when, in

fact, the Company’s financial performance was driven, in material part, by Cognizant’s scheme to

obtain SEZ licensing by bribing Indian government officials.

              15.     August 5, 2016: Q2 2016 Earnings Conference Call

       272.   On August 5, 2016, Cognizant held its Q2 2016 earnings conference call with

analysts and investors. Defendant Coburn again emphasized Cognizant’s ability to deliver cost

savings to clients and attributed that ability to wholly legitimate elements of the Company’s

business model:

       [T]he drive for getting continued efficiencies from existing IT infrastructure to
       be able to fund innovation projects remains absolutely essential to almost every
       client. . . . Our strong vertical presence and investments in building sharply
       focused industry-specific platforms allow clients to obtain these efficiencies by
       shifting from buying a service to buying an outcome. These trends will continue
       to open opportunities for us over the coming years.

       273.   During the same call, McLoughlin attributed the Company’s financial success “to

a slightly lower tax rate and stronger operating margins.”

       274.   The above statements, made by Coburn and McLoughlin during the Q2 2016

earnings conference call, were materially false and misleading when made. It was misleading for

Coburn to attribute Cognizant’s ability to deliver costs savings to clients to wholly legitimate



                                              101
business factors and conditions, including the Company’s “strong vertical presence and

investments in building sharply focused industry-specific platforms,” when, in fact, the

Company’s ability to deliver cost savings to its clients was driven, in material part, by Cognizant’s

scheme to obtain SEZ licensing by bribing Indian government officials.

          275.   Similarly, it was misleading for McLoughlin to attribute Cognizant’s financial

performance to legitimate business factors and conditions, including “a slightly lower tax rate and

stronger operating margins,” when, in fact, the Company’s financial performance was driven, in

material part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian government

officials.

          276.   Analysts reacted favorably to these statements. On August 5, 2016, Evercore ISI

published an analyst report stating: “Meanwhile Rest of World revenue advanced 25% led by

Singapore, India, and Australia.”111

          277.   Also on August 5, 2016, Religãre published a report stating:              “Overall,

[Cognizant]’s earnings have grown faster than Indian IT.”112

          278.   On that same day, William Blair published a report stating: “Revenue: From a

geographic point of view, significant growth in the rest of the world was driven by Singapore,

India, and Australia, while North America grew 8.3% year-over-year, and Europe grew 8.9% year-

over-year.”113




111
      David Togut, CFA et al., Outlook Softens but CTSH Inexpensive 1 (Evercore ISI Aug. 5, 2016).
112
  Rumit Dugar et al., Cognizant: Weak Guidance; Gloomy Outlook for Indian IT 1 (Religãre
Capital Markets Ltd. Aug. 5, 2016).
113
   Anil Doradla et al., Growth Under Pressure; Repatriated Cash Creates Flexibility in Capital
Allocation 2 (William Blair & Co., L.L.C. Aug. 5, 2016).


                                                102
       279.    Consistent with Defendants’ statements regarding Cognizant’s strong growth

“driven primarily” by strength in key markets such as India, and analysts’ positive reactions

thereto, Cognizant’s stock price increased from an opening price of $58.22 per share on August 4,

2016, to a closing price of $59.71 per share on August 5, 2016, an increase of approximately 2.5%.

               16.     September 6, 2016: Citi Global Technology Conference

       280.    On September 6, 2016, Defendant Coburn attended the Citi Global Technology

Conference with analysts and investors. During the conference, Coburn stated:

       In the core business, it is becoming more difficult in the clients’ eyes to differentiate
       yourself. When I say core business, traditional, application, maintenance. There, it
       is fairly easy though to have a conversation with a client if you don’t care about the
       rate card, you care about the cost of ownership. So let’s move away from time and
       materials pricing to output-based pricing. I will reduce your cost of ownership,
       because I’m going to bring in automation, I’m going to bring in various tools of
       productivity, go more offshore whatever, pull the different levers, clients are very
       open to that discussion.

       And we’ve been very successful at, while maintaining our margins, being able to
       achieve the cost of ownership that the clients want.

       281.    The above statements made by Defendant Coburn during the Citi Global

Technology Conference were materially false and misleading when made. It was misleading for

Coburn to tout Cognizant’s ability to “reduce your cost of ownership” through “various tools of

productivity,” such as “automation” and “offshore” operations, when, in fact, the Company’s

ability to deliver cost savings to its clients, while maintaining margins, was driven, in material

part, by Cognizant’s scheme to obtain SEZ licensing by bribing Indian government officials. It

also was misleading for Coburn to tout Cognizant’s “success[]” at cutting clients’ IT costs “while

maintaining our margins” for the same reason.




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       D.      Cognizant Overstated Earnings by Capitalizing Bribes that Should
               Have Been Expensed

       282.    In its Forms 10-K, Forms 10-Q, and earnings releases filed on Form 8-K at each

reporting period during the Class Period, Cognizant overstated its earnings by incorrectly booking

the bribery payments it made as capital expenditures when, in fact, those payments should have

been booked as expenses and charged dollar-for-dollar against the Company’s earnings.

Specifically, the Company has stated that at least $4.1 million in corrupt payments were incorrectly

capitalized, i.e., shown as increased assets on the balance sheet. In truth, as Cognizant has admitted,

those payments should have been expensed, i.e., shown as increased expenses on the

earnings/profit-and-loss statement. Of this $4.1 million of capitalized expenses, $1 million was

expensed as depreciation and amortization. Consequently, Cognizant has admitted that, at each

quarter during the Class Period, Defendants overstated Cognizant’s earnings and investment in

physical assets by at least $3.1 million and understated its expenses by the same amount.

       283.    As described above, Defendants Coburn and Schwartz made and caused to be made

this false financial information in Cognizant’s Class Period earnings releases and financial

statements by authorizing the bribery scheme to secure the essential permitting for the construction

and operation of the Company’s largest SEZ facility, the KITS Campus, and then approving the

creation of phony change order invoices to disguise the bribes.

       284.     In addition, Defendant Schwartz personally signed and authorized each of

Cognizant’s Form 8-Ks publicly filed with the SEC during the Class Period (the “Earnings Form

8-Ks”) reporting on Cognizant’s quarterly financial results, which attached Cognizant’ quarterly

earnings releases issued the same day. The Earnings Form 8-Ks were filed with the SEC and

disseminated to investors on May 4, 2015, August 5, 2015, November 4, 2015, February 1, 2016,

May 6, 2016 and August 5, 2016. Among the items reported in these earnings releases were



                                                 104
Cognizant’s capital expenditures, operating expenses, and net income. As above, Cognizant mis-

booked the bribe payments as bona fide construction expenditures, thus capitalizing, rather than

expensing them. As a result, in the earnings releases attached to each of these Earnings Form 8-

Ks, Cognizant understated its operating expenses, and overstated both capital expenses and

income.

       E.      SOX Certifications Executed Throughout the Class Period

       285.    In connection with each quarterly and annual report Cognizant filed with the SEC

during the Class Period, D’Souza and McLoughlin signed SOX certifications. Pursuant to Section

302 of SOX, and also covered by Sections 304 and 906 of SOX, D’Souza and McLoughlin certified

that they had designed and evaluated effective internal and disclosure controls over financial

reporting, which assured the reliability of financial reporting, and also that the financial statements

fairly and accurately presented the financial condition of the Company. For example, in connection

with the Company’s Form 10-K filed on February 25, 2016, D’Souza and McLoughlin certified

as follows:

               1.      I have reviewed this Annual Report on Form 10-K of Cognizant Technology
                       Solutions Corporation;

               2.      Based on my knowledge, this report does not contain any untrue statement
                       of a material fact or omit to state a material fact necessary to make the
                       statements made, in light of the circumstances under which such
                       statements were made, not misleading with respect to the period covered
                       by this report;

               3.      Based on my knowledge, the financial statements, and other financial
                       information included in this report, fairly present in all material respects the
                       financial condition, results of operations and cash flows of the registrant as
                       of, and for, the periods presented in this report;

               4.      The registrant’s other certifying officer and I are responsible for
                       establishing and maintaining disclosure controls and procedures (as defined
                       in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over
                       financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-
                       15(f)) for the registrant and have:


                                                 105
                      a)      Designed such disclosure controls and procedures, or caused such
                              disclosure controls and procedures to be designed under our
                              supervision, to ensure that material information relating to the
                              registrant, including its consolidated subsidiaries, is made known to
                              us by others within those entities, particularly during the period in
                              which this report is being prepared;

                      b)      Designed such internal control over financial reporting, or caused
                              such internal control over financial reporting to be designed under
                              our supervision, to provide reasonable assurance regarding the
                              reliability of financial reporting and the preparation of financial
                              statements for external purposes in accordance with generally
                              accepted accounting principles;

                      c)      Evaluated the effectiveness of the registrant’s disclosure controls
                              and procedures and presented in this report our conclusions about
                              the effectiveness of the disclosure controls and procedures, as of the
                              end of the period covered by this report based on such evaluation;
                              and

                      d)      Disclosed in this report any change in the registrant’s internal
                              control over financial reporting that occurred during the registrant’s
                              most recent fiscal quarter (the registrant’s fourth fiscal quarter in the
                              case of an annual report) that has materially affected, or is
                              reasonably likely to materially affect, the registrant’s internal
                              control over financial reporting; and

               5.     The registrant’s other certifying officer and I have disclosed, based on our
                      most recent evaluation of internal control over financial reporting, to the
                      registrant’s auditors and the audit committee of the registrant’s board of
                      directors (or persons performing the equivalent function):

                      a)      All significant deficiencies and material weaknesses in the design or
                              operation of internal control over financial reporting which are
                              reasonably likely to adversely affect the registrant’s ability to
                              record, process, summarize and report financial information; and

                      b)      Any fraud, whether or not material, that involves management or
                              other employees who have a significant role in the registrant’s
                              internal control over financial reporting.114




114
   In the other quarterly and annual reports Cognizant filed with the SEC during the Class Period,
Defendants D’Souza and McLoughlin executed false SOX certifications, in substantially identical
forms as those attached to the 2015 Form 10-K.


                                                106
       286.    The SOX certifications signed by D’Souza and McLoughlin during the Class

Period were materially false and misleading when made because, as the Company has admitted,

Cognizant “did not maintain an effective control environment” as of December 31, 2015. Indeed,

the Company has admitted that material weaknesses existed in its internal controls, including its

“tone at the top,” as senior management participated in making corrupt payments by overriding

and/or failing to enforce the Company’s internal financial controls.

       287.    Additionally, the statements described above were false and misleading when made

because, contrary to the representation that the Company’s SEC filings did “not contain any untrue

statement of a material fact” or any material omission, the SEC filings to which these certifications

were appended contained numerous materially false and misleading statements and omissions, as

set forth elsewhere herein.

VI.    ADDITIONAL SCIENTER ALLEGATIONS

       288.    Numerous allegations, as set forth above and summarized below, give rise to the

strong inference that Defendants knowingly or at least recklessly misled investors by making the

materially false and misleading statements described herein.

       289.    First, the Company has admitted that the misconduct was executed at the highest

levels of Cognizant.115 As noted above, the Company admitted in its third quarter 2016 Form 10-

Q that multiple members of its “senior management may have participated in or failed to take

action to prevent the making of potentially improper payments by either overriding or failing to

enforce the controls established by the Company relating to real estate and procurement principally

in connection with permits for certain facilities in India.” Moreover, the Company placed the


115
   Under applicable law, the cumulative knowledge of Cognizant’s senior management team,
including the Individual Defendants, is imputed to the Company and supports a finding of
corporate scienter.


                                                107
blame for the bribery scheme squarely on the shoulders of senior management who were “no

longer with the Company or in a senior management position,” the most prominent of whom was

Coburn, Cognizant’s President and former CFO. In short, Cognizant’s own senior management

perpetrated the scheme, a fact which more than adequately demonstrates Cognizant’s scienter, and

demonstrates that the Individual Defendants acted with either knowledge or, at minimum, severe

recklessness.

       290.     Second, numerous allegations set forth above give rise to a particularly strong

inference that Coburn knew and was actively involved in the bribes Cognizant paid government

officials to secure SEZ licenses. As noted above, Coburn suddenly and unexpectedly resigned in

the midst of the Board’s investigation into the bribery scheme, shortly before the Company

attributed responsibility for the bribery scheme to senior executives who were “no longer with”

Cognizant. There were no signs that Coburn’s departure was planned or that he was slowly

stepping away from the business to make room for a successor. To the contrary, at the time Coburn

left he was, as shocked analysts noted, still “a leading face of CTSH to the investment community,”

and had been actively attending and participating in investor conferences. Moreover, former

Cognizant employees reported that Coburn personally oversaw, and was deeply involved in,

Cognizant’s Indian real estate transactions. Coburn’s oversight over the procurement process for

Indian real estate licensing and permitting yields a particularly strong inference of scienter

because, as Cognizant’s former CFO, he would have been intimately familiar with the Company’s

controls over financial reporting relating to that process and the appropriate journal entry

procedure for booking relating expenditures and payments – and therefore understood how to best

override those controls, as the Company has acknowledged occurred. The new facts set forth in




                                               108
the Indictment, the SEC Action and the SEC Order strongly corroborate the inference that Coburn

knew of the fraud.

       291.    Third, the allegations set forth above—including information provided in the

Indictment and SEC Action—likewise give rise to an inference that Schwartz knew and was

actively involved in the bribes Cognizant paid government officials to secure SEZ licenses. The

Indictment and SEC Complaint both state with detailed evidence that Schwartz – as not previously

disclosed by the Company – was an active participant in the bribery scheme and in falsifying

Cognizant’s financial statements to conceal the payments. Moreover, as Chief Legal Officer,

Schwartz was responsible for monitoring the Company’s legal compliance, including specifically

for monitoring and reporting Cognizant’s compliance with anti-corruption laws. Accordingly,

Schwartz was intimately familiar with the Company’s FCPA and anticorruption controls—and

therefore understood how to best override those controls, as the Company has acknowledged, and

the Indictment and SEC Action have confirmed, occurred.

       292.    Fourth, Cognizant’s characterizations of the bribery scheme in its admissions to

date make clear - and the Indictment and SEC Action confirm—that the misconduct at issue here

was intentional. As noted above, Cognizant has acknowledged that its senior management

participated in the bribery scheme by, among other things, “overriding or failing to enforce the

controls established by the Company relating to real estate and procurement principally in

connection with permits for certain facilities in India.” In other words, Cognizant admitted that, in

order to facilitate the corrupt payments, members of its senior management team either actively

countermanded the very controls that Defendants assured investors the Company adhered to, or

knowingly permitted those controls to be breached – acts that are, by definition, intentional.

Moreover, senior management took affirmative steps to conceal evidence of the bribery scheme




                                                109
by improperly booking the corrupt payments as capital expenditures. Accordingly, Cognizant’s

admission that senior management consciously participated in or facilitated the corrupt payments

to Indian officials, coupled with the fact that they then took specific steps to cover up those

payments, provides a strong inference of scienter.

       293.    Fifth, as discussed above, the evidence within the Company that Cognizant was

making improper payments to Indian government officials in exchange for SEZ licensing was

manifest and obvious, and was, in fact, reported to senior Cognizant executives. The misconduct

here was not complex, novel, or arcane. Instead, as discussed above, auditors, including Former

Employee 1, uncovered paid invoices that explicitly sought reimbursement for payments made to

a private entity for SEZ licenses. Moreover, Former Employee 1 readily discovered that the entity

to which the payments were made was government-related. Additional evidence of impropriety

abounded. Transactions were misclassified and inaccurately characterized in journal entries;

among other things, payments for licenses were characterized as “lease payments.” As discussed

above, these payments also were inexplicably booked as capital expenditures, rather than

expensed. Additionally, it was evident that internal controls had been circumvented with respect

to these corrupt payments: in contravention of Company policy, the transactions had neither been

flagged as payments to government officials, nor cleared with Cognizant’s legal department. The

fact that Former Employee 1 and his/her team readily uncovered evidence of these transactions

further demonstrates that the existence of these improper payments would have been easy to

discover. Moreover, as discussed above, Former Employee 1 directly reported the improper

payments, along with control deficiencies that allowed them to occur, to Verghese. Id. Former

Employee 1 was included on emails in which Verghese reported the existence of these payments

and control deficiencies to one of Cognizant’s most senior executives, Pederson, who is




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responsible for the Company’s anticorruption compliance. Id. Former Employee 1 also stated that

summary audit findings, at a minimum, would have been distributed to the Audit Committee of

Cognizant’s Board of Directors, which had approved the plan to conduct the FCPA audit, as well

as to D’Souza and McLoughlin. In addition, as noted above, multiple members of senior

management were involved in the bribes, including Defendant Schwartz, who as Chief Legal

Officer had responsibility for the Company’s anticorruption compliance. In short, the evidence of

wrongdoing was readily available to anyone who cared to look.

       294.    Sixth, the duration of the misconduct also supports an inference of scienter. As

alleged above, Cognizant has admitted that it actively bribed Indian officials from at least 2010 to

2016 – a period of seven years – to obtain permitting related to its Indian operations. During this

time, Cognizant’s “senior management” “overrode” internal control on numerous occasions or

allowed them to be breached, in order to facilitate the bribery scheme. That this bribery scheme

lasted for such a significant period of time demonstrates that the fraud alleged herein was not a

temporary lapse in otherwise rigorous management oversight, but rather a sustained course of

misconduct facilitated by senior executives – which further demonstrates scienter.

       295.    Seventh, the importance of SEZ licensing to Cognizant’s business further supports

an inference of scienter. As discussed above, SEZ licensing was fundamental to Cognizant’s

business model, which leveraged the low cost of its Indian operations in order to provide IT

Services to clients at highly competitive prices. The tax benefits alone that Cognizant derived from

its SEZ licenses increased the Company’s profitability substantially. For instance, for 2015, the

tax savings flowing from Cognizant’s SEZ licensing increased the Company’s net income by

$201.4 million (more than 14%) and increased diluted EPS by $0.33 per share (more than 12%).

Apart from lowering the Company’s tax burden, SEZ licensing also increased the Company’s




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profitability by lowering transaction, labor, and regulatory costs. The importance of SEZ licensing

to the Company supports an inference that the Individual Defendants knew of or, at minimum,

recklessly disregarded any corrupt payments related to this critical area, and bolsters the numerous

former employee reports that Coburn was “involved directly” in this area and took “a special

interest” in it. Moreover, the size of these benefits enhances the inference that when the Indian

government publicly disclosed plans to phase out SEZ-related tax benefits for new developments,

Cognizant’s senior management were focused on the Company’s efforts to quickly amass SEZ

licensing in an effort to forestall significant damage to Cognizant’s bottom line.

       296.    Eighth, the Company’s senior management was well aware that bribery was

particularly prevalent in India and that violations of the FCPA posed material risks to the

Company, and designed Cognizant’s Code of Conduct and Anticorruption Policy with these risks

specifically in mind. As discussed above, Cognizant repeatedly acknowledged during the Class

Period that failure to comply with applicable anticorruption laws could have serious negative

consequences for the Company. Further, as Chief Legal Officer, Schwartz personally oversaw the

Company’s compliance with these anticorruption laws and therefore was particularly aware of the

importance of Cognizant’s efforts. Moreover, the lion’s share of the Company’s operations were

located in India, a country that corruption watchdogs ranked as “one of the most corrupt countries

in the world” during the Class Period. Coburn, himself, explained that “India . . . is a very critical

and important market for us.”116 Accordingly, given the importance of India to the Company’s

success and its bottom line, senior management’s keen awareness of FCPA-related risks pertaining

to the Company’s Indian operations, and the availability of clear, cogent, and uncomplicated


116
  Venkatesha Babu, Gordon J. Coburn: Our Strategy Is to Maximize Revenue Growth, Live Mint
(Aug. 25, 2010, 11:32 PM IST), http://www.livemint.com/Companies/HyIeM692lDn
ByONSHr6MTM/Gordon-J-Coburn--Our-strategy-is-to-maximize-revenue-growt.html.


                                                 112
evidence that such violations were actually occurring during the Class Period, Defendants’

statements were severely reckless, at the very minimum.

       297.    Ninth, the Indictment and the SEC Action and Order confirm that a criminal bribery

scheme pervaded Cognizant’s senior executive suite; that certain of the Company’s highest-

ranking officers intentionally falsified Cognizant’s SEC filings and Sustainability Reports in

carrying out that scheme; and specifically that, for Cognizant’s largest SEZ facility, Defendants

Coburn and Schwartz orchestrated a multimillion dollar bribery scheme and “made and caused to

be made false, fraudulent and misleading representations and omissions” in Cognizant’s financial

statements, earnings releases, and Sustainability Reports. Cognizant entered into the SEC Order,

which requires the Company to pay $25 million and submit to a rigorous two-year remediation

program.

       298.    For example, based in substantial part on documents and other information

provided by the Company, as well as the accounts of multiple current and former employees, the

Indictment and SEC Action and Order set forth that (1) after directing that L&T should pay on

Cognizant’s behalf a $2 million bribe for the KITS Permit, Defendants Coburn and Schwartz

knowingly agreed to conceal the bribes by the use of phony invoices; (2) in assenting to the use of

a change order request to reimburse L&T, Defendant Schwartz explicitly cautioned that the

reimbursement payment should not stand out in the change order request; (3) to induce L&T to

pay the bribe on Cognizant’s behalf, Defendant Coburn directed the payment of an additional

$500,000 to L&T, also to be hidden as a change order request, and directed that Cognizant freeze

and withhold all future payments to L&T until it had obtained all necessary permits for the KITS

Campus and that L&T be notified that its future business with Cognizant was in jeopardy; (4)

Coburn explicitly directed co-conspirators that “no [e]mails” should be used in implementing the




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bribery scheme; (5) Coburn and Schwartz took affirmative steps to conceal the scheme, including

lying to Cognizant’s auditor and submitting false sub-certifications (Sarbanes-Oxley Quarterly

Global 302 Certifications) relied upon by Cognizant’s CEO and CFO, as well as (Coburn only)

signing false management representation letters.

       299.   The Indictment and SEC Action and Order each were the result of more than two

years of SEC and Department of Justice investigation with the cooperation of the Company, and

the presentation of evidence by the Department of Justice to a grand jury. As part of its

cooperation, Cognizant provided to the SEC and DOJ “all known relevant facts about the

misconduct,” including internal emails and other documents. The Indictment and SEC Complaint

and Order also cite specific payments, communications and meetings, and they identify false

certifications made by Coburn and Schwartz.

       300.   The DOJ’s February 2019 letter to Cognizant also states that the Department of

Justice made its own findings of criminal misconduct following a thorough investigation, stating:

       The Department's investigation found that Cognizant, through its employees,
       authorized its agents to pay an approximately $2 million bribe to one or more
       government officials in India in exchange for securing and obtaining a statutorily
       required planning permit in connection with the development of an office park in
       Tamil Nadu, India, known as the CKC/KITS facility in Chennai, as well as other
       improper payments in connection with other projects in India.

       Specifically, from in or about 2014 through in or about 2015, certain high-level
       employees of Cognizant, along with agents of the Company, took part in a scheme
       through which they authorized a third-party construction company to pay an
       approximately $2 million bribe to one or more government officials in India….

       Additionally, certain Cognizant employees and officers also falsified and caused to
       be falsified certain internal books and records of the Company, including by failing
       to disclose the existence or nature of the payments in certain disclosure
       questionnaires, as well as “sub-certifications” signed as part of the Company's
       Sarbanes-Oxley process.




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       301.    Notably, Cognizant has not denied that these bribes were made, or that Coburn and

Schwartz were responsible for the misconduct set forth in the Indictment and SEC Action, and it

has agreed to cooperate with the Justice Department in its prosecution of Schwartz and Coburn.

       302.    The similarity of the three schemes described by the Indictment, the SEC Action,

and the SEC Order, demonstrates that these bribes were not isolated incidents, but, instead formed

a pattern and practice organized, directed, and replicated at the highest levels of the Company.

Specifically, the bribery schemes related to Cognizant’s facilities in Chennai (the KITS Campus),

Pune, and Siruseri all concerned: (1) Cognizant’s creation of SEZ facilities; (2) Cognizant’s

selection of L&T as builder, who had responsibility for obtaining permits; and (3) Cognizant’s

reimbursement of L&T for making bribe payments on Cognizant’s behalf through the use of

falsified change order requests that were initially rejected but retroactively approved. Critically,

given the size of each of the illicit payments, the change order request for each would have required

Defendant Coburn’s authorization.

       303.    In addition to the foregoing, other indices of scienter are:

               a.      Defendants made repeated and specific statements during the Class Period

to the investing public regarding the significance of India to Cognizant’s operations, noting, in

particular (and among other things), that its presence in India was “a crucial piece” of the

Company’s “global business strategy.” Moreover, in addition to the Company’s specific Class

Period statements emphasizing its rigorous internal control system with regard to anti-corruption

laws, D’Souza emphasized pre-Class Period the quality of the Company’s compliance mechanisms

in his direct discussions with securities analysts. For example, during an earnings conference call

conducted by the Company in February 2009, D’Souza explained that “customers are looking for

partners that demonstrate strong corporate governance controls. At Cognizant, transparency is




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essential to our business and every member of the Cognizant team is committed to the highest

levels of ethics and integrity.”117 He added that the Company had the “utmost confidence that we

have the systems and controls in place to continue to meet the criteria [imposed by SOX],” further

explaining that Cognizant provided “the best in client management and corporate

governance.”118 The specific pronouncements referenced above, regarding India’s significance to

the Company, and the state of Cognizant’s compliance mechanisms, provide strong circumstantial

evidence that the Defendants were receiving specific information about such matters.

Alternatively, if the Defendants were not knowledgeable about the matters in which they purported

to speak in detail, such recklessness would readily satisfy the scienter requirement.

                   b.    The SOX Certifications executed by D’Souza and McLoughlin are a

particularly strong indicator of scienter because the malfeasance at issue directly implicates the

adequacy of the Company’s internal control systems. On November 14, 2012, the DOJ and the

SEC released their Resource Guide, which explained, “[a]n effective [FCPA] compliance program

is a critical component of an issuer’s internal controls.”119 As detailed herein, during the Class

Period, Cognizant’s internal controls were woefully inadequate and, in many respects, virtually

non-existent. Indeed, the Company has now admitted that it “did not maintain an effective control

environment” during the Class Period.

            304.   When reviewed collectively, as required by applicable law, Lead Plaintiffs’

allegations support a strong inference of fraudulent intent on the part of the Defendants or, at the




117
    Tr. of Q4 2008 Earnings Call (Seeking Alpha Feb. 13, 2009), https://seekingalpha.com/
article/120552-cognizant-technology-solutions-q4-2008-earnings-call-transcript.
118
      Id.
119
      Resource Guide, supra note 52, at 40.


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very least, the strong inference that Defendants’ conduct was severely reckless. In either case,

scienter has been adequately pled.

VII.   LOSS CAUSATION

       305.    Lead Plaintiffs incorporate by reference the allegations set forth above. During the

Class Period, Defendants publicly disseminated materially false and misleading statements and

omitted material facts concerning the Company’s operations and its true financial condition.

       306.    The conduct alleged herein and the materially false and misleading statements and

omissions made during the Class Period concealed the Company’s involvement in the bribery

scheme described above, and caused Cognizant’s common stock to trade at artificially inflated

prices, closing as high as $69.76 per share during the Class Period, thereby operating as a fraud on

investors in the Company’s common stock.

       307.    When the truth was disclosed on September 30, 2016, Cognizant’s stock price

declined significantly as the artificial inflation was removed from the stock price.

       308.    On September 30, 2016, Cognizant filed a Form 8-K with the SEC revealing that

Defendant Coburn had abruptly resigned from his position as Cognizant’s President on September

27, 2016. Cognizant also disclosed in this Form 8-K that the Company had initiated an internal

investigation regarding occurrences of bribery related to its business operations in India:

       The Company is conducting an internal investigation into whether certain payments
       relating to facilities in India were made improperly and in possible violation of the
       U.S. Foreign Corrupt Practices Act and other applicable laws. The investigation is
       being conducted under the oversight of the Audit Committee, with the assistance
       of outside counsel, and is currently focused on a small number of Company-owned
       facilities. The Company has voluntarily notified the United States Department of
       Justice (the “DOJ”) and United States Securities and Exchange Commission (the
       “SEC”) and is cooperating fully with both agencies. The internal investigation is in
       its early stages, and the Company is not able to predict what, if any, action may be
       taken by the DOJ, SEC or any governmental authority in connection with the




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          investigation or the effect of the matter on the Company’s results of operations,
          cash flows or financial position.120

          309.   On this news, the price of the Company’s common stock declined $7.29 per share,

or more than 13%, from a close of $55.00 per share on September 29, 2016, to close at $47.71 per

share on September 30, 2016. A total of 53,397,250 shares of Cognizant common stock were

traded on September 30, 2016, a 987% increase in volume from the 4,911,900 shares traded on the

immediately preceding trading date (September 29, 2016). This was substantially greater than the

3,956,594 share average daily trading volume of Cognizant shares during the Class Period.




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      2016 Form 8-K, supra note 56, at Item 8.01.


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       310.    While Cognizant’s share price declined by approximately 13.25% on September

30, 2016, the IT Consulting & Other Services Index fell by only $1.98, from $150.12 on September




29, 2016, to $148.14 on September 30, 2016, a decline of 1.31%, demonstrating that the fall in the

Company’s share price was a direct result of the fraud rather than other factors:121

       311.    In the Company’s most recent Form 10-K filed on March 1, 2017, Cognizant listed

the following companies as being in its “Peer Group Index”: Accenture plc., Computer Sciences

Corporation, Computer Task Group, Inc., ExlService Holdings Inc., Genpact Limited, Infosys

Ltd., Syntel Inc., Wipro Ltd., and WNS (Holdings) Limited. Those companies’ share prices

changed as follows between September 29 and September 30, 2016, once again showingthat the




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    his chart shows the value on September 30, 2016, of $100 invested in Cognizant common stock
at its closing price on September 27, 2016, as compared to $100 invested in the S&P 500 IT
Consulting & Services Index, a basket of S&P 500 companies in the IT consulting and services
industry that includes Cognizant.


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decline in Cognizant’s share price was due to the revelation of Defendants’ fraud rather than other,

non-fraud-related factors:

                                      Sept. 29, 2016     Sept. 30, 2016
               Company                                                       Percentage Change
                                      Closing Price      Closing Price
 Cognizant                                 $55.00             $47.71              (13.25%)
 Accenture plc                            $121.64            $122.17               0.44%
 Computer Sciences Corporation             $52.25             $52.21              (0.08%)
 Computer Task Group, Inc.                  $4.68              $4.70               0.43%
 ExlService Holdings Inc.                  $49.81             $49.84               0.06%
 Genpact Limited                           $23.81             $23.95               0.59%
 Infosys Ltd.                              $15.87             $15.78              (0.57%)
 Syntel Inc.                               $41.47             $41.91               1.06%
 Wipro Ltd.                                 $9.78              $9.71              (0.72%)
 WNS (Holdings) Limited                    $29.69             $29.95               0.88%

       312.    As demonstrated in the table above, of the nine competitors identified by

Cognizant, six of them saw a gain in their closing prices between September 29 and September

30, 2016. Of the three that saw declines in their stock prices, the drops were minor: 0.08%

(Computer Sciences Corp.), 0.57% (Infosys Ltd.), and 0.72% (Wipro Ltd.). The following chart




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depicts the divergence on September 30, 2016, between Cognizant’s stock and the Company’s

self-selected “Peer Group Index”:122




       313.    Thus, the September 30, 2016 stock drop was a direct consequence of the market

learning the truth and/or the materialization of the risks concealed by Defendants throughout the

Class Period. The timing and magnitude of the price decline in Cognizant’s common stock negate

any inference that the loss suffered by Lead Plaintiffs and the Class was caused by changed market


122
   This chart shows the value on September 30, 2016, of $100 invested in Cognizant common
stock at its closing price on September 27, 2016, as compared to $100 invested in the publicly
traded companies that Cognizant identified as its competitors in its Form 10-K filed on March 1,
2017. This Peer Group Index is weighted by relative market capitalization as follows: Accenture
plc (49.25%), Computer Sciences Corporation (4.72%), Computer Task Group, Inc. (0.05%),
ExlService Holdings Inc. (1.08%), Genpact Limited (3.02%), Infosys Ltd. (23.40%), Syntel Inc.
(2.22%), Wipro Ltd. (15.31%), and WNS (Holdings) Limited (0.95%). See 2016 Form 10-K, supra
note 76, at 33 (comparing performance of $100 investment in Cognizant to $100 investment in a
market capitalization-weighted basket of the same nine competitors).


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conditions, macroeconomic, or industry factors or Company-specific facts unrelated to

Defendants’ fraudulent conduct. Accordingly, as a result of their purchases of Cognizant common

stock during the Class Period, Lead Plaintiffs and the Class suffered economic loss and damages

under the federal securities laws.

VIII. APPLICABILITY OF PRESUMPTION OF RELIANCE

       314.    Lead Plaintiffs and the Class are entitled to a presumption of reliance under

Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted

herein against Defendants are predicated in part upon omissions of material fact that Defendants

were under a duty to disclose.

       315.    In addition, Lead Plaintiffs and the Class are entitled to a presumption of reliance

on Defendants’ material misrepresentations and omissions pursuant to the fraud-on-the-market

theory, because Cognizant’s common stock traded in an efficient market during the Class Period,

as follows:

               a.      The Company’s common stock was actively traded on the NASDAQ, an

informationally efficient market, throughout the Class Period. Shares were highly liquid during

the Class Period, with an average daily volume of 4,033,038 shares traded;

               b.      As a regulated issuer, Cognizant filed periodic public reports with the SEC

and the NASDAQ;

               c.      The Company regularly communicated with public investors by means of

established market communication mechanisms, including through regular dissemination of press

releases on the major news wire services and through other wide-ranging public disclosures, such

as communications with the financial press, securities analysts, and other similar reporting

services;




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               d.      The market reacted promptly to public information disseminated by the

Company;

               e.      Cognizant’s securities were covered by numerous securities analysts

employed by major brokerage firms who wrote reports that were distributed to the sales force and

certain customers of their respective firms. Each of these reports was publicly available and entered

the public marketplace; and

               f.      The material misrepresentations and omissions alleged herein would tend

to induce a reasonable investor to misjudge the value of Cognizant’s common stock.

       316.    Therefore, the market for Cognizant common stock promptly digested current

information regarding the Company from all publicly available sources and reflected such

information in Cognizant’s share price. Under these circumstances, all purchasers of Cognizant

common stock during the Class Period suffered similar injury through their purchase of the

Company’s common stock at artificially inflated prices and a presumption of reliance applies.

IX.    CONTROL PERSON ALLEGATIONS

       317.    By virtue of the Individual Defendants’ positions within the Company, they had

access to undisclosed adverse information about Cognizant, its business, operations, operational

trends, finances, and present and future business prospects. The Individual Defendants would

ascertain such information through the Company’s internal corporate documents, conversations,

and connections with other corporate officers, bankers, traders, risk officers, marketing experts,

employees, attendance at management and Board meetings, including committees thereof, and

through reports and other information provided to them in connection with their roles and duties

as the Company officers and/or directors.

       318.    It is appropriate to presume that the materially false, misleading, and incomplete

information conveyed in Cognizant’s public filings, press releases, and public statements, as


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alleged herein, was the result of the collective actions of the Individual Defendants identified

above. The Individual Defendants, by virtue of their high-level positions within the Company,

directly participated in the management of the Company, were directly involved in the day-to-day

operations of the Company at the highest levels, and were privy to confidential proprietary

information concerning the Company, its business, operations, prospects, growth, finances, and

financial condition, as alleged herein.

       319.    The Individual Defendants were involved in drafting, producing, reviewing,

approving, and/or disseminating the materially false and misleading statements and information

alleged herein, were aware of or recklessly disregarded the fact that materially false and misleading

statements were being issued regarding the Company and themselves, and approved or ratified

these statements, in violation of the federal securities laws.

       320.    As officers and controlling persons of a publicly held company whose common

stock was, and is, registered with the SEC pursuant to the Exchange Act, traded on the NASDAQ,

and governed by the provisions of the federal securities laws, each of the Individual Defendants

had a duty to promptly disseminate accurate and truthful information with respect to Cognizant’s

financial condition and performance, growth, operations, financial statements, business, markets,

management, risk, earnings, and present and future business prospects, and to correct any

previously issued statements that had become materially misleading or untrue, so that the market

price of the Company’s publicly traded securities would be based upon truthful and accurate

information. The Individual Defendants’ material misrepresentations and omissions during the

Class Period violated these specific requirements and obligations.

       321.    The Individual Defendants, by virtue of their positions of control and authority as

officers and/or directors of Cognizant, were able to and did control the content of the various SEC




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filings, press releases, and other public statements pertaining to the Company during the Class

Period. The Individual Defendants were provided with copies of the documents alleged herein to

be misleading prior to or shortly after their issuance and/or had the ability and/or opportunity to

prevent their issuance or cause them to be corrected. Accordingly, the Individual Defendants are

responsible for the accuracy of the public reports and releases detailed herein.

       322.    The facts set forth in detail throughout this Complaint further confirm Individual

Defendant Coburn’s ability to control, and actual control of, Cognizant’s false and misleading

statements, including: (1) his approval of the change order requests and related approvals in

connection with the KITS Campus, which authorized Cognizant to pay L&T approximately $2.5

million as reimbursement for the bribe payment and related expenses and resulted directly in

falsifying Cognizant’s books and records; (2) his signing of management representation letters that

were provided to Cognizant’s auditors, thereby enabling false and misleading financial

information to be reported to investors in Cognizant’s Forms 10-K and 10-Q filed with the SEC;

and (3) his execution of sub-certifications to management representation letters that were provided

to and relied upon by Cognizant’s CEO and CFO in signing management representation letters

that were given to Cognizant’s auditor, thereby enabling false and misleading financial information

to be reported to investors in Cognizant’s Forms 10-K and 10-Q filed with the SEC.

       323.    The facts set forth in detail throughout this Complaint further confirm Individual

Defendant Schwartz’s ability to control, and actual control of, Cognizant’s false and misleading

statements, including: (1) his signing of Forms 8-K that contained Cognizant’s earnings releases,

through which he directly reported the false and misleading financial information to investors;

(2) his execution of sub-certifications to management representation letters that were provided to

and relied upon by Cognizant’s CEO and CFO in signing management representation letters that




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were given to Cognizant’s auditor, thereby enabling false and misleading financial information to

be reported to investors in Cognizant’s Forms 10-K and 10-Q filed with the SEC; and (3) his input

into, and approval of, the Company’s public statements about its compliance with anti-corruption

laws pursuant to his responsibility, as Chief Legal Officer, for both monitoring and reporting that

compliance, thereby enabling the Company’s false and misleading Sustainability Reports to be

provided to investors.

       324.    The Individual Defendants are all liable as a participant in a scheme, plan, and

course of conduct that operated as a fraud and deceit on Class Period purchasers of Cognizant’s

common stock.

X.     INAPPLICABILITY OF SAFE HARBOR

       325.    Defendants acted with scienter because at the time that they issued public

documents and other statements in Cognizant’s name they knew, or with extreme recklessness

disregarded, the fact that such statements were materially false and misleading or omitted material

facts. Moreover, Defendants knew such documents and statements would be issued or

disseminated to the investing public, knew that persons were likely to rely upon those

misrepresentations and omissions, and knowingly and recklessly participated in the issuance and

dissemination of such statements and documents as primary violators of the federal securities laws.

       326.    As set forth in detail throughout this Complaint, Defendants, by virtue of their

control over, and/or receipt of, Cognizant’s materially misleading statements and their positions

with the Company that made them privy to confidential proprietary information, used such

information to artificially inflate the Company’s financial results. Defendants were informed of,

participated in, and knew of the improprieties and unlawful conduct alleged herein and understood

their material effect on the Company’s business and future prospects. With respect to non-forward-

looking statements and omissions, Defendants knew and recklessly disregarded the falsity and


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misleading nature of that information, which they caused to be disseminated to the investing

public.

          327.   The PSLRA’s statutory safe harbor provided for forward-looking statements under

certain circumstances does not apply to any of the false statements pleaded in this Complaint. None

of the statements pleaded herein are forward-looking statements and no such statement was

identified as a forward-looking statement when made. Rather, the statements alleged herein to be

materially false and misleading by affirmative misstatement and/or omissions of material fact all

relate to facts and conditions existing at the time the statements were made. Moreover, cautionary

statements, if any, did not identify important factors that could cause actual results to differ

materially from those in any putative forward-looking statements.

          328.   Alternatively, to the extent that the statutory safe harbor applies to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because, at the time each of those forward-looking statements was made, the particular

speaker knew that the particular forward-looking statement was false and/or the forward-looking

statement was authorized and/or approved by an executive officer of the Company who knew that

those statements were false when made. Moreover, to the extent that Defendants issued any

disclosures designed to “warn” or “caution” investors of certain “risks,” those disclosures were

also false and misleading because they did not disclose that Defendants were actually engaging in

the very actions about which they purportedly warned and/or had actual knowledge of material

adverse facts undermining such disclosures.

XI.       CLASS ACTION ALLEGATIONS

          329.   Lead Plaintiffs bring this action on its own behalf and as a class action pursuant to

Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of a class consisting of

all persons and entities who purchased the common stock of Cognizant from February 27, 2015,


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through and including September 29, 2016. Excluded from the Class are: Defendants; members of

the immediate families of the Individual Defendants; the Company’s subsidiaries and affiliates;

any person who is or was an officer or director of the Company or any of the Company’s

subsidiaries or affiliates during the Class Period; any entity in which any Defendant has a

controlling interest; and the legal representatives, heirs, successors, and assigns of any such

excluded person or entity.

        330.   The members of the Class are so numerous that joinder of all members is

impracticable. During the Class Period, the Company had between approximately 605.87 million

and 610.52 million shares of common stock outstanding and actively trading on the NASDAQ.

While the exact number of Class members is unknown to Lead Plaintiffs at this time and can only

be ascertained through appropriate discovery, Lead Plaintiffs believe that the proposed Class

numbers in the thousands and is geographically widely dispersed. Record owners and other

members of the Class may be identified from records maintained by the Company or its transfer

agent and may be notified of the pendency of this action by mail, using a form of notice similar to

that customarily used in securities class actions.

        331.   Lead Plaintiffs’ claims are typical of the claims of the members of the Class. All

members of the Class were similarly affected by Defendants’ allegedly wrongful conduct in

violation of the Exchange Act as complained of herein.

        332.   Lead Plaintiffs will fairly and adequately protect the interests of the members of the

Class. Lead Plaintiffs have retained counsel competent and experienced in class and securities

litigation.




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          333.   Common questions of law and fact exist as to all members of the Class, and

predominate over any questions solely affecting individual members of the Class. The questions

of law and fact common to the Class include:

                 a.          whether the federal securities laws were violated by Defendants’ acts

and omissions as alleged herein;

                 b.          whether the statements made to the investing public during the Class

Period contained material misrepresentations or omitted to state material information;

                 c.          whether and to what extent the market price of Cognizant’s common

stock was artificially inflated during the Class Period because of the material misstatements alleged

herein;

                 d.          whether Defendants acted with the requisite level of scienter;

                 e.          whether the Individual Defendants were controlling persons of the

Company;

                 f.          whether reliance may be presumed; and

                 g.          whether the members of the Class have sustained damages as a result

of the conduct complained of herein and, if so, the proper measure of damages.

          334.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy because, among other things, joinder of all members of the Class

is impracticable. Furthermore, because the damages suffered by individual Class members may be

relatively small, the expense and burden of individual litigation make it impossible for members

of the Class to individually redress the wrongs done to them. There will be no difficulty in the

management of this action as a class action.




                                                 129
                                          COUNT I
      Violation of § 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                       Against Defendants Cognizant and Schwartz123

        335.    Lead Plaintiffs repeat and reallege each and every allegation set forth above as if

fully set forth herein.

        336.    This Count is asserted pursuant to Section 10(b) of the Exchange Act and Rule 10b-

5 promulgated thereunder by the SEC against Cognizant and Schwartz.

        337.    As alleged herein, throughout the Class Period, Cognizant and Schwartz,

individually and in concert, directly and indirectly, by the use of the means or instrumentalities of

interstate commerce, the mails and/or the facilities of national securities exchanges, made

materially untrue statements of material fact and/or omitted to state material facts necessary to

make their statements not misleading and carried out a plan, scheme and course of conduct, in

violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

Defendants intended to and did, as alleged herein, (i) deceive the investing public, including Lead

Plaintiffs and members of the Class; (ii) artificially inflate and maintain the prices of Cognizant’s

common stock; and (iii) cause Lead Plaintiffs and members of the Class to purchase the

Company’s common stock at artificially inflated prices.

        338.    Cognizant and Schwartz were individually and collectively responsible for making

the materially false and misleading statements and omissions alleged herein and having engaged

in a plan, scheme and course of conduct designed to deceive Lead Plaintiffs and members of the

Class, by virtue of having made public statements and prepared, approved, signed and/or



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   As noted above, Plaintiffs have tailored Counts I and II to reflect both the Court’s Order and
their amended allegations. However, Plaintiffs fully preserve their right to appeal any and all
previously dismissed claims, and hereby stand on their allegations regarding the dismissed claims,
Defendants, and statements. See Atkinson, 473 F.3d at 517.


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disseminated documents that contained untrue statements of material fact and/or omitted facts

necessary to make the statements therein not misleading.

       339.    As set forth above, Defendants made their materially false and misleading

statements and omissions and engaged in the fraudulent activity described herein knowingly and

intentionally, or in such a deliberately reckless manner as to constitute willful deceit and fraud

upon Lead Plaintiffs and the other members of the Class who purchased Cognizant’s common

stock during the Class Period.

       340.    In ignorance of the materially false and misleading nature of Defendants’

statements and omissions, and relying directly or indirectly on those statements or upon the

integrity of the market price for the Company’s common stock, Lead Plaintiffs and other members

of the Class purchased the Company’s common stock at artificially inflated prices during the Class

Period. But for the fraud, Lead Plaintiffs and members of the Class would not have purchased the

Company’s common stock at such artificially inflated prices. As set forth herein, when the true

facts were subsequently disclosed, the price of Cognizant’s common stock declined precipitously

and Lead Plaintiffs and members of the Class were harmed and damaged as a direct and proximate

result of their purchases of the Company’s common stock at artificially inflated prices and the

subsequent decline in the price of that stock when the truth was disclosed.

       341.    By virtue of the foregoing, Defendants are liable to Lead Plaintiffs and members of

the Class for violations of Section 10(b) of the Exchange Act and Rule 10b-5.




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                                          COUNT II
                           Violation of § 20(a) of the Exchange Act
                          Against Defendants Coburn and Schwartz124

        342.    Lead Plaintiffs repeat and reallege each and every allegation set forth above as if

fully set forth herein.

        343.    This Count is asserted pursuant to Section 20(a) of the Exchange Act against

Individual Defendants Coburn and Schwartz.

        344.    As alleged above, Cognizant violated Section 10(b) of the Exchange Act and Rule

10b-5 promulgated thereunder by making materially false and misleading statements and

omissions in connection with the purchase and sale of the Company’s common stock and by

participating in a fraudulent scheme and course of business or conduct throughout the Class Period.

This fraudulent conduct was undertaken with scienter, and Cognizant is charged with the

knowledge and scienter of each of Individual Defendants Coburn and Schwartz who knew of or

acted with deliberate reckless disregard of the falsity of the Company’s statements and the

fraudulent nature of its scheme during the Class Period.

        345.    As set forth above, Individual Defendants Coburn and Schwartz were controlling

persons of Cognizant during the Class Period, due to their senior executive positions with the

Company and their direct involvement in the Company’s day-to-day operations, including their

power to control or influence the policies and practices giving rise to the securities violations

alleged herein, and exercised the same.




124
   As noted above, Plaintiffs have tailored Counts I and II to reflect both the Court’s Order and
their amended allegations. However, Plaintiffs fully preserve their right to appeal any and all
dismissed claims, and hereby stand on their allegations regarding the previously dismissed claims,
Defendants, and statements. See Atkinson, 473 F.3d at 517.


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          346.   By virtue of the foregoing, Individual Defendants Coburn and Schwartz each had

the power to influence and control, and did influence and control, directly or indirectly, the

decision-making of the Company, including the content of its public statements with respect to its

operations, corporate governance, and compliance with regulators.

          347.   Individual Defendants Coburn and Schwartz acted knowingly and intentionally, or

in such a deliberately reckless manner as to constitute willful fraud and deceit upon Lead Plaintiffs

and the other members of the Class who purchased Cognizant’s common stock during the Class

Period.

          348.   In ignorance of the materially false and misleading nature of the Company’s

statements and omissions, and relying directly or indirectly on those statements or upon the

integrity of the market prices for the Company’s common stock, Lead Plaintiffs and other members

of the Class purchased the Company’s common stock at an artificially inflated price during the

Class Period. But for the fraud, Lead Plaintiffs and members of the Class would not have purchased

the Company’s common stock at artificially inflated prices. As set forth herein, when the true facts

were subsequently disclosed, the price of the Company’s common stock declined precipitously,

and Lead Plaintiffs and members of the Class were harmed and damaged as a direct and proximate

result of their purchases of Cognizant’s common stock at artificially inflated prices and the

subsequent decline in the price of that stock when the truth began to be disclosed.

          349.   By reason of the foregoing, Individual Defendants Coburn and Schwartz are liable

to Lead Plaintiffs and the members of the Class as controlling persons of the Company in violation

of Section 20(a) of the Exchange Act.

XII.      PRAYER FOR RELIEF

          WHEREFORE, Lead Plaintiffs respectfully pray for judgment as follows:




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       A.      Determining that this action is a proper class action maintained under Rules 23(a)

and (b)(3) of the Federal Rules of Civil Procedure, certifying Lead Plaintiffs as class

representatives, and appointing Bernstein Litowitz Berger & Grossmann LLP as class counsel

pursuant to Rule 23(g);

       B.      Declaring and determining that Defendants violated the Exchange Act by reason of

the acts and omissions alleged herein;

       C.      Awarding Lead Plaintiffs and the Class compensatory damages against all

Defendants, jointly and severally, in an amount to be proven at trial together with prejudgment

interest thereon;

       D.      Awarding Lead Plaintiffs and the Class their reasonable costs and expenses

incurred in this action, including but not limited to, attorney’s fees and costs incurred by consulting

and testifying expert witnesses; and

       E.      Granting such other and further relief as the Court deems just and proper.

XIII. JURY DEMAND

       Lead Plaintiffs demand a trial by jury of all issues so triable.

     Dated: April 26, 2019                           Respectfully submitted,

                                                     LOWENSTEIN SANDLER LLP

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